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                             1    COHELAN KHOURY & SINGER
                                  Michael D. Singer (SBN 115301)
                             2
                                  msinger@ckslaw.com
                             3    Marta Manus (SBN 260132)
                                  mmanus@ckslaw.com
                             4
                                  605 C Street, Suite 200
                             5    San Diego, CA 92101
                                  Telephone: (619) 595-3001/Facsimile: (619) 595-3000
                             6
                             7    THE CARTER LAW FIRM
                                  Roger Carter (SBN 140196)
                             8
                                  roger@carterlawfirm.net
                             9    23 Corporate Plaza Drive, Suite 150
                             10   Newport Beach, CA 92660
                                  Telephone: (949) 245-7500/Facsimile: (949) 629-2501
                             11
                             12   THE PHELPS LAW GROUP
COHELAN KHOURY & SINGER




                                  Marc H. Phelps (SBN 237036)
                             13
   605 C Street, Suite 200
    San Diego, CA 92101




                                  Marc@phelpslawgroup.com
                             14   23 Corporate Plaza Drive, Suite 150
                                  Newport Beach, CA 92660
                             15
                                  Telephone: (949) 629-2533/Facsimile: (949) 629-2501
                             16
                             17   Attorneys for Plaintiffs MICHAEL RAZIANO, BRIAN TRAISTER, and CHRIS
                                  VALDEZ, on behalf of themselves and all others similarly situated
                             18
                             19                         UNITED STATES DISTRICT COURT
                             20                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             21   MICHAEL RAZIANO, BRIAN                   )   Case No. 19-CV-04373 JAK (ASx)
                                  TRAISTER, and CHRIS VALDEZ,              )   FOURTH AMENDED CLASS
                             22
                                  on behalf of themselves and all others   )   ACTION AND REPRESENTATIVE
                             23   similarly situated,                      )   ACTION COMPLAINT
                                               Plaintiff,                  )
                             24                                                1. Failure to Pay Reporting Time Wages
                                                                           )
                                        v.                                        (Labor Code § 218; IWC Wage
                             25                                            )
                                                                                  Orders 7-2001 and 9-2001, § 5);
                                  ALBERTSON’S LLC, a Delaware              )
                             26                                                2. Failure to Reimburse Business
                                  Limited Liability Company; and           )
                             27                                                   Expenses (Lab. Code § 2802 and
                                  DOES 1 through 50, Inclusive,            )      IWC Wage Orders 7-2001 and 9-
                                                      Defendants.          )      2001, § 9);
                             28
                                                                           )
                                                  Fourth Amended Class and Representative Action Complaint
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                             1                                      )   3. Denial of Right to Use Sick Leave
                                                                    )      Without Threat of Discipline and/or
                             2
                                                                    )      Discharge (Lab. Code § 233);
                             3                                      )   4. Failure to Provide Accurate Itemized
                                                                    )      Wage Statements (Lab. Code §§
                             4
                                                                    )      226(a) and 1198, and IWC Wage
                             5                                      )      Orders 7-2001 and 9-2001, § 7);
                                                                    )
                             6                                          5. Violation of the Unfair Competition
                                                                    )
                             7                                      )      Law (Bus. & Prof. Code §§ 17200-
                                                                    )      17208);
                             8
                                                                    )   6. Invasion of Privacy – Intrusion; Cal.
                             9                                      )      Const. Article 1, Section 1);
                             10                                     )
                                                                        7. Failure to Provide Paid Sick Leave in
                                                                    )
                             11                                            Compliance with San Diego Paid Sick
                                                                    )
                                                                           Leave Ordinance and Los Angeles
                             12                                     )
                                                                           Paid Sick Leave Ordinance;
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                                                                    )
                             13                                     )   8. Civil Penalties Pursuant to the PAGA
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                                                                    )      for Failure to Pay Reporting Time
                             14
                                                                    )      Wages (Lab. Code§ 2698, et seq.);
                             15                                     )   9. Civil Penalties Pursuant to the PAGA
                             16                                     )      for Failure to Reimburse Business
                                                                    )      Expenses (Lab. Code § 2698, et seq.);
                             17                                     )
                                                                    )   10. Civil Penalties Pursuant to the
                             18                                           PAGA for Failure to Provide
                                                                    )
                             19                                     )     Accurate Itemized Wage Statements
                                                                    )     (Lab. Code § 2698, et seq.);
                             20
                                                                    )   11. Civil Penalties Pursuant to the
                             21                                     )     PAGA for Failure to Timely Pay
                             22                                     )     Wages Upon Separation of
                                                                    )     Employment (Lab. Code §§ 201-203,
                             23                                     )     256, and 2698, et seq.);
                             24                                     )   12. Failure to Pay Regular and
                                                                    )     Minimum Wages (Labor Code §
                             25                                     )     1194, 1194.2, 1197; IWC Wage
                             26                                     )     Orders 7-2001 and 9-2001, § 4);
                                                                    )
                             27                                     )
                             28                                     )

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                             1                                      ) 13. Civil Penalties Pursuant to the
                                                                    ) PAGA for Failure to Pay Regular and
                             2
                                                                    ) Minimum Wages (Lab. Code § 2698,
                             3                                      ) et seq.).
                                                                    )
                             4
                                                                    )
                             5                                      ) DEMAND FOR JURY TRIAL
                                                                    )
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                             1          Plaintiffs MICHAEL RAZIANO, BRIAN TRAISTER, and CHRIS
                             2    VALDEZ (collectively, “Plaintiffs”), on behalf of themselves and all others
                             3    similarly situated, complain and allege as follows:
                             4                                              I.
                             5                                    INTRODUCTION
                             6          1.     Plaintiffs bring this action as a Class Action pursuant to Federal
                             7    Rules of Civil Procedure, Rule 23 on behalf of themselves and other current and
                             8    former non-exempt transportation drivers of ALBERTSON’S LLC and DOES 1
                             9    through 50, inclusive (collectively “Defendants”). Plaintiffs bring this action for:
                             10   unpaid compensation, including regular and minimum wages and reporting time
                             11   pay; reimbursement of reasonably incurred business expenses; sick pay claims
                             12   (including denial of the right to use sick pay and violation of local ordinances);
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                             13   invasion of privacy; and statutory and civil penalties, interest and attorneys’ fees
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                             14   and costs. In addition, Plaintiffs bring this action for unfair competition under
                             15   Business and Professions Code sections 17200, et seq.
                             16         2.     Plaintiffs have given notice of these claims to the California Labor
                             17   and Workforce Development Agency (“LWDA”) seeking intervention. As there
                             18   has been no LWDA intervention within 65 days of that notice, Plaintiffs assert
                             19   claims for civil penalties as representatives for and on behalf of the State of
                             20   California in representative capacities, as provided by the Private Attorneys
                             21   General Act (“PAGA”) to the extent permitted by law, as aggrieved employees
                             22   who held the positions identified and suffered one or more of the violations
                             23   alleged herein. A true and correct copy of the March 20, 2019 Notice showing
                             24   compliance with Labor Code section 2699.3 is attached hereto as Exhibit 1 and
                             25   demonstrates that Plaintiffs are aggrieved employees and have standing to bring a
                             26   representative action on behalf of the State of California and the LWDA and as
                             27   private attorney generals. A true and correct copy of Plaintiffs’ December 3, 2019
                             28   and December 20, 2019 notices are attached hereto as Exhibit 2 and Exhibit 3.
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                             1    Since no notice of cure has been provided by Defendant ALBERTSON’S, LLC
                             2    nor has the LWDA indicated that it intends to intervene within the proscribed 65-
                             3    day period from the date of mailing of the notice, Plaintiffs have asserted PAGA
                             4    claims herein and bring this action as a “Representative Action” as specifically
                             5    permitted and authorized by Labor Code section 2699.3(a)(2)(C).
                             6                                              II.
                             7                              JURISDICTION AND VENUE
                             8          3.     Defendant removed this action to this Court on May 20, 2019
                             9    pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §§
                             10   1332(d), 1453, 1711 from the Superior Court of the State of California, County of
                             11   Los Angeles. Venue is proper in the United States District Court, Central District
                             12   of California to the extent this Court has jurisdiction under the CAFA.
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                             13                                            III.
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                             14                                      THE PARTIES
                             15   A.    Plaintiffs
                             16         4.     Plaintiff MICHAEL RAZIANO is a resident of the State of
                             17   California employed by Defendants in Los Angeles County as a non-exempt
                             18   transportation driver.
                             19         5.     Plaintiff BRIAN TRAISTER is a resident of the State of California
                             20   employed by Defendants in Los Angeles County as a non-exempt transportation
                             21   driver.
                             22         6.     Plaintiff CHRIS VALDEZ is a resident of the State of California
                             23   employed by Defendants in Los Angeles County as a non-exempt transportation
                             24   driver.
                             25   B.    Defendants
                             26         7.     Defendant ALBERTSON’S LLC is a Delaware Limited Liability
                             27   Company engaged in business throughout California and in Los Angeles County.
                             28   During the Class Period, Defendant employed Plaintiffs and others as non-exempt
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                             1    transportation drivers within California and Los Angeles County.
                             2          8.      The true names and capacities, whether individual, corporate,
                             3    associate, or otherwise, of Defendants sued herein as DOES 1 through 50,
                             4    inclusive, are currently unknown to Plaintiffs, who therefore sue Defendants by
                             5    such fictitious names under Code of Civil Procedure section 474. Plaintiffs are
                             6    informed and believe, and based on that allege, each of the Defendants designated
                             7    as a DOE is legally responsible in some manner for the unlawful acts alleged.
                             8    Plaintiffs will seek leave of court to amend this Complaint to reflect the true
                             9    names and capacities of the Defendants designated as DOES when those identities
                             10   become known.
                             11         9.      Plaintiffs are informed, believe, and allege each Defendant acted in
                             12   all respects pertinent to this action as the agent of the other Defendants, carried
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                             13   out a joint scheme, business plan or policy in all pertinent respects, and the acts of
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                             14   each Defendant are legally attributable to the other Defendants.
                             15                                             IV.
                             16                              GENERAL ALLEGATIONS
                             17         10.     During all, or portions, of the Class Period, Plaintiffs and each
                             18   member of the Plaintiff Class were employed by Defendants in the State of
                             19   California.
                             20         11.     At all relevant times, Defendants had a consistent policy and practice
                             21   of failing to pay Plaintiffs and similarly-situated employees all wages due,
                             22   including regular and minimum wages. Defendants failed to pay Plaintiffs and
                             23   other similarly-situated employees regular and/or minimum wages for all hours
                             24   worked, in violation of Labor Code sections 1194 and 1197, and section 4 of the
                             25   applicable IWC Wage Orders, as follows: Defendants’ written policy requires
                             26   Plaintiffs and other similarly-situated employees to report to work 15-minutes
                             27   prior to shift time to pick their daily run. On information and belief, Defendants
                             28   do not pay any wages for hours worked during the 15-minutes worked prior to the
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                             1    shift start time, during which these employees are required to be on work
                             2    premises. As a result, although Plaintiffs and other similarly-situated employees
                             3    are under the control of Defendants, suffered or permitted to work for Defendants
                             4    whether or not they were required to work, as set forth in Wage Orders 7 and 9,
                             5    Section 2(G), and are required to report to the work premises 15-minutes prior to
                             6    their shift, they are not, and have not been during the class period, paid any wages,
                             7    including regular or minimum wages for these hours worked. Furthermore, at all
                             8    relevant times, Defendants had a consistent policy and practice of requiring
                             9    Plaintiffs and all other similarly-situated employees to undergo mandatory
                             10   security searches of all personal packages and bags when exiting the employer’s
                             11   premises and after clocking out at the end of each shift. As a result, although
                             12   Plaintiffs and similarly-situated employees are under the control of Defendants
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                             13   and suffered or permitted to work, Defendants fail to pay any wages, including
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                             14   regular or minimum wages to Plaintiffs and other similarly-situated employees for
                             15   the compensable time during which Plaintiffs and other similarly-situated
                             16   employees are subject to the control of the employer, including all the time the
                             17   employees are suffered or permitted to work, whether or not required to do so.
                             18         12.    At all relevant times, Defendants failed to pay Plaintiffs and
                             19   similarly-situated employees all wages due, including regular and minimum
                             20   wages. Defendants failed to pay Plaintiffs and other similarly-situated employees
                             21   regular and/or minimum wages for all hours worked, in violation of Labor Code
                             22   sections 1194 and 1197, and section 4 of the applicable IWC Wage Orders, as
                             23   follows: Defendants’ written policy directs all part-time drivers to call a
                             24   designated phone number at least once daily to listen to a recording which informs
                             25   the driver if they are scheduled to work the following day and the time the start of
                             26   the shift time. Part-time drivers are required to call in to work on a daily basis,
                             27   often multiple times per day without receiving any compensation for the time
                             28   spent calling into work each day. As a result, although Plaintiffs and similarly-
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                             1    situated employees are under the control of Defendants and suffered or permitted
                             2    to work, Defendants fail to pay any wages, including regular or minimum wages
                             3    to Plaintiffs and other similarly-situated employees for the compensable time
                             4    during which part-time drivers are subject to the control of the employer,
                             5    including all the time the employees are suffered or permitted to work, whether or
                             6    not required to do so.
                             7          13.    At all relevant times, Defendants had a consistent policy and practice
                             8    of failing to pay Plaintiffs and similarly-situated employees all wages due,
                             9    including reporting time pay, in violation of Labor Code section 218 and section
                             10   5(A) of the applicable IWC Wage Orders.
                             11         14.    At all relevant times, Defendants had a consistent policy and practice
                             12   of failing to reimburse Plaintiffs and similarly-situated employees for all
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                             13   reasonable and necessarily inured business-related expenses, including all
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                             14   expenses incurred for business layovers and the use of personal cell phones for
                             15   work-related purposes, in violation of California state wage and hour laws.
                             16         15.    At all relevant times, Defendants had a consistent policy and practice
                             17   of denying Plaintiffs and similarly-situated employees the right to use accrued
                             18   sick leave without the threat of discipline and/or discharge.
                             19         16.    At all relevant times, Defendants knowingly and willfully failed to
                             20   provide accurate wage statements to non-exempt employees, including Plaintiffs,
                             21   which did not include, among other things, accrued sick time, the accurate total
                             22   hours and pay for reporting time, and all rates of pay, or deductions made.
                             23         17.    At all relevant times, Defendants required Plaintiffs and all other
                             24   similarly-situated employees to enter into an agreement allowing Defendants to
                             25   install and use a camera monitoring system called the DriveCam Video System
                             26   (“DriveCam”) in their trucks at distribution centers. Defendants intentionally
                             27   misrepresented to Plaintiffs and all other similarly-situated employees that the
                             28   DriveCam would only be used when activated by the driver or by a “triggering
                                                                          -5-
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                             1    event” such as hard braking, swerving, or a collision. Based on Defendants’
                             2    representations, Plaintiffs and all other similarly-situated employees had a
                             3    reasonable expectation of privacy that the DriveCam was not continuously
                             4    recording at all times while drivers were on duty but rather only recording when
                             5    activated by a driver or a triggering event. Plaintiffs and all other similarly-
                             6    situated employees did not have knowledge of the fact that the DriveCam
                             7    recorded them during times other than when it was activated by a driver or a
                             8    triggering event. In fact, the DriveCam recorded numerous private conversations
                             9    between Plaintiffs and other individuals including private and personal
                             10   conversations with family members. Defendants intentionally recorded, visually
                             11   and audibly, Plaintiffs and all other similarly-situated employees without their
                             12   knowledge or consent in a manner which would be highly offensive to a
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                             13   reasonable person, including Plaintiffs and all other similarly-situated employees.
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                             14         18.    At all relevant times, Plaintiffs and the other similarly-situated
                             15   employees performed work within the geographical boundaries of the City of San
                             16   Diego and were therefore entitled to be paid earned sick leave pursuant to San
                             17   Diego County’s Earned Sick Leave and Minimum Wage Ordinance (“SDO”).
                             18   Defendants failed to comply with the requirements of the SDO by failing to
                             19   provide its employees with earned sick leave. See SDO Chapter 3, Article 9,
                             20   Division 1. Specifically, Defendants uniformly failed to provide Plaintiffs and
                             21   other similarly-situated employees with paid earned sick leave in compliance with
                             22   the SDO.
                             23         19.    At all relevant times, Plaintiffs and other similarly-situated
                             24   employees performed work within the geographical boundaries of the City of Los
                             25   Angeles and were therefore entitled to earned sick leave pursuant to Los Angeles
                             26   Minimum Wage and Paid Sick Leave Ordinance, Los Angeles Municipal Code,
                             27   Article 7 Section 187.04 (“LAO”). Defendants failed to comply with the
                             28   requirements of the LAO by failing to provide employees with earned sick leave.
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                             1    Specifically, Defendants uniformly failed to provide Plaintiffs and other similarly-
                             2    situated employees with paid earned sick leave in compliance with the LAO.
                             3             20.   Plaintiffs, on behalf of themselves and all similarly-situated
                             4    employees in the State of California, bring this action pursuant to Labor Code
                             5    sections 201, 202, 203, 218, 218.5, 218.6, 226(a), 226(h), 233, 510, 512, 1174(d),
                             6    1194, 1194.2, 1197, 1197.1, 1198, 1199 and 2802, seeking unpaid wages, expense
                             7    reimbursement, penalties, equitable relief, and reasonable attorneys’ fees and
                             8    costs.
                             9             21.   Plaintiffs, on behalf of themselves and all similarly-situated
                             10   employees in the State of California, bring this action pursuant to Business and
                             11   Professions Code sections 17200-17208, seeking injunctive relief, restitution, and
                             12   disgorgement of all benefits obtained by Defendants by failing to pay all wages
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                             13   owed.
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                             14                                              V.
                             15                            CLASS ACTION ALLEGATIONS
                             16            22.   Plaintiffs bring this action on behalf of themselves and all similarly-
                             17   situated current and former employees of Defendants as a Class Action pursuant
                             18   to Federal Rules of Civil Procedure, Rule 23. The Class and Subclasses Plaintiffs
                             19   seek to represent are defined as:
                             20                  Plaintiff Class
                             21                  All non-exempt transportation drivers employed by
                                                 Defendants at Defendants’ Irvine or Brea Distribution
                             22                  Centers in the State of California at any time since the
                             23                  four years preceding the filing of this Action.
                             24            23.   Plaintiffs seek to certify a Subclass of employees defined as:
                             25                  Unpaid Wages Subclass
                             26                  All Plaintiff Class Members who were required to report
                             27                  to work fifteen (15) minutes prior to shift start time to
                                                 pick their daily run at any time since the four years prior
                             28                  to January 6, 2020.
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                             1    24.   Plaintiffs seek to certify a Subclass of employees defined as:
                             2          Part-time Drivers Unpaid Wages Subclass
                             3          All Plaintiff Class Members who were employed as a part-time
                             4          transportation driver and were required to call into work daily to
                                        determine whether they are scheduled to work the following day at
                             5          any time since the four years prior to [DATE of filing of 4AC].
                             6    25.   Plaintiffs seek to certify a Subclass of employees defined as:
                             7          Sick Leave Subclass
                             8          All Plaintiff Class Members who performed work for Defendants
                                        within the geographic boundaries of Los Angeles County and/or San
                             9
                                        Diego County at any time since the four years prior to the filing of
                             10         this Action.
                             11   26.   Plaintiffs seek to certify a Subclass of employees define as:
                             12         Security Bag Search Subclass
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                             13         All Plaintiff Class Members who were required to submit to a
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                                        security bag search prior to leaving the Defendants’ distribution
                             14
                                        center and after clocking out at the end of a shift at any time since the
                             15         four years prior to March 4, 2020.
                             16   27.   Plaintiffs seek to certify a Subclass of employees defined as:
                             17         Part-Time Driver Reporting Time Subclass
                             18         All Plaintiff Class Members who were employed as a
                                        part-time transportation driver and were required to call
                             19
                                        into work daily to determine whether they are scheduled
                             20         to work the following day but were not provided work
                                        the following day nor paid reporting pay nor paid half the
                             21
                                        usual or scheduled day’s work, consisting of no less than
                             22         two (2) hours nor more than four (4) hours, at the
                             23         employee’s regular rate of pay.

                             24   28.   Plaintiffs seek to certify a Subclass of employees defined as:
                             25         Unreimbursed Business Expense Subclass
                             26         All Plaintiff Class Members who were not reimbursed for
                                        business-related expenses incurred in the discharge of
                             27
                                        duties for Defendants.
                             28
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                             1          29.    Plaintiffs seek to certify a Subclass of employees defined as:
                             2                 Wage Statement Subclass
                             3                 All members of the proposed Plaintiff Class who, within
                                               one year of the filing of the Complaint, received one or
                             4                 more itemized wage statements that did not include
                             5                 accrued sick time, and/or all wages due for reporting time
                                               pay, and/or the applicable rates of pay for time worked,
                             6                 and/or any deductions taken.
                             7
                             8          30.    Plaintiffs seek to certify a Subclass of employees defined as:
                             9                 UCL Subclass
                             10                All members of the proposed Plaintiff Class who were
                                               subject to Defendants’ pay practices relating to failure to
                             11                pay reporting time pay, failure to pay all wages due
                             12                including regular and minimum wages, failure to
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                                               reimburse all business-related expenses, and denial of the
                             13
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                                               right to use sick leave without the threat of discipline
                             14                and/or discharge.
                             15         31.    Plaintiffs reserve the right under Federal Rules of Court, Rules
                             16   23(c)(4) and (5), to amend or modify the Plaintiff Class and Subclass descriptions
                             17   with greater specificity or to provide further division into subclasses or limitation
                             18   to particular issues.
                             19         32.    This action has been brought and may be maintained as a class action
                             20   pursuant to Federal Rules of Civil Procedure, Rule 23 because there is a well-
                             21   defined common interest of many persons and it is impractical to bring them all
                             22   before this Court.
                             23         33.    Ascertainable Class: The proposed Plaintiff Class and Subclasses
                             24   are ascertainable because they can be identified and located using Defendants’
                             25   payroll and personnel records.
                             26         34.    Numerosity: The potential members of the Plaintiff Class and
                             27   Subclasses, defined above, are so numerous that joinder of all members would be
                             28   unfeasible and impractical. The disposition of their claims through this class
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                             1    action will benefit both the parties and this Court. The number of members of the
                             2    Plaintiff Class and Subclasses is unknown to Plaintiffs but is estimated to be in
                             3    excess of 100 individuals. The number and identity of members can be readily
                             4    ascertained using Defendants’ records.
                             5          35.    Typicality: The claims of Plaintiffs are typical of the claims of all
                             6    members of the Plaintiff Class and Subclasses because all members of the Plaintiff
                             7    Class and Subclasses sustained similar injuries and damages arising out of
                             8    Defendants’ common course of conduct in violation of law and the injuries and
                             9    damages of all members of the Plaintiff Class and Subclasses were caused by
                             10   Defendants’ wrongful conduct in violation of law, as alleged.
                             11         36.    Adequacy: Plaintiffs will adequately and fairly protect the interests
                             12   of the members of the Plaintiff Class. Plaintiffs have no interest adverse to the
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                             13   interests of absent Class Members. Plaintiffs are represented by attorneys with
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                             14   substantial wage-and-hour and class action law experience.
                             15         37.    Superiority: A class action is superior to other available means for
                             16   fair and efficient adjudication of the claims of the Plaintiff Class and would be
                             17   beneficial for the parties and the Court. Class action treatment will allow a large
                             18   number of similarly-situated persons to prosecute their common claims in a single
                             19   forum, simultaneously, efficiently, and without the unnecessary duplication of
                             20   effort and expense numerous individual actions would require. The damages
                             21   suffered by each Plaintiff Class Member are relatively small in the sense pertinent
                             22   to class action analysis, and the expense and burden of individual litigation would
                             23   make it extremely difficult or impossible for individual Plaintiff Class Members to
                             24   seek and obtain individual relief. A class action will serve an important public
                             25   interest by permitting such individuals to effectively pursue recovery of sums
                             26   owed to them. Class litigation also prevents the potential for inconsistent or
                             27   contradictory judgments raised by individual litigation.
                             28         38.    The predominating common questions of law and fact include,
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                             1    without limitation:
                             2          a.    Whether Defendants paid Plaintiff Class Members all wages due,
                             3                 including reporting time pay;
                             4          b.    Whether Defendants reimbursed Plaintiff Class Members for all
                             5                 business-related expenses incurred in the discharge of duties pursuant
                             6                 to Labor Code section 2802;
                             7          c.    Whether Defendants denied Plaintiff Class Members the right to use
                             8                 accrued sick leave without the threat of discipline and/or discharge
                             9                 pursuant to Labor Code section 233;
                             10         d.    Whether Defendants provided Plaintiff Class Members paid sick leave
                             11                in compliance with the San Diego County and Los Angeles County
                             12                Paid Sick Leave ordinances;
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                             13         e.    Whether Defendants invaded the privacy of Plaintiff Class Members
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                             14                via the method of installation and operation of cameras in their
                             15                trucks;
                             16         f.    Whether Defendants maintained accurate records for Plaintiff Class
                             17                Members pursuant to Labor Code section 1174(d) and section 7 of
                             18                the applicable IWC Wage order;
                             19         g.     Whether Defendants provided Plaintiff Class Members with accurate
                             20                itemized wage statements pursuant to Labor Code section 226;
                             21         h.    Whether Defendants violated sections 17200, et seq. of the Business
                             22                and Professions Code; Labor Code sections 226 and 1194; IWC
                             23                Wage Orders 7-2001 and 9-2001, and other applicable IWC Wage
                             24                Orders which constitutes a violation of fundamental public policy;
                             25         i.    Whether Plaintiff Class and Subclass Members are entitled to
                             26                equitable relief pursuant to Business and Professions Code, sections
                             27                17200, et seq.
                             28         j.    Whether Defendants compensated Plaintiff Class Members for all
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                             1                 hours worked, including regular and/or minimum wages for hours
                             2                 worked prior to the beginning of each shift and for mandatory
                             3                 security exit bag searches.
                             4           k.    Whether Defendants compensated Plaintiff Class Members for all
                             5                 hours worked, including regular and/or minimum wages for hours
                             6                 worked calling into work daily to determine whether the driver was
                             7                 scheduled to work the following day.
                             8                                               VI.
                             9                                  CAUSES OF ACTION
                             10                         FIRST CAUSE OF ACTION
                                                    Failure to Pay Reporting Time Wages
                             11
                                       [Labor Code § 218 and § 5 of IWC Wage Orders 7-2001 and 9-2001]
                             12      (Plaintiff VALDEZ and the Part-Time Drivers Reporting Time Subclass
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                                                           Against Each Defendant)
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                             14          39.   Plaintiffs hereby incorporate all preceding paragraphs of this
                             15   Complaint.
                             16          40.   Wage Orders 7 and 9(5)(A) provide as follows:
                             17                Each workday an employee is required to report for work and
                                               does report, but is not put to work or is furnished less than half
                             18
                                               of said employer’s usual or scheduled day’s work, the
                             19                employee shall be paid for half the usual or scheduled day’s
                                               work, but in no event for less than two (2) hours nor more than
                             20
                                               four (4) hours, at the employees’ regular rate of pay, which
                             21                shall not be less than the minimum wage.
                             22          41.   Labor Code section 218 states, “Nothing in this article shall limit the
                             23   authority of the district attorney of any county or prosecuting attorney of any city
                             24   to prosecute actions, either civil or criminal, for violations of this article or to
                             25   enforce the provisions thereof independently and without specific direction of the
                             26   division. Nothing in this article shall limit the right of any wage claimant to sue
                             27   directly or through an assignee for any wages or penalty due him under this
                             28   article.”
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                             1          42.    Labor Code section 200(a) states, ““Wages” includes all amounts for
                             2    labor performed by employees of every description, whether the amount is fixed
                             3    or ascertained by the standard of time, task, piece, commission basis, or other
                             4    method of calculation.”
                             5          43.    In order to control labor costs, Defendants engage in a scheduling
                             6    practice sometimes called “call-in scheduling,” by which Defendants require part-
                             7    time employees, including Plaintiff VALDEZ to report to work each evening by
                             8    calling in each day to determine whether they were scheduled to work the
                             9    following day. If the workload did not support their presence, Plaintiff VALDEZ
                             10   and other part-time employees did not receive at least two hours pay at their
                             11   regular rate of pay, or half of the usually-scheduled shift in pay at their regular
                             12   rate. Defendants’ scheduling practices, adopted as the working conditions of
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                             13   employment, directing part-time employees to present themselves for work by
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                             14   telephoning Defendants each evening prior to the start of a potential shift, triggers
                             15   the obligation imposed by section 5(A) of the applicable IWC Wage Orders,
                             16   which requires the payment of wages for such reporting time, during which
                             17   employees remain tethered to their communications devices and at the ready and
                             18   capable of being summoned to work. Although Defendants required Plaintiff
                             19   VALDEZ and other part-time employees to report to work by calling in each day
                             20   to determine whether they were scheduled to work the following day, Defendants
                             21   failed to pay any wages for this reporting time. These on-call shifts burden
                             22   Plaintiff VALDEZ and other part-time employees by limiting their time and
                             23   availability for other activities but nonetheless receiving no compensation from
                             24   Defendants unless they are ultimately called in to work.
                             25         44.    By their failure to pay hourly wages for reporting time, Defendants
                             26   willfully violated provisions of Labor Code section 218 and section 5 of IWC
                             27   Wage Orders 7-2001 and 9-2001.
                             28         45.    Labor Code section 218.5(a) states in pertinent part, “In any action
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                             1    brought for the nonpayment of wages, fringe benefits, or health and welfare or
                             2    pension fund contributions, the court shall award reasonable attorney’s fees and
                             3    costs to the prevailing party if any party to the action requests attorney’s fees and
                             4    costs upon the initiation of the action.” Plaintiffs seek recovery of reporting time
                             5    wages and attorney’s fees pursuant to this provision.
                             6          46.    Defendants’ unlawful acts deprived Plaintiff VALDEZ and the
                             7    Plaintiff Class and the Part-Time Drivers Reporting Time Subclass he seeks to
                             8    represent of hourly wages in amounts to be determined at trial, and they are
                             9    entitled to recover such amounts, plus interest, attorneys’ fees, and costs.
                             10         47.    Plaintiff VALDEZ, on behalf of himself and members of the Part-
                             11   Time Drivers Reporting Time Subclass, requests relief as described below.
                             12                          SECOND CAUSE OF ACTION
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                             13                FAILURE TO REIMBURSE BUSINESS EXPENSES
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                                      [Labor Code § 2802 and § 9 of IWC Wage Orders 7-2001 and 9-2001]
                             14    (Plaintiffs and the Unreimbursed Business Expenses Subclass Against Each
                             15                                   Defendant)

                             16         48.    Plaintiffs hereby incorporate all preceding paragraphs of this
                             17   Complaint.
                             18         49.    Labor Code section 2802(a) provides that “[a]n employer shall
                             19   indemnify his or her employee for all necessary expenditures or losses incurred by
                             20   the employee in direct consequence of the discharge of his or her duties, or of his
                             21   or her obedience to the directions of the employer, even though unlawful, unless
                             22   the employee, at the time of obeying the directions, believed them to be
                             23   unlawful.”
                             24         50.    Through Defendants’ conduct during the applicable statutory period
                             25   including, but not limited to, the conduct alleged herein, Defendants failed to
                             26   reimburse Plaintiffs and members of the Unreimbursed Business Expenses
                             27   Subclass as required by Labor Code section 2802. Defendants did not fully
                             28   reimburse Plaintiffs and members of the Unreimbursed Business Expenses
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                             1    Subclass for business-related expenses incurred on layovers of up to twenty-four
                             2    (24) hours. Additionally, Defendants failed to reimburse Plaintiffs and members
                             3    of the Unreimbursed Business Expenses Subclass for expenses incurred for the
                             4    use of personal cell phones for work-related purposes.
                             5          51.    Labor Code section 2802(c) states that “[f]or purposes of [2802], the
                             6    term “necessary expenditures or losses” shall include all reasonable costs,
                             7    including, but not limited to attorney’s fees incurred by the employee enforcing
                             8    the rights granted by [2802].”
                             9          52.    Plaintiffs and members of the Unreimbursed Business Expenses
                             10   Subclass suffered losses including, but not limited to, costs incurred during
                             11   layovers. Plaintiffs and members of the Unreimbursed Business Expenses
                             12   Subclass incurred these costs in direct consequence of the discharge of their
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                             13   duties.
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                             14         53.    As a direct result of Defendants’ violations alleged herein, Plaintiffs
                             15   and members of the Unreimbursed Business Expenses Subclass have suffered, and
                             16   continue to suffer, substantial losses related to failure to be indemnified for the
                             17   expenses and losses, including the use and enjoyment of such monies, lost interest
                             18   on such monies and expenses and attorney’s fees and costs in seeking to compel
                             19   Defendants to fully perform their obligations under state law, all to their
                             20   respective damage in amounts according to proof at trial and within the
                             21   jurisdictional limitations of this Court.
                             22         54.    Plaintiffs seek to recover in a civil action to the fullest extent
                             23   permissible all available remedies including but not limited to the unpaid balance
                             24   of the indemnification from Defendants’ violations, interest thereon permitted by
                             25   Labor Code section 2802(b), reasonable attorney’s fees and costs of suit,
                             26   injunctive relief, declaratory relief, and any other permitted remedies including
                             27   those permitted pursuant to Labor Code section 2802 and Code of Civil Procedure
                             28   section 1021.5.
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                             1          55.    Plaintiffs, on behalf of themselves and the members of the
                             2    Unreimbursed Business Expenses Subclass, request relief as described below.
                             3                           THIRD CAUSE OF ACTION
                                     DENIAL OF RIGHT TO USE SICK LEAVE WITHOUT THREAT OF
                             4
                                                     DISCIPLINE AND/OR DISCHARGE
                             5                                [Labor Code § 233]
                                          (Plaintiffs and the Plaintiff Class Against Each Defendant)
                             6
                             7          56.    Plaintiffs hereby incorporate all preceding paragraphs of this
                             8    Complaint.
                             9          57.    Labor Code section 233(c) states in pertinent part: “An employer
                             10   shall not deny an employee the right to use sick leave or discharge, threaten to
                             11   discharge, demote, suspend, or in any manner discriminate against an employee
                             12   for using, or attempting to exercise the right to use, sick leave to attend to an
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                             13   illness or the preventive care of a family member, or for any other reason
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                             14   specified in subdivision (a) of Section 246.5.”
                             15         58.    Plaintiffs and members of the Plaintiff Class were denied the right to
                             16   use their accrued sick leave without the threat of discipline and/or discharge by
                             17   Defendants. Defendants carried out a consistent policy and practice of disciplining
                             18   Plaintiffs and members of the Plaintiff Class for taking sick leave. Specifically,
                             19   Defendants intimidate, discipline, and threaten Plaintiffs and members of the
                             20   Plaintiff Class for exercising their right to take sick leave when they are fatigued,
                             21   ill, or otherwise unable to safely operate a commercial vehicle. Defendants
                             22   implemented and carried out a policy that disciplines and threatens discharge for
                             23   repeated absences regardless of the reason. In fact, Defendants implemented and
                             24   carried out a policy that issues points for each occurrence, such as absence due to
                             25   illness or fatigue, with the threat that a specific number of occurrences will result
                             26   in discharge. However, each point issued for an occurrence results in some form
                             27   of discipline, threat, or warning.
                             28         59.    Plaintiffs seek to recover in a civil action to the fullest extent
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                             1    permissible all available remedies including but not limited to the remedies
                             2    permitted by Labor Code section 233(e) and Code of Civil Procedure section
                             3    1021.5.
                             4          60.    Plaintiffs, on behalf of themselves and the members of the Plaintiff
                             5    Class, requests relief as described below.
                             6                          FOURTH CAUSE OF ACTION
                             7     FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
                                      [Labor Code § 226 and § 7 of IWC Wage Orders 7-2001 and 9-2001]
                             8            (Plaintiffs and the Plaintiff Class Against Each Defendant)
                             9          61.    Plaintiffs hereby incorporate all preceding paragraphs of this
                             10   Complaint.
                             11         62.    Labor Code section 226(a) states in pertinent part: “Every employer
                             12   shall, semimonthly or at the time of each payment of wages, furnish each of his or
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                             13   her employees, either as a detachable part of the check, draft, or voucher paying
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                             14   the employee's wages, or separately when wages are paid by personal check or
                             15   cash, an accurate itemized statement in writing showing”: (1) gross wages earned;
                             16   (2) total hours worked by the employee, except for any employee whose
                             17   compensation is solely based on a salary and who is exempt from payment of
                             18   overtime under subdivision (a) of Section 515 or any applicable order of the
                             19   Industrial Welfare Commission; (3) the number of piece-rate units earned and any
                             20   applicable piece rate if the employee is paid on a piece-rate basis; (4) All
                             21   deductions, provided that all deductions made on written orders of the employee
                             22   may be aggregated and shown as one item; (5) net wages earned; (6) the inclusive
                             23   dates of the period for which the employee is paid; (7) the name of the employee
                             24   and only the last four digits of his or her social security number or an employee
                             25   identification number other than a social security number; (8) the name and
                             26   address of the legal entity that is the employer; and (9) all applicable hourly rates
                             27   in effect during the pay period and the corresponding number of hours worked at
                             28   each hourly rate by the employee. The deductions made from payment of wages
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                             1    shall be recorded in ink or other indelible form, properly dated, showing the
                             2    month, day, and year, and a copy of the statement and the record of the deductions
                             3    shall be kept on file by the employer for at least three years at the place of
                             4    employment or at a central location within the State of California.
                             5          63.    IWC Wage Orders 7-2001 and 9-2001, section 7(A) state in relevant
                             6    part that the employer shall keep accurate information regarding, “(4) Total wages
                             7    paid each payroll period, including value of board, lodging, or other compensation
                             8    actually furnished to the employee; (5) Total hours worked in the payroll period
                             9    and applicable rates of pay.”
                             10         64.    Through Defendants’ alleged conduct during the applicable statutory
                             11   period including, but not limited to, on information and belief, Defendants failed
                             12   to provide accurate wage statements including, but not limited to, the recording of
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                             13   accrued sick time, all wages due for reporting time pay, the applicable rates of pay
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                             14   for time worked, and/or deductions taken.
                             15         65.    As a consequence of Defendants’ knowing and willful failure to
                             16   comply with Labor Code section 226(a), Plaintiffs and similarly-situated
                             17   employees are entitled to actual damages or penalties not to exceed $4,000 for
                             18   each employee pursuant to Labor Code section 226(b), together with interest and
                             19   attorneys’ fees and costs.
                             20         66.    Labor Code section 226(e) states: “An employee suffering injury as a
                             21   result of a knowing and intentional failure by an employer to comply with
                             22   subdivision (a) is entitled to recover the greater of all actual damages or fifty
                             23   dollars ($50) for the initial pay period in which a violation occurs and one hundred
                             24   dollars ($100) per employee for each violation in a subsequent pay period, not
                             25   exceeding an aggregate penalty of four thousand dollars ($4,000), and is entitled
                             26   to an award of costs and reasonable attorneys’ fees.” Labor Code section
                             27   226(e)(2)(B) states: “An employee is deemed to suffer injury for purposes of this
                             28   subdivision if the employer fails to provide accurate and complete information as
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                             1    required by any one or more of items (1) to (9), inclusive, of subdivision (a) and
                             2    the employee cannot promptly and easily determine from the wage statement
                             3    alone one or more of the following: (i) The amount of gross wages or net wages
                             4    paid to the employee during the pay period or any other information required to be
                             5    provided on the itemized wage statement pursuant to items (2) to (4), inclusive,
                             6    (6) and (9) of subdivision (a)…” Because Plaintiffs’ wage statements did not
                             7    include, among other things, an accurate accounting of gross wages earned, or the
                             8    accurate total hours worked, they are deemed to have suffered injury.
                             9          67.     Labor Code section 226(h) states: “An employee may also bring an
                             10   action for injunctive relief to ensure compliance with this section and is entitled to
                             11   an award of costs and reasonable attorney’s fees.”
                             12         68.     As a direct result of Defendants’ violations alleged herein, Plaintiffs
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                             13   and members of the Plaintiff Class have suffered, and continue to suffer, injury
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                             14   including substantial losses related to the use and enjoyment of such wages, lost
                             15   interest on such monies and expenses and attorney’s fees in seeking to compel
                             16   Defendants to fully perform their obligations under state law, all to their
                             17   respective damage in amounts according to proof at trial and within the
                             18   jurisdictional limitations of this Court.
                             19         69.     Plaintiffs seek to recover in a civil action all remedies including
                             20   damages, unpaid wages, penalties, attorney’s fees and costs, and injunctive relief
                             21   to the fullest extent permissible including those permitted pursuant to Labor Code
                             22   sections 226(e) and (h), and Code of Civil Procedure section 1021.5.
                             23         70.     Plaintiffs, on behalf of themselves and the members of the Plaintiff
                             24   Class, request relief as described below.
                             25                              FIFTH CAUSE OF ACTION
                             26                VIOLATION OF THE UNFAIR COMPETITION LAW
                                                   [Business and Professions Code §§ 17200, et seq.]
                             27               (Plaintiffs and the Plaintiff Class Against Each Defendant)
                             28         71.     Plaintiffs incorporate all preceding paragraphs of this Complaint, as
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                             1    well as paragraphs 136 through147.
                             2          72.    Business & Professions Code section 17200 states: “As used in this
                             3    chapter, unfair competition shall mean and include any unlawful, unfair or
                             4    fraudulent business act or practice and unfair, deceptive, untrue or misleading
                             5    advertising and any act prohibited by Chapter 1 (commencing with section 17500)
                             6    of Part 3 of Division 7 of the Business and Professions Code.”
                             7          73.    Through Defendants’ conduct during the applicable statutory period
                             8    including, but not limited to, the conduct alleged herein, including that alleged on
                             9    information and belief, Defendants have engaged in unlawful, unfair, or
                             10   fraudulent business practices in California by practicing, employing, and utilizing,
                             11   the employment practices outlined in the preceding paragraphs all in violation of
                             12   California law and the Industrial Welfare Commission Wage Orders. Defendants’
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                             13   use of such practices constitutes an unfair business practice, unfair competition,
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                             14   and provides an unfair advantage over Defendants’ competitors doing business in
                             15   the State of California that comply with their obligations to properly provide
                             16   employment conditions in compliance with the law and pay employees for all
                             17   earned wages and compensation as required by law.
                             18         74.    Defendants’ violations of the Labor Code and the Industrial Welfare
                             19   Commission Wage Orders, and their scheme to lower payroll costs as alleged
                             20   herein, constitute unlawful business practices because these actions were done in a
                             21   systematic manner over a period of time to the detriment of Plaintiff and the
                             22   Plaintiff Class. The acts complained of herein occurred within the last four (4)
                             23   years preceding the filing of this complaint and include, but are not limited to,
                             24   failure to (i) pay minimum, overtime, and regular wages, and sick pay; (ii)
                             25   maintain accurate records; (iii) provide and maintain accurate itemized wage
                             26   statements; and (iv) indemnify employees for their expenses and losses and (v)
                             27   preserve employee privacy, i.e., by using cameras in the ways specified above.
                             28         75.    Defendants’ failure to pay Plaintiffs and members of the Plaintiff
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                             1    Class and Subclasses for all wages due including reporting time, as required by
                             2    the applicable Wage Orders and the Labor Code, as alleged, constitutes unlawful
                             3    activity prohibited by Business and Professions Code sections 17200, et seq.
                             4          76.    The actions of Defendants in failing to pay Plaintiffs and members of
                             5    the Plaintiff Class in a lawful manner constitute false, unfair, fraudulent, and
                             6    deceptive business practices, within the meaning of Business and Professions
                             7    Code, sections 17200, et seq.
                             8          77.    Plaintiff are entitled to an injunction, specific performance under
                             9    Business and Professions Code, section 17202, and/or other equitable relief
                             10   against such unlawful practices in order to prevent future loss, for which there is
                             11   no adequate remedy at law, and to avoid a multiplicity of lawsuits. Plaintiffs bring
                             12   this cause individually and as a member of the general public as a representative
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                             13   of all others subject to Defendants’ unlawful acts and practices.
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                             14         78.    This cause of action is brought as a cumulative remedy and is
                             15   intended as an alternative remedy for restitution for Plaintiffs, and each Plaintiff
                             16   Class Member, for the four (4) year period before the filing of this Complaint, and
                             17   as the primary remedy during the fourth year before the filing of this Complaint.
                             18   Business and Professions Code section 17205.
                             19         79.    As a result of Defendants’ unlawful and unfair business practice of
                             20   failing to pay earned wages, each Plaintiff Class member has suffered damages
                             21   and is entitled to restitution in an amount according to proof.
                             22         80.    The illegal conduct alleged is continuing and there is no indication
                             23   that Defendants will discontinue such activity in the future. Plaintiffs allege that if
                             24   Defendants are not enjoined from the conduct set forth in this Complaint, they will
                             25   continue to fail to pay all wages as required by law.
                             26         81.    Plaintiffs further request the Court issue a preliminary and permanent
                             27   injunction prohibiting Defendants from continuing to fail to pay reporting time
                             28   wages.
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                             1          82.    As a direct and proximate result of Defendants’ conduct, Defendants
                             2    have received and will continue to receive monies that rightfully belong to
                             3    members of the general public who have been adversely affected by Defendants’
                             4    conduct, as well as to Plaintiffs by virtue of unpaid wages and other monies.
                             5          83.    Plaintiffs are entitled to and seek any and all available remedies
                             6    including restitution and recovery of reasonable attorneys’ fees pursuant to
                             7    California Code of Civil Procedure section 1021.5, Business and Professions Code
                             8    sections 17200, et seq., the substantial benefit doctrine, and/or the common fund
                             9    doctrine.
                             10         84.    Plaintiffs, on behalf of themselves and the members of the Plaintiff
                             11   Class, requests relief as described below.
                             12                          SIXTH CAUSE OF ACTION
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                             13      INVASION OF PRIVACY – INTRUSION INTO PRIVATE AFFAIRS;
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                                         VIOLATION OF CAL. CONST. ARTICLE 1, SECTION 1
                             14           (Plaintiffs and the Plaintiff Class Against Each Defendant)
                             15         85.    Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             16         86.    Plaintiffs and other similarly-situated employees have a reasonable
                             17   expectation of privacy in their conduct at work based on Defendants’
                             18   representations that the DriveCam will only be used to record work-related
                             19   activities when activated by the driver or a triggering event such as hard braking,
                             20   swerving or a collision.
                             21         87.    Plaintiffs and other similarly-situated employees possess a legally
                             22   protected privacy interest in their personal and private conduct including private
                             23   conversations they engaged without knowledge that their conversations and
                             24   activities were being recorded by the DriveCam system in Defendants’ vehicles.
                             25         88.    At all relevant times, Defendants required Plaintiffs and all other
                             26   similarly-situated employees to enter into an agreement allowing Defendants to
                             27   install and use a camera monitoring system call the DriveCam Video System
                             28   (“DriveCam”) in its trucks at distribution centers. Defendants intentionally
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                             1    misrepresented to Plaintiffs and all other similarly-situated employees that the
                             2    DriveCam would only be used when activated by the driver or a triggering event
                             3    such as hard braking, swerving, or a collision. Based on Defendants’
                             4    representations, Plaintiffs and all other similarly-situated employees had a
                             5    reasonable expectation of privacy that the DriveCam was not continuously
                             6    recording at all times while drivers were on duty but rather only recording when
                             7    activated by a driver or a triggering event. Plaintiffs and all other similarly-
                             8    situated employees did not have knowledge of the fact that the DriveCam
                             9    recorded them during times other than when it was activated by a driver or a
                             10   triggering event. In fact, the DriveCam recorded numerous private conversations
                             11   between Plaintiffs and other individuals including private and personal
                             12   conversations with family members. Defendants intentionally recorded, visually
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                             13   and audibly, Plaintiffs and all other similarly-situated employees without their
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                             14   knowledge or consent in a manner in which is highly offensive to a reasonable
                             15   person, including to Plaintiffs and all other similarly-situated employees.
                             16         89.    Plaintiffs and all other similarly-situated employees did not consent
                             17   to or have knowledge of the fact that the DriveCam was recording them at times
                             18   other than when activated by the driver or by a triggering event such as hard
                             19   braking, swerving, or a collision.
                             20         90.    Defendants failed to inform Plaintiffs and all other similarly-situated
                             21   employees that the DriveCam would record them at times other than when
                             22   activated by the driver or a triggering event such as hard braking, swerving, or a
                             23   collision.
                             24         91.    This intrusion would be highly offensive to a reasonable person.
                             25         92.    Defendants’ conduct was intentional and done with reckless
                             26   disregard for the fact that a reasonable person in Plaintiffs’ positions would
                             27   consider the conduct highly offensive.
                             28         93.    As a direct result of Defendants’ violations alleged herein, Plaintiffs
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                             1    and similarly-situated employees were harmed as a result of the conduct of
                             2    Defendants, and the Defendants’ conduct was a substantial factor in causing the
                             3    harm suffered as a result of the invasion of privacy.
                             4          94.    Plaintiffs seek to recover in a civil action all remedies to the fullest
                             5    extent permissible including those permitted pursuant to Civil Code sections
                             6    1708.8, et seq.
                             7          95.    Plaintiffs, on behalf of themselves and the members of the Plaintiff
                             8    Class, requests relief as described below.
                             9                          SEVENTH CAUSE OF ACTION
                                   FAILURE TO PROVIDE PAID SICK LEAVE IN COMPLIANCE WITH
                             10
                                    SAN DIEGO PAID SICK LEAVE ORDINANCE AND LOS ANGELES
                             11                       PAID SICK LEAVE ORDINANCE
                                       (Plaintiffs and the Sick Leave Subclass Against Each Defendant)
                             12
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                                        96.    Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             14
                                        97.    At all relevant times, Defendants employed and continue to employee
                             15
                                  employees such as Plaintiffs and other similarly-situated employees throughout
                             16
                                  the State of California including in San Diego County and Los Angeles County.
                             17
                                        98.    At all relevant times, Defendants maintained a uniform policy and
                             18
                                  practice of providing employees such as Plaintiffs and other similarly-situated
                             19
                                  employees a total of five (5) days of sick leave per year to all employees who have
                             20
                                  been continuously employed by Defendants for the period of at least one (1) year.
                             21
                                  If an employee was employed for less than one (1) year, they did not accrue sick
                             22
                                  leave per Defendants’ policy.
                             23
                                        99.    San Diego County’s Earned Sick Leave and Minimum Wage
                             24
                                  Ordinance, San Diego County Municipal Code (“SDMC”) Chapter 3, Article 9,
                             25
                                  Division 1, effective as of July 11, 2016 provides that “all employers must provide
                             26
                                  paid earned sick leave to each employee (including temporary and part-time
                             27
                                  employees) who perform at least two (2) hours of work within the geographical
                             28
                                  boundaries of the City of San Diego.” San
                                                                         - 24 Diego
                                                                              -     County’s Earned Sick Leave and
                                                    Fourth Amended Class and Representative Action Complaint
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                             1    Minimum Wage Ordinance requires employers, such as Defendants, to provide
                             2    employees with one (1) hour of earned sick leave for every thirty hours worked by
                             3    the employee within the geographic boundaries of the City of San Diego.
                             4    Employees are entitled to use accrued earned sick leave beginning July 11, 2016
                             5    or after the ninetieth (90) day of employment, whichever is later.
                             6          100. At all relevant times, Plaintiffs and other similarly-situated
                             7    employees performed work within the geographical boundaries of the City of San
                             8    Diego and were therefore entitled to paid earned sick leave pursuant to San Diego
                             9    County’s Earned Sick Leave and Minimum Wage Ordinance. Defendants failed to
                             10   comply with the requirements of San Diego County’s Earned Sick Leave and
                             11   Minimum Wage Ordinance by failing to provide employees with earned sick
                             12   leave in compliance with San Diego County’s Earned Sick Leave and Minimum
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                             13   Wage Ordinance, SDMC Chapter 3, Article 9, Division 1.
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                             14         101. Los Angeles Minimum Wage and Paid Sick Leave Ordinance, Los
                             15   Angeles Municipal Code, Article 7 Section 187.04(A) states in pertinent part,
                             16   “Every Employee who, on or after July 1, 2016, works in the City for the same
                             17   Employer for 30 days or more within a year from the commencement of
                             18   employment is entitled to paid sick leave.” Section 187.04(B) provides, “Paid sick
                             19   leave shall accrue on the first day of employment or July 1, 2016, whichever is
                             20   later.” Section 187.04(C) states, “An Employee may use paid sick leave beginning
                             21   on the 90th day of employment or July 1, 2016, whichever is later.”
                             22         102. At all relevant times, Plaintiffs and other similarly-situated
                             23   employees performed work within the geographical boundaries of the City of Los
                             24   Angeles and were therefore entitled to earned sick leave pursuant to Los Angeles
                             25   Minimum Wage and Paid Sick Leave Ordinance, Los Angeles Municipal Code,
                             26   Article 7 Section 187.04. Defendants failed to comply with the requirements of
                             27   the Los Angeles Minimum Wage and Paid Sick Leave Ordinance by failing to
                             28   provide employees with earned sick leave in compliance with the Los Angeles
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                             1    Minimum Wage and Paid Sick Leave Ordinance, Los Angeles Municipal Code,
                             2    Article 7 sections 187.04, et seq. Indeed, Defendants uniformly failed to provide
                             3    Plaintiffs and other similarly-situated employees with paid earned sick leave in
                             4    compliance with the Los Angeles Minimum Wage and Paid Sick Leave
                             5    Ordinance.
                             6          103. Neither the San Diego County’s Earned Sick Leave Ordinance, San
                             7    Diego County Municipal Code (“SDMC”) Chapter 3, Article 9, Division 1, nor
                             8    the Los Angeles Paid Sick Leave Ordinance, Los Angeles Municipal Code,
                             9    Article 7 sections 187.04, et seq. provide an exemption for union employees.
                             10         104. Plaintiffs, on behalf of themselves and the members of the Plaintiff
                             11   Class, requests relief as described below.
                             12                          EIGHTH CAUSE OF ACTION
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                                    CIVIL PENALTIES PURSUANT TO THE PAGAG FOR FAILURE TO
                             13
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                                                         PAY REPORTING TIME PAY
                             14     (Plaintiffs and All Other Aggrieved Employees Against Each Defendant)
                             15         105. Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             16         106. Labor Code section 1199 states, Every employer or other person
                             17   acting either individually or as an officer, agent, or employee of another person is
                             18   guilty of a misdemeanor and is punishable by a fine of not less than one hundred
                             19   dollars ($100) or by imprisonment for not less than 30 days, or by both, who does
                             20   any of the following: (a) Requires or causes any employee to work for longer
                             21   hours than those fixed, or under conditions of labor prohibited by an order of the
                             22   commission; (b) Pays or causes to be paid to any employee a wage less than the
                             23   minimum fixed by an order of the commission; (c) Violates or refuses or neglects
                             24   to comply with any provision of this chapter or any order or ruling of the
                             25   commission.
                             26         107. Defendants violated the above statute throughout the applicable
                             27   statutory period by failing to pay Plaintiffs and other aggrieved employees
                             28   reporting time pay for on-call shifts. Plaintiffs allege that Defendants violated
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                             1    California law and the applicable IWC wage order by failing to pay all wages due,
                             2    including reporting time pay. Defendants failed to comply with Labor Code
                             3    section 1199 and section 5(A) of the applicable IWC Wage Order by requiring
                             4    employees to call in each evening before a potential shift to learn whether the
                             5    employee is needed for work and the employee is not told to come to work the
                             6    following day. Defendant’s on-call system leaves employees who are willing to
                             7    work uncompensated and limits the employees’ ability to schedule other potential
                             8    activities, including other jobs and social plans. As such, Claimants allege that
                             9    Defendants’ employees who are subject to the on-call scheduling system must be
                             10   compensated with reporting time pay when employees are required to call
                             11   Defendants each evening and not provided work.
                             12         108. As a result, Plaintiffs and other aggrieved employees are entitled to
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                             13   and may seek recovery of civil penalties pursuant to Labor Code §§ 558(a),
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                             14   2699.3, and 2699.5 which allow for recovery of civil penalties under the PAGA
                             15   for each violation where Plaintiffs and other aggrieved employees were not paid
                             16   all wages due.
                             17         109. Labor Code section 2699(f)(2) states: “For all provisions of this code
                             18   except those for which a civil penalty is specifically provided, there is established
                             19   a civil penalty for a violation of these provisions, as follows… (2) If, at the time of
                             20   the alleged violation, the person employs one or more employees, the civil penalty
                             21   is one hundred dollars ($100) for each aggrieved employee per pay period for the
                             22   initial violation and two hundred dollars ($200) for each aggrieved employee per
                             23   pay period for each subsequent violation.”
                             24         110. Aggrieved employees are entitled to pursue civil penalties under the
                             25   PAGA for violations of Labor Code section 1199. Labor Code § 2699.5.
                             26         111. Plaintiffs, as representatives of the general public, will and do seek to
                             27   recover any and all penalties for each and every violation, in an amount according
                             28   to proof, as to those penalties that are otherwise only available in public agency
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                             1    enforcement actions. Funds recovered will be distributed in accordance with
                             2    PAGA, with 75% of the penalties recovered being reimbursed to the State of
                             3    California and the Labor and Workforce Development Agency (“LWDA”).
                             4          112. In addition to recovery of civil penalties and distribution to the
                             5    LWDA as required by law, Plaintiffs will seek recovery of reasonable costs and
                             6    attorney’s fees, in an amount according to proof.
                             7                            NINTH CAUSE OF ACTION
                                     CIVIL PENALTIES PURSUANT TO THE PAGA FOR FAILURE TO
                             8
                                                     REIMBURSE BUSINESS EXPENSES
                             9      (Plaintiffs and All Other Aggrieved Employees Against Each Defendant)
                             10         113. Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             11         114. California Labor Code section 2802 provides: “An employer shall
                             12   indemnify his or her employee for all necessary expenditures or losses incurred by
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                             13   the employee in direct consequence of the discharge of his or her duties,
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                             14   obedience to the directions of the employer…[ ].”
                             15         115. For purposes of this section, the term “necessary expenditures or
                             16   losses” shall include all reasonable costs, including, but not limited to, attorney’s
                             17   fees incurred by the employee enforcing the rights granted by this section.
                             18         116. California Labor Code section 2804 mandates this statutory right
                             19   cannot be waived.
                             20         117. Labor Code section 2699(f)(2) states: “For all provisions of this code
                             21   except those for which a civil penalty is specifically provided, there is established
                             22   a civil penalty for a violation of these provisions, as follows… (2) If, at the time of
                             23   the alleged violation, the person employs one or more employees, the civil penalty
                             24   is one hundred dollars ($100) for each aggrieved employee per pay period for the
                             25   initial violation and two hundred dollars ($200) for each aggrieved employee per
                             26   pay period for each subsequent violation.”
                             27         118. Aggrieved employees are entitled to pursue civil penalties under the
                             28   PAGA for violations of Labor Code section 2802. Labor Code § 2699.5.
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                             1          119. Because there is no established civil penalty for violations of Section
                             2    2802, Labor Code section 2699(f)(2) provides the appropriate civil penalty, as
                             3    Defendants employed more than one person during the statutory period, and still
                             4    employ more than one person.
                             5          120. Defendants violated the above statutes throughout the applicable
                             6    statutory period by failing to fully reimburse Plaintiffs and other aggrieved
                             7    employees for necessary expenditures incurred in direct consequence of
                             8    discharging their duties, including costs incurred during layovers and costs
                             9    incurred for the use of personal cell phones for work-related purposes.
                             10         121. Plaintiffs, as representatives of the general public, will and do seek to
                             11   recover any and all penalties for each and every violation, in an amount according
                             12   to proof, as to those penalties that are otherwise only available in public agency
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                             13   enforcement actions. Funds recovered will be distributed in accordance with
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                             14   PAGA, with 75% of the penalties recovered being reimbursed to the State of
                             15   California and the Labor and Workforce Development Agency (“LWDA”).
                             16         122. In addition to recovery of civil penalties and distribution to the
                             17   LWDA as required by law, Plaintiffs will seek recovery of reasonable costs and
                             18   attorney’s fees, in an amount according to proof.
                             19                            TENTH CAUSE OF ACTION
                                     CIVIL PENALTIES PURSUANT TO THE PAGA FOR FAILURE TO
                             20
                                          PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
                             21      (Plaintiffs and All Other Aggrieved Employees Against Each Defendant)
                             22         123. Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             23         124. Labor Code section 226(a) provides: “Every employer shall,
                             24   semimonthly or at the time of each payment of wages, furnish each of his or her
                             25   employees… an accurate itemized statement in writing showing (1) gross wages
                             26   earned, (2) total hours worked by the employee, …. (4) all deductions,… (5) net
                             27   wages earned… …and (9) all applicable hourly rates in effect during the pay
                             28   period and the corresponding number of hours worked at each hourly rate by the
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                             1    employee…”
                             2           125. Due to Defendants’ failure to record accrued sick time, all wages due
                             3    for reporting time pay, the applicable rates of pay for time worked, and/or
                             4    deductions taken as required by the Labor Code, the wages listed on each wage
                             5    statement provided to Plaintiffs and other aggrieved employees were misstated
                             6    and violated Sections 226(a)(1), (2), (4), (5), and (9). Defendant’s actions were
                             7    intentional and willful.
                             8           126. Aggrieved employees are entitled to pursue civil penalties under the
                             9    PAGA for violations of Labor Code section 226(a). Labor Code § 2699.5.
                             10          127. Labor Code section 226.3 provides for civil penalties for violations of
                             11   Sections 226 and 1174(d). The civil penalty is $250 for the initial violation and
                             12   $1,000 for each subsequent violation.
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                             13          128. Labor Code section 1174.5 provides for a civil penalty of $500 for an
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                             14   Employer’s failure to maintain accurate and complete records. This civil penalty is
                             15   addition to the civil penalty of $100 per pay period, per aggrieved employee that
                             16   would be imposed pursuant to Labor Code section 2699 for a violation of Labor
                             17   Code section 1174(d).
                             18          129. Plaintiffs, as representatives of the general public, will and do seek to
                             19   recover any and all penalties for each and every violation, in an amount according
                             20   to proof, as to those penalties that are otherwise only available in public agency
                             21   enforcement actions. Funds recovered will be distributed in accordance with
                             22   PAGA, with 75% of the penalties recovered being reimbursed to the State of
                             23   California and the Labor and Workforce Development Agency (“LWDA”).
                             24          130. In addition to recovery of civil penalties and distribution to the
                             25   LWDA as required by law, Plaintiffs will seek recovery of reasonable costs and
                             26   attorney’s fees, in an amount according to proof.
                             27   ///
                             28   ////
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                             1                          ELEVENTH CAUSE OF ACTION
                                  CIVIL PENALTIES PURSUANT TO THE PAGA FOR FAILURE TO PAY
                             2
                                          WAGES DUE UPON SEPARATION OF EMPLOYMENT
                             3      (Plaintiffs and All Other Aggrieved Employees Against Each Defendant)
                             4          131. Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             5          132. Labor Code section 203(a) states, in relevant part:
                             6          “If an Employer willfully fails to pay, without abatement or reduction,
                                        in accordance with Sections 201, 201.3, 201.5, 202, and 205.5, any
                             7          wages of an employee who is discharged or who quits, the wages of the
                             8          employee shall continue as a penalty from the due date thereof at the
                                        same rate until paid or until an action therefor is commenced; but the
                             9          wages shall not continue for more than 30 days. An employee who
                             10         secretes or absents himself or herself to avoid payment to his or her, or
                                        who refuses to receive the payment when fully tendered to his or her,
                             11
                                        including any penalty then accrued under this section, is not entitled to
                             12         any benefit under this section for the time during which he or she so
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                                        avoids payment.”
                             13
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                             14         133. Labor Code section 256 states: “The Labor Commissioner shall impose
                             15   a civil penalty in an amount not exceeding 30 day’s pay as waiting time under the
                             16   terms of Section 203.”
                             17         134. Labor Code sections 201-203 require employers to pay wages earned
                             18   by employees within strict time requirements. Defendant had a policy, practice, and
                             19   procedure of willfully failing to pay the earned wages of Defendant’s former
                             20   employees. If an employer willfully fails to timely and fully pay all final wages the
                             21   employer must, as a penalty, continue to pay an employee’s wages for 30 days, or
                             22   until the back wages are paid in full.
                             23         135. Defendant failed to pay Plaintiffs and other aggrieved employees who
                             24   ended their employment with the Defendant all wages, including reporting time
                             25   wages, as required by Labor Code sections 201-203.
                             26         136. Labor Code section 2699(f)(2) provides for civil penalties for violations
                             27   of the Labor Code for which there is no corresponding civil penalty, including Labor
                             28   Code section 203. The civil penalty is $100 for the initial violation and $200 for each
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                             1    subsequent violation for each underpaid employee. Labor Code § 2699(f)(2).
                             2          137. Plaintiffs, as representatives of the general public, will and do seek to
                             3    recover any and all penalties for each and every violation, in an amount according
                             4    to proof, as to those penalties that are otherwise only available in public agency
                             5    enforcement actions. Funds recovered will be distributed in accordance with
                             6    PAGA, with 75% of the penalties recovered being reimbursed to the State of
                             7    California and the Labor and Workforce Development Agency (“LWDA”).
                             8          138. In addition to recovery of civil penalties and distribution to the
                             9    LWDA as required by law, Plaintiffs will seek recovery of reasonable costs and
                             10   attorney’s fees, in an amount according to proof.
                             11                         TWELFTH CAUSE OF ACTION
                                                   Failure to Pay Regular and Minimum Wages
                             12
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                                  [Labor Code § 1194, 1194.2, 1197 and § 4 of IWC Wage Orders 7-2001 and 9-
                             13                                       2001]
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                                  (Plaintiffs and the Unpaid Wages Subclass, Part-Time Drivers Unpaid Wages
                             14
                                      Subclass, and Security Bag Search Subclass Against Each Defendant)
                             15
                             16         139. Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             17         140. Labor Code section 1194 states, “Notwithstanding any agreement to
                             18   work for a lesser wage, any employee receiving less than the legal minimum wage
                             19   or the legal overtime compensation applicable to the employee is entitled to
                             20   recover in a civil action the unpaid balance of the full amount of this minimum
                             21   wage or overtime compensation, including interest thereon, reasonable attorney’s
                             22   fees, and costs of suit.”
                             23         141. Labor Code section 1194.2 states: “In any action under Section 98,
                             24   1193.6, 1194, or 1197.1 to recover wages because of the payment of a wage less
                             25   than the minimum wage fixed by an order of the commission or by statute, an
                             26   employee shall be entitled to recover liquidated damages in an amount equal to the
                             27   wages unlawfully unpaid and interest thereon.”
                             28         142. Labor Code section 1197 states: “The minimum wage for employees
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                             1    fixed by the commission is the minimum wage to be paid to employees, and the
                             2    payment of a less wage than minimum wage so fixed is unlawful.”
                             3          143. Section 4 of the applicable IWC Wage Orders provide that an
                             4    employer may not pay employees less than the applicable minimum wage for all
                             5    hours worked. Plaintiffs and other similarly-situated employees were not exempt
                             6    from section 4 of the applicable IWC Wage Orders.
                             7          144. At all times relevant to this action, Defendants failed to pay Plaintiffs
                             8    and other similarly-situated employees regular and/or minimum wages for all
                             9    hours worked, in violation of Labor Code sections 1194 and 1197, and section 4 of
                             10   the applicable IWC Wage Orders. Defendants’ written policy requires Plaintiffs
                             11   and other similarly-situated employees to report to work 15-minutes prior to shift
                             12   time to pick their daily run. On information and belief, Defendants do not pay any
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                             13   wages for hours worked during the 15-minutes worked prior to the shift start time.
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                             14   As a result, although Plaintiffs and other similarly-situated employees are under
                             15   the control of Defendants and suffered or permitted to work for Defendants,
                             16   whether or not required to work, and are required to report to the work premises
                             17   15-minutes prior to their shift, they are not paid any wages, including regular or
                             18   minimum wages for these hours worked.
                             19         145. Furthermore, Defendants maintain a consistent policy and practice of
                             20   requiring Plaintiffs and all other similarly-situated employees to undergo
                             21   mandatory security searches of all personal packages and bags when exiting the
                             22   employer’s premises and after clocking out at the end of each shift. As a result,
                             23   although Plaintiffs and similarly-situated employees are under the control of
                             24   Defendants and suffered or permitted to work, Defendants fail to pay any wages,
                             25   including regular or minimum wages to Plaintiffs and other similarly-situated
                             26   employees for the compensable time during which Plaintiffs and other similarly-
                             27   situated employees are subject to the control of the employer, including all the time
                             28   the employees are suffered or permitted to work, whether or not required to do so.
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                             1             146. At all relevant times, Defendants fail to pay Plaintiffs and similarly-
                             2    situated employees all wages due, including regular and minimum wages.
                             3    Defendants fail to pay Plaintiffs and other similarly-situated employees regular
                             4    and/or minimum wages for all hours worked, in violation of Labor Code sections
                             5    1194 and 1197, and section 4 of the applicable IWC Wage Orders, as follows:
                             6    Defendants’ written policy directs all part-time drivers to call a designated phone
                             7    number at least once daily to listen to a recording which informs the employees if
                             8    they are scheduled to work the following day and the time the start of the shift
                             9    time. Part-time drivers are required to call in to work on a daily basis, often
                             10   multiple times per day without receiving any compensation for the time spent
                             11   calling into work each day. As a result, although Plaintiffs and similarly-situated
                             12   employees are under the control of Defendants and suffered or permitted to work,
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                             13   Defendants fail to pay any wages, including regular or minimum wages to
   605 C Street, Suite 200
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                             14   Plaintiffs and other similarly-situated employees for the compensable time during
                             15   which part-time drivers are subject to the control of the employer, including all the
                             16   time the employees are suffered or permitted to work, whether or not required to
                             17   do so.
                             18            147. Defendants’ unlawful acts deprived Plaintiffs and members of the
                             19   Unpaid Wages Subclass, Part-Time Driver Subclass, and Security Bag Search
                             20   Subclass of regular or minimum wages in amounts to be determined at trial, and
                             21   they are entitled to recover these amounts, along with liquidated damages for
                             22   unpaid regular or minimum wages, interest, attorneys’ fees, and costs.
                             23            148. Plaintiffs and members of the Unpaid Wages Subclass, Part-Time
                             24   Driver Subclass, and Security Bag Search Subclass suffered losses including, but
                             25   not limited to, costs incurred during layovers. Plaintiffs and members of the
                             26   Unpaid Wages Subclass incurred these costs in direct consequence of the discharge
                             27   of their duties.
                             28            149. As a direct result of Defendants’ violations alleged herein, Plaintiffs
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                             1    and members of the Unpaid Wages Subclass, Part-Time Driver Subclass, and
                             2    Security Bag Search Subclass have suffered, and continue to suffer, substantial
                             3    losses related to failure to be indemnified for the expenses and losses, including the
                             4    use and enjoyment of such monies, lost interest on such monies and expenses and
                             5    attorney’s fees and costs in seeking to compel Defendants to fully perform their
                             6    obligations under state law, all to their respective damage in amounts according to
                             7    proof at trial and within the jurisdictional limitations of this Court.
                             8          150. Plaintiffs seek to recover in a civil action the unpaid balance of the
                             9    full amount of the unpaid wages resulting from Defendants’ minimum wage
                             10   violations including interest thereon, reasonable attorney’s fees and costs of suit,
                             11   penalties, and liquidated damages to the fullest extent permissible including those
                             12   permitted pursuant to Labor Code sections 218.6, 1194, 1194.2, 1197 and 1197.1,
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                             13   and Code of Civil Procedure section 1021.5.
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                             14         151. Plaintiffs, on behalf of themselves and the members of the Unpaid
                             15   Wages Subclass, Part-Time Driver Subclass, and Security Bag Search Subclass
                             16   request relief as described below.
                             17
                                                      THIRTEENTH CAUSE OF ACTION
                             18
                                  CIVIL PENALTIES PURSUANT TO THE PAGA FOR FAILURE TO PAY
                             19                      REGULAR AND MINIMUM WAGES
                                    (Plaintiffs and All Other Aggrieved Employees Against Each Defendant)
                             20
                             21         152. Plaintiffs incorporate all preceding paragraphs of this Complaint.
                             22         153. Labor Code section 1194(a) states: “Notwithstanding any agreement
                             23   to work for a lesser wage, any employee receiving less than the legal minimum
                             24   wage or the legal overtime compensation applicable to the employee is entitled to
                             25   recover in a civil action the unpaid balance of the full amount of this minimum
                             26   wage or overtime compensation, including interest thereon, reasonable attorney’s
                             27   fees, and costs of suit.”
                             28         154. Labor Code section 1194.2 states: “In any action under Section 98,
                                                                           - 35 -
                                                  Fourth Amended Class and Representative Action Complaint
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                             1    1193.6, 1194, or 1197.1 to recover wages because of the payment of a wage less
                             2    than the minimum wage fixed by an order of the commission or by statute, an
                             3    employee shall be entitled to recover liquidated damages in an amount equal to the
                             4    wages unlawfully unpaid and interest thereon.”
                             5          155. Labor Code section 1197 states: “The minimum wage for employees
                             6    fixed by the commission is the minimum wage to be paid to employees, and the
                             7    payment of a less wage than minimum wage so fixed is unlawful.”
                             8          156. Labor Code section 1198 states: “The maximum hours of work and
                             9    the standard conditions of labor fixed by the commission shall be the maximum
                             10   hours of work and the standard conditions of labor for employees. The
                             11   employment of any employee for longer hours than those fixed by the order or
                             12   under conditions of labor prohibited by the order is unlawful.”
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                             13         157. Pursuant to the “Minimum Wages” and “Hours & Days of Work”
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    San Diego, CA 92101




                             14   Sections of the applicable Wage Orders, an employer may not pay employees less
                             15   than the applicable minimum wage for all hours worked and provides that an
                             16   employer may not pay non-exempt employees less than the applicable overtime
                             17   rate for all overtime hours worked.
                             18         158. At all times relevant to this action, Defendants failed to pay Plaintiffs
                             19   and other similarly-situated employees regular and/or minimum wages for all
                             20   hours worked, in violation of Labor Code sections 1194 and 1197, and section 4 of
                             21   the applicable IWC Wage Orders. Defendants’ written policy requires Plaintiffs
                             22   and other similarly-situated employees to report to work 15-minutes prior to shift
                             23   time to pick their daily run. On information and belief, Defendants do not pay any
                             24   wages for hours worked during the 15-minutes worked prior to the shift start time.
                             25   As a result, although Plaintiffs and other similarly-situated employees are under
                             26   the control of Defendants and suffered or permitted to work for Defendants,
                             27   whether or not required to work, and are required to report to the work premises
                             28   15-minutes prior to their shift, they are not paid any wages, including regular or
                                                                          - 36 -
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                             1    minimum wages for these hours worked.
                             2          159. Furthermore, Defendants maintain a consistent policy and practice of
                             3    requiring Plaintiffs and all other similarly-situated employees to undergo
                             4    mandatory security searches of all personal packages and bags after clocking out at
                             5    the end of each shift. As a result, although Plaintiffs and similarly-situated
                             6    employees are under the control of Defendants and suffered or permitted to work,
                             7    Defendants fail to pay any wages, including regular or minimum wages to
                             8    Plaintiffs and other similarly-situated employees for the compensable time during
                             9    which Plaintiffs and other similarly-situated employees are subject to the control of
                             10   the employer, including all the time the employees are suffered or permitted to
                             11   work, whether or not required to do so. Labor Code section 2699(f)(2) provides for
                             12   civil penalties for violations of the Labor Code for which there is no corresponding
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                             13   civil penalty. The civil penalty is $100 for the initial violation and $200 for each
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                             14   subsequent violation for each employee. Labor Code § 2699(f)(2).
                             15         160. At all relevant times, Defendants fail to pay Plaintiffs and similarly-
                             16   situated employees all wages due, including regular and minimum wages.
                             17   Defendants fail to pay Plaintiffs and other similarly-situated employees regular
                             18   and/or minimum wages for all hours worked, in violation of Labor Code sections
                             19   1194 and 1197, and section 4 of the applicable IWC Wage Orders, as follows:
                             20   Defendants’ written policy directs all part-time drivers to call a designated phone
                             21   number at least once daily to listen to a recording which informs the employees if
                             22   they are scheduled to work the following day and the time the start of the shift
                             23   time. Part-time drivers are required to call in to work on a daily basis, often
                             24   multiple times per day without receiving any compensation for the time spent
                             25   calling into work each day. As a result, although Plaintiffs and similarly-situated
                             26   employees are under the control of Defendants and suffered or permitted to work,
                             27   Defendants fail to pay any wages, including regular or minimum wages to
                             28   Plaintiffs and other similarly-situated employees for the compensable time during
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                             1    which part-time drivers are subject to the control of the employer, including all the
                             2    time the employees are suffered or permitted to work, whether or not required to
                             3    do so.
                             4             161. Plaintiffs, as representatives of the general public, will and do seek to
                             5    recover any and all penalties for each and every violation, in an amount according
                             6    to proof, as to those penalties that are otherwise only available in public agency
                             7    enforcement actions. Funds recovered will be distributed in accordance with
                             8    PAGA, with 75% of the penalties recovered being reimbursed to the State of
                             9    California and the Labor and Workforce Development Agency (“LWDA”).
                             10            162. In addition to recovery of civil penalties and distribution to the
                             11   LWDA as required by law, Plaintiffs will seek recovery of reasonable costs and
                             12   attorney’s fees, in an amount according to proof.
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                             13                                              VII.
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    San Diego, CA 92101




                             14                                   PRAYER FOR RELIEF
                             15            Plaintiffs pray for judgment as follows:
                             16            1.    That the Court determine this action may be maintained as a class
                             17   action and Plaintiffs as Class Representatives and Plaintiffs’ counsel as Class
                             18   Counsel;
                             19            2.    For injunctive relief as provided by the Labor Code to the extent
                             20   permitted by law including, but not limited to, pursuant to Section 226(h), and
                             21   Business and Professions Code sections 17200, et seq.;
                             22            3.    For restitution as provided by Business and Professions Code
                             23   sections 17200, et seq.;
                             24            4.    For an order requiring Defendants to restore all funds to each affected
                             25   person acquired by means of any act or practice declared by this Court to be
                             26   unlawful, unfair or fraudulent and, therefore, constituting unfair competition
                             27   under Business and Professions Code sections 17200, et seq.;
                             28            5.    For an award of unpaid wages, including regular wages, minimum,
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                             1    and overtime wages to the extent permissible by law to each affected person;
                             2          6.    For penalties to the extent permitted pursuant to the Labor Code, and
                             3    Orders of the Industrial Welfare Commission including, but not limited to,
                             4    penalties under Labor Code section 226(e);
                             5          7.    For an award of penalties incurred under Section 226(e) per
                             6    underpaid employee pursuant to Labor Code section 226(e);
                             7          8.    For the remedies provided by Labor Code section 233 including
                             8    reasonable attorneys’ fees;
                             9          9.    For an award of liquidated damages to the extent permissible by
                             10   Labor Code section 1194.2;
                             11         10.   For pre- and post-judgment interest to the extent permitted by law
                             12   including, but not limited to, Labor Code sections 218.6 and 1194;
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                             13         11.   For reimbursement of all necessary expenses incurred in direct
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                             14   consequence of the discharge of duties;
                             15         12.   For an award of actual damages, compensatory damages, statutory
                             16   damages and penalties, for acts constituting an invasion of privacy, in an amount
                             17   to be determined;
                             18         13.   For an award of punitive damages;
                             19         14.   For damages pursuant to Civil Code section 1708.8, et seq.;
                             20         15.   For paid sick pay leave provided by local ordinances;
                             21         16.   For recovery of civil penalties incurred under Labor Code sections
                             22   558(a) and 1197.1 for each underpaid employee per pay period for which the
                             23   employee was underpaid;
                             24        17.    For recovery of civil penalties under Labor Code section 2699 for
                             25   failure to reimbursement of all necessary expenses pursuant to Labor Code section
                             26   2802, according to proof;
                             27        18.    For recovery of civil penalties under Labor Code sections 226.3,
                             28   1174.5, and 2699 for failing to provide accurate itemized wage statements
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                             1    pursuant to Labor Code section 226, according to proof;
                             2          19.      For recovery of civil penalties under Labor Code sections 256, and
                             3    2699(f)(2) for failing to timely pay all final wages due pursuant to Labor Code
                             4    section 201;
                             5          20.      For recovery of civil penalties under Labor Code section 2699(f)(2)
                             6    for failing to pay statutory waiting time penalties due pursuant to Labor Code
                             7    section 203;
                             8          21.      For recovery of civil penalties under Labor Code section 2699(f)(2)
                             9    for failure to pay reporting time pay due pursuant to Labor Code section 1199;
                             10         22.      For reasonable attorneys’ fees and cost of suit and, to the extent
                             11   permitted by law, including pursuant to Labor Code sections 218.5, 226, 226(h),
                             12   1194, the PAGA, and Code of Civil Procedure section 1021.5;
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                             13         23.      Determine the appropriate remedy to compensate Plaintiffs, Class,
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    San Diego, CA 92101




                             14   and Subclass members, as required to promote fairness and justice, including but
                             15   not limited to establishing procedures for compensation, and fluid recovery if
                             16   appropriate;
                             17         24.      Prejudgment Interest; and
                             18         25.      Any other relief as this Court deems proper.
                             19   Dated: April 13, 2020                    COHELAN KHOURY & SINGER
                                                                           THE CARTER LAW FIRM
                             20
                                                                           THE PHELPS LAW GROUP
                             21
                                                                           By: s/ Marta Manus
                             22
                                                                                  Michael D. Singer, Esq.
                             23                                                   Marta Manus, Esq.
                                                                           Attorneys for Plaintiffs MICHAEL
                             24
                                                                           RAZIANO, BRIAN TRAISTER, and
                             25                                            CHRIS VALDEZ, on behalf of themselves
                                                                           and all others similarly situated
                             26
                             27   ///
                             28   ///
                                                                            - 40 -
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                             1                             DEMAND FOR JURY TRIAL
                             2          Plaintiffs demand a jury trial of all claims triable as of right by jury.
                             3    Dated: April 13, 2020                   COHELAN KHOURY & SINGER
                                                                          THE CARTER LAW FIRM
                             4
                                                                          THE PHELPS LAW GROUP
                             5
                                                                          By: s/ Marta Manus
                             6
                                                                                 Michael D. Singer, Esq.
                             7                                                   Marta Manus, Esq.
                                                                          Attorneys for Plaintiffs MICHAEL
                             8
                                                                          RAZIANO, BRIAN TRAISTER, and
                             9                                            CHRIS VALDEZ, on behalf of themselves
                                                                          and all others similarly situated
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                     EXHIBIT 1
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                                               COHELAN I<HOURY & SINGER
                                                   A PARTNERSHIP OF PROFESSIONAL LAW CORPORATIONS


TIMOTHY D. COHELAN, APLC'                                    ATTORNEYS AT LAW                         JEFF GERACI•
ISAM C. KHOURY, APC                                                                                   J. JASON HILLj
DIANA M. KHOURY, APC                                    605 "C" STREET, SUITE 200                     MARTA MANUS
MICHAEL D. SINGER, APLC •                                                                             KRISTINA DE LA ROSA
                                                    SAN DIEGO, CALIFORNIA 92101-5305
(*Also admitted in the District of Columbia)             Telephone: (619) 595-3001                    (t Also 11dmitted in Illinois)
(•Also admitted in Colorado)                              Facsimile: (619) 595-3000                   (LI. OfCounsel)

                                                                 www.ckslaw.com

                                                              March 20, 2019

                                       NOTICE OF LABOR CODE VIOLATIONS PURSUANT TO
                                                 LABOR CODE SECTION 2699.3

            NOTICE VIA ONLINE SUBMISSION (https://dir.tfaforms.net/198)

            California Labor and Workforce Development Agency

            VIA CERTIFIED U.S. MAIL WITH RETURN RECEIPT
            Albertson's LLC                                               Albertson's LLC
            250 E Parkcenter Blvd                                         c/o CT Corporation System
            Boise, Idaho 83706                                            818 West Seventh Street, Suite 930
                                                                          Los Angeles, California 90017

            Re:         Notice pursuant to California Labor Code sections 2698, et seq,, the Private
                        Attorneys General Act ("PAGA"), sent by Chris Valdez, Michael Raziano and
                        Brian Traister on behalf of themselves and all other aggrieved employees of
                        Albertson's LLC in the State of California, as an individual and as proposed a
                        Representative of the State of California

            Dear PAGA Administrator:

                    Pursuant to the Labor Code Private Attorneys General Act of 2004 ("PAGA"), Cal. Lab.
            Code sections 2698, et seq. ("PAGA"), Chris Valdez, Michael Raziano and Brian Traister
            ("Claimants") intend to bring an action against Albertson's LLC ("Defendant" or "Albe1tson' s"),
            individually and on behalf of all other aggrieved employees for alleged violations of Labor Code
            sections 201,202,203,204,223,226,233,256,558, 1197.1, 1194, 1198, m1d 2802. This letter
            serves as Claimants' written notice pursuant to Labor Code section 2699.3(a)(A)(l) providing
            the Labor and Workforce Development Agency (hereafter "LWDA") the opportunity to
            investigate the alleged claims contained herein.

                    If the LWDA does not intend to investigate the allege violations, Claimants intend to file
            a representative civil action for PAGA penalties on behalf of themselves and all other aggrieved
            employees of the Defendant, and shall seek penalties under the PAGA on behalf of themselves
            and all other aggrieved employees in the State of California. A copy of this notice, along with a
            comtesy copy of their Class Action Draft Complaint, is being sent to Defendant by certified mail
            at the addresses above.
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                                      FACTUAL STATEMENT

          Claimants are employed by Albertson's as h·ansp011ation drivers, classified as non-
    exempt employees m1d paid on an hourly basis. Claimants allege that during their employment
    Defendant has failed to comply with the California Labor Code md section 5 of the applicable
    IWC Wage Order 7-2001 and/or Wage Order 9-2001, as detailed below.

           For reasons set fo11h herein, Claimants allege the following violations of the California
    Labor Code and the applicable IWC Wage Order on behalf of themselves and all other aggrieved
    employees of Defendant. Claimm1ts allege that Defendm1t:

            1.     Failed to pay Claimants and other aggrieved employees all wages due, including
    reporting time pay;

           4.     Denied Claimm1ts the right to use sick leave without the threat of discharge,
    demotion, suspension, or other manner of discrimination;

           5.      Failed to reimburse Claimants and other aggrieved employees for all reasonable
    m1d necessarily incurred business-related expenses;

           6.     Failed to provide accurate itemized wage statements; m1d

           7.     Failed to timely pay all wages upon separation of employment.

           Accordingly, Claimants now seeks civil penalties on behalf of themselves and other
    aggrieved employees based on the Defendant's alleged violations of the California Labor Code
    and applicable IWC Wage Order. Claimm1ts' claims are set forth in further detail below.

                          FAILURE TO PAY REPORTING TIME PAY
    (Violation of Labor Code§§ 558, 1194, 1198, 2698 and the "Reporting Time Pay" Section of the
                                      applicable IWC Wage)

          Section 5(A) of the applicable IWC Wage Order states, "Each workday an employee is
   required to report to work and does report, but is not put to work or is furnished less thm1 half
   said employee's usual or scheduled day's work, the employee shall be paid for half the usual or
   scheduled day's work, but in no event for less than two (2) hours nor more than four (4) hours, at
   the employee's regular rate of pay, which shall not be less than the minimum wage.

           Claimm1t Valdez alleges that Albertson's scheduled its part-time non-exempt employees
   for "call-in" shifts, requiring employees such as Claimant Valdez to call into work each day daily
   to determine if they were schedule to work the following day. Clain1ant Valdez and other
   aggrieved employees were subject to discipline if they failed to call in each evening. Claimant
   Valdez alleges that this policy results in violations of the Labor Code because Claimant Valdez's
   and other employees' time is/was unduly restricted by the requirement to call into work daily at
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    Albe1ison's LLC
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    10:30 p.m., but other aggrieved employees were not paid rep01iing time pay. These on-call shifts
    burden employees by limiting their ability to engage in other activities but 11onetheless receiving
    no compensation from Albe1ison's unless they are ultimately put on the schedule to work.
    Employees such as Claimant Valdez and other part-time non-exempt employees were not paid
    any wages, including regular and/or minimum wages for reporting time pay, as required under
    California law. Claimant Valdez intends to pursue remedies pursuant to the PAGA for the
    alleged violation on behalf of himself and all other aggrieved employees in the state of
    California.

      DENIAL OF RIGHT TO USE SICK LEAVE WITHOUT THREAT OF DISCIPLINE
                             AND/OR DISCHARGE
                               (Labor Code§§ 233)

            Labor Code section 233(c) states, "An employer shall not deny an employee the right to
    use sick leave or discharge, threaten to discharge, demote, suspend, or in any manner
    discriminate against an employee for using, or attempting to exercise the right to use, sick leave
    to attend to an illness or the preventive care of a family member, or for any other reason
    specified in subdivision (a) of Section 246.5." Per subdivision (d), "Any employee aggrieved by
    a violation of this section shall be entitled to reinstatement and actual daniages or one day's pay,
    whichever is greater, and to appropriate equitable relief."

             Defendant failed to comply with Labor Code 233 by implementing a policy and
    procedure whereby Claimants and other aggrieved employees were discipline for using accrued
    sick days. Employees such as Claimants are intimidated, disciplined and/or fact continuing threat
    of discipline for exercising their right to take accrued sick days. Albertson's issues (and/or
    threatens to issue) "occurrences" to any driver who is too sick to operate a commercial vehicle,
    or is too fatigued to continue his/her shift and uses their sick leave to take time off from work.

           Accordingly, Claimants will pursue all remedies, including recovery of wages, interest,
    attorneys' fees and costs, penalties and those provided by tlie PAGA, to the extent allowed by
    Jaw, on behalf of tliemselves and other aggrieved employees of Defendant.

                FAILURE TO REIMBURSE BUSINESS-RELATED EXPENSES
              (Labor Code § 2802, and the "Tools and Equipment" section of the applicable IWC
                                            Wage Order)

          Labor Code section 2802(a) provides that "[a]n employer shall indemnify his or her
   employee for all necessary expenditures or losses incurred by the employee in direct
   consequence of the discharge of his or her duties, or of his or her obedience to tlie directions of
   tlie employer, even though unlawful, unless the employee, at the time of obeying the directions,
   believed them to be unlawful."

           Labor Code section 2802(c) states that "[f]or purposes of [2802], the term "necessary
   expenditures or losses" shall include all reasonable costs, including, but not limited to attorney's
   fees incurred by the employee enforcing the rights granted by [2802]."
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           Section 9(b) of the applicable IWC Wage Order states in pe1tinent pait: "When tools or
    equipment are required by the employer or are necessary to the performance of a job, such tools
    and equipment shall be provided and maintained by the employer."

            Labor Code section 2802 prohibits employers, such as Defendant, from shifting their cost
    of doing business onto the employee. California Labor Code section 2802 states that employers
    must "indemnify" an employee for "all necessary expenditures or losses incurred by the
    employee in direct consequence of the discharge of his or her duties, or of his or her obedience to
    the directions of the employer." This means that if the expense in question is "necessary" for
    performance of the job, the employer must rein1burse the employee 100% of the cost. An
    expense is considered "necessary" ifit directly results from the employee's performance of his or
    her work duties. An expense is also "necessary" if it occurs because the employee is following
    the directions given by the employer.

            Defendant failed to comply with Labor Code section 2802 a11d the applicable IWC Wage
    Order by failing to reimburse Claimants and other aggrieved employees for necessary business-
    related expenses incurred in direct consequence of the discharge of their duties. Specifically,
    Defendant failed to reimburse Claimants and all other aggrieved employees for all business
    expenses including for layovers by limiting the reimbursement to $80 for every twenty-four (24)
    hour period of time regardless of the fact the business expenses incurred on layovers were
    typically over $80 per 24-hour period. Furthermore, Defendant failed to reimburse Claimant and
    other aggrieved employees for traffic and speeding tickets incurred while on-duty and
    performing work for Defendai1t. Therefore, Claimants intend to pursue remedies pursua11t to the
    PAGA for the alleged violation on behalf of themselves ai1d all other aggrieved employees in the
    state of California.

               FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
             (Labor Code§§ 226(a), 226.3, 1198, 2699, and the "Records" Section of the applicable
                                         IWC Wage Order)

            Labor Code section 226(a) states in pertinent pmt that every employer shall provide an
    accurate itemized statement in writing with respect to each one of its employees showing: 1)
    gross wages earned; 2) total hours worked by an employee, except for a11y employee whose
    compensation is solely based on a salary and who is exempt from payment of overtinle under
    subdivision (a) of Section 515 or a11y applicable order of the Industrial Welfare Commission; (3)
    the number of piece rate units earned and any applicable piece rate if the employee is paid on a
    piece-rate basis; (4) all deductions, provided that all deductions made on written orders of the
    employee may be aggregated and shown as one item; (5) net wages earned; (6) the inclusive
    dates of the period for which the employee is paid; (7) the nmne of the employee and the last
    four digits of his or him social security number or m1 employee identification number other than
    a social security number; (8) the name and address of the legal entity that is the employer ... ; and
    (9) all applicable hourly rates in effect during the pay period and the corresponding number of
    hours worked at each hourly rate by the employee.
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            Furthermore, Labor Code section 226(e)(2)(A) states: "An employee is deemed to suffer
    injury for purposes of this subdivision if the Employer fails to provide a wage statement."

            Labor Code section 226.3 imposes an additional civil penalty on the Employers of
    $250.00 per employee per violation of Labor Code section 226(a) in an initial citation and
    $1,000.00 per employee for each violation in a subsequent citation. In addition, Labor Code
    section 226(e) imposes a penalty of the greater of all actual damages or $50 for the initial pay
    period in which a violation occurs and $100 per employee for each violation in a subsequent pay
    period, not exceeding an aggregate penalty of $4,000, and Claimants are entitled to an award of
    costs and reasonable attorney's fees.

            Defendant failed to provide Claimants with itemized wage statements complying with the
    requirements of the Labor Code and applicable IWC Wage Order. Claimants did not receive
    wage statements which included accrued sick pay, all wages due for reporting time pay, and all
    deductions and all rates paid. Claimants will pursue all remedies, including recovery of wages,
    interest, attorneys' fees and costs, penalties and those provided by the PAGA, to the extent
    allowed by law, on behalf of themselves and other aggrieved employees of Defendant.

                        FAILURE TO TIMELY PAY WAGES DUE DURING
                         AND UPON TERMINATION OF EMPLOYMENT
                        (Labor Code§§ 201,202,203,204,256, 1198, and 2699)

            Labor Code section 204(a) states, in pertinent part, "All wages ... earned by any person
    in any employment are due and payable twice during each calendar month, on days designated in
    advance by the Employer as the regular paydays." The "Minimum Wages" Section of the
    applicable Wage Order further states "every Employer shall pay to each employee, on the
    established payday for the period involved, not less than the applicable minimum wage for all
    hours worked in the payroll period."

            Labor Code section 20 I states: "If an Employer discharges an employee, the wages
    earned and unpaid at the time of discharge are due and payable immediately." Labor Code
    section 202 states "If an employee not having a written contract for a definite period quits his or
    her employment, his or her wages shall become due and payable not later than 72 hours
    thereafter, unless the employee has given 72 hours previous notice of his or her intention to quit,
    in which case the employee is entitled to his or her wages at tl1e time of quitting."

            Labor Code section 203(a) states, in relevant part: "If an Employer willfully fails to pay,
    without abatement or reduction, in accordance with Sections 201, 201.3, 201.5, 202, and 205.5,
    any wages of an employee who is discharged or who quits, the wages of the employee shall
    continue as a penalty from the due date thereof at the same rate until paid or until an action
    therefor is commenced; but the wages shall not continue for more than 30 days. An employee
    who secretes or absents himself or herself to avoid payment to his or her, or who refuses to
    receive the payment when fully tendered to his or her, including any penalty then accrued under
    this section, is not entitled to any benefit under this section for the time during which he or she so
    avoids payment."
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          Labor Code section 256 states: "The Labor Commissioner shall impose a civil penalty in
    an amount not exceeding 30 day's pay as waiting time under the terms of Section 203 ."

            Defendant failed to timely pay Claimants and other aggrieved employees all wages due
    and owing during m1d upon termination of employment. Defendant willfully failed to pay all
    wages when required by Sections 201 and 202 of the Labor Code. Therefore, Defendant owes
    penalties to all affected employees, including Claimants. Claimants will pUl'sue all remedies for
    Employers' failure to pay timely wages on behalf of themselves other aggrieved employees,
    including recovery of wages, waiting time penalties, attorney's fees, costs, and penalties to the
    extent allowed by law.

                           CIVIL PENALTIES FOR VIOLATION OF
                         THE LABOR CODE AND IWC WAGE ORDERS
                              (Labor Code§§ 558,558.1, and 1197.1)

           Labor Code section 558 subjects any Employer or other person acting on behalf of an
    Employer who violates, or causes to be violated, a section of Pmt 2, Chapter 1, of the Labor
    Code or any provision regulating hours and days of work in any IWC Wage Order to a civil
    penalty in the mnount of $50 for any initial violation for each pay period in which an employee is
    underpaid in addition to an amount sufficient to recover underpaid wages, m1d $100 for each
    subsequent violation in addition to an mnount sufficient to recover underpaid wages, which shall
    be paid to each affected employee.

           Labor Code section 558.l(a) states: "Any Employer or other person acting on behalf of
    an employer, who violates, or causes to be violated, any provision regulating minimum wages or
    hours and days of work in any order of the Industrial Welfare Connnission, or violates, or causes
    to be violated, Sections 203, 226, 226.7, 1193.6, 1194, or 2802, may be held liable as the
    Employer for such violation."

            Labor Code section 1197.1 states that any Employer or other person acting either
    individually or as an officer, agent or employee of another person, which pays or causes to be
    paid to any employee a wage less than the minimum fixed by an order of the commission shall
    be subject to a civil penalty and restitution of wages payable to the employee in an mnount of
    $100 for the initial violation for each pay period in which an employee underpaid in addition to
    an mnount sufficient to recover underpaid wages, m1d $250 for each subsequent violation in
    addition to an amount sufficient to recover underpaid wages, which shall be paid to each affected
    employee.

            As set forth above, Defendant underpaid Claimants and other aggtieved employees. As a
   result, the Defendant is liable for civil penalties under Labor Code section 558. Clainiants will
   pursue all remedies on behalf of themselves and other CUl'rent and former employees, including
   recovery of attorney's fees, costs, damages and penalties to the extent allowed by law.
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                                   DUTIES OF EMPLOYER
        (Labor Code§§ 1174, 1174.5, 1175, 2810.5, and 1198, and the Applicable Wage Order)

             Labor Code section 1174 describes certain duties of every Employer in this state.
    Subsection (d) of this labor code section requires that payroll records show the hours worked
    daily by employees m1d the corresponding wages to be paid for the hours worked. Employers
    violated this requirement by their failure to accurately record employee hours worked and/or
    paid including wages owed for repo1iing time pay. Labor Code section 1174.5 imposes a civil
    penalty of $500 for an Employer's failure to maintain accurate and complete records. This civil
    penalty is addition to the civil penalty of $100 per pay period, per aggrieved employee that
    would be imposed pursuant to Labor Code section 2699 for a violation of Labor Code section
    l l 74(d). Furthermore, Claimants and all other aggrieved current and former employees are
    entitled to collect 25% of the penalty imposed pursuant to Section 2699.

           Labor Code section 2810.5 further requires an Employer to provide to each employee a
   written notice containing ce1iain information, including rates of pay, meal or lodging allowances,
   designated payday, name of employer, physical address of the employer's main office or
   principal place of business, contact infonnation of the employer, and worker's compensation
   carrier contact information. Employers entirely failed to comply with this requirement.

           Claimants will pursue all remedies on behalf of themselves and other cmTent m1d former
    employees, including recovery of attorney's fees, costs, damages and penalties to the extent
    allowed by law.

                                           CONCLUSION

           Claimants request the Labor and Workforce Development Agency ("L WDA") initiate
   enforcement for the violations described above. If the LWDA does not pursue enforcement,
   Claimants will pursue claims for statutory penalties and will seek all remedies available for
   violations of the Labor Code and the applicable Industrial Welfare Commission Wage Orders,
   including all available penalties set forth in Labor Code section 2699(£).

                                                       Respectfully submitted,
                                                       COHELAN KHOURY & SINGER




   cc: (via email only)
   Roger Carter, Esq. (roger@carterlawfirm.net)
   Marc H. Phelps, Esq. (Marc@phelpslawgroup.com)
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                  1   COHELAN KHOURY & SINGER
                      Michael D. Singer (SBN 115301)
                  2   msinger@ckslaw.com
                      Marta Manus (SBN 260132)
                  3
                      mmanus@ckslaw.com
                  4   605 C Street, Suite 200
                      San Diego, CA 92101
                  5   Telephone: (619) 595-3001/Facsimile: (619) 595-3000

                  6   THE CARTER LAW FIRM
                      Roger Carter (SBN 140196)
                  7   ro ger@carterlawfirm.net
                      23 Corporate Plaza Drive, Suite 150
                  8   Newport Beach, CA 92660
                  9   Telephone: (949) 254-7500/Facsimile: (949) 629-250:tt

                 10   THE PHELPS LAW GROUP
                      Marc H. Phelps (SBN 237036)
                 11   Marc@phelpslawgroup.com
                      23 Corporate Plaza Drive, Suite 150
                 12   Newport Beach, CA 92660           t
~
:?;io_           13   Telephone: (949) 629-2533/Facsim:tle: (949) 629-2501
v.iOo
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oc:bl<t!              Attorneys for Plaintiffs MICHAEL RAZIANO, BRJAN TRAISTER, and CHRIS VALDEZ, on
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                      behalf of themselves and all others similarly situated
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E§     so        16                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
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                 17                                    COUNTY OF LOS ANGELES

                 18   MICHAEL RAZIANO, BRIAN                ) CLASS ACTION
                      TRAISTER, and CHRIS VALDEZ,,on        ) CLASS ACTION COMPLAINT
                 19                                         ~ 1. Failure to Pay Reporting Time Wages
                      b_ehalf of themselves and all others similarly
                 20   situated,                             )    (Labor Code§ 204; IWC Wage Orders 7-
                                                            )    2001 and 9-2001, § 5);
                                     Plaintiff,
                 21                                         ~ 2. Failure to Reimburse Business Expenses
                                                            )    (Lab. Code§ 2802 and IWC Wage Orders
                 22
                                                            )    7-2001 and 9-2001, § 9);
                              v.
                 23                                         ) 3. Denial of Right to Use Sick Leave Without
                      ALBERTSON'S LLC a Delaware Limited)        Threat of Discipline and/or Discharge (Lab.
                 24                    '      '
                      Liability Company; and DOES 1 through )
                                                            )    Code § 233);
                 25   50, Inclusive,                        ) 4. Failure to Provide Accurate Itemized Wage
                                                            )    Statements (Lab. Code§§ 226(a) and 1198,
                 26                  Defendants.            )    and IWC Wage Orders 7-2001 and 9-2001,
                                                            )    § 7);
                 27
                                                                       ~   5. Failure to Timely Pay Wages Due During
                 28                                                    )      Employment (Lab. Code§§ 204(a) and
                                                                       )      1198, and IWC Wage Orders 7-2001 and 9-


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                 1                   )    2001, § 4);
                                     ) 6. Failure to Timely Pay Wages Due Upon
                 2                                     j
                                          Separation of Employment (Lab. Code§§
                 3                   )    201,202, and 203);
                                     ) 7. Violation of the Unfair Competition Law
                 4                   )    (Bus. & Prof. Code §§ 17200-17208);
                 5
                                                       j
                                       8. Invasion of Privacy - Intmsion; Cal. Const.
                                     )    Article 1, Section 1);
                 6                   ) 9. Failure to Provide Paid Sick Leave in
                                     )    Compliance with San Diego Paid Sick
                 7                                     j
                                          Leave Ordinance and Los Angeles Paid Sick
                 8                        Leave Ordinance.
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                   1             Plaintiffs MICHAEL RAZIANO, BRIAN TRAISTER, and CHRIS                        VALDEZ

                   2   (collectively, "Plaintiffs"), on behalf of themselves and all others similarly situated, complain

                   3   and allege as follows:

                   4                                                      I.
                   5                                            INTRODUCTION

                   6             1.   Plaintiffs bring this action as a Class Action pursuant to California Code of Civil

                   7   Procedure section 382 on behalf of themselves and other current and former non-exempt

                   8   transportation drivers of ALBERTSON'S, LLC and DOES 1 through 50, inclusive (collectively

                   9   "Defendants"). Plaintiffs bring this action for: unpaia compensation, including reporting time

                  10   pay; reimbursement of reasonably incurred business expenses; sick pay claims (including denial
                                                                      (
                  11   of the right to use sick pay and violation oflocal ordinances); payment of wages due during and

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                  12   upon tem1ination of employment; invasion of privacy; and .statutory and civil penalties, interest
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                  13   and attorneys' fees and costs. In addition, Plaintiffs bring this action for unfair competition
"<J    N -
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:~,. '"Jl °'< 14       under Business and Professions Code sections 17200, et seq.
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                  16                                    JURISDICTION AND VENUE
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u
                  17             2.   Venue as to each Defendant is proper in this judicial district, pursuant to Code of

                  18   Civil :procedure, section 395. Defendants conduct business in Los Angeles County, California
                             '
                  19   and each Defendant is within the jurisdiction of this Court for service of process purposes. The

                  20   tmlawful acts alleged have a direct effect on Plaintiffs and those similarly situated within the

                  21   State of California and Los Angeles County. Defendants employ numerous Class Members in

                  22   Los Angeles County. There is no federal question at issue, as the issues are based solely on

                  23   California statutes and law, including the Labor Code, IWC Wage Orders, Code of Civil

                  24   Procedure, Civil Code, and Business and Professions Code.

                  25             3.   Business and Professions Code, section 17203 provides that any person who

                  26   engages in unfair competition may be enjoined in any court of competent jurisdiction. Business

                  27   and Professions Code, section 17204 provides that any person, acting on his own behalf, may

                  28   bring an action in a court of competent jurisdiction.

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  1                                                    III.

  2                                               THE PARTIES

  3   A.        Plaintiffs

  4             4.     Plaintiff MICHAEL RAZIANO is a resident of the State of California employed

  5   by Defendants in Los Angeles County as a non-exempt transportation driver.

  6             5.     Plaintiff BRIAN TRAISTER is a resident of the State of California employed by

  7   Defendants in Los Angeles County as a non-exempt transportation driver.

  8             6.     Plaintiff CHRIS VALDEZ is a resident of the State of California employed by
                                                              f

  9   Defendants in Los Angeles County as a non-exempt transportation driver.

 10   B.        Defendants

 11             7.     Defendant ALBERTSON'S, LLC is a Delaware Limited Liability Company

      engaged in business throughout California and in Los Angeles County. During the Class Period,
                                           {
      Defendant employed Plaintiffs and others as non-exempt transportation drivers within

      California and Los Angeles County.

                8.   The true names and capacities, whether individual, corporate, associate, or
                         (
      otherwise, of Defendants sued herein as DOES 1 through 50, inclusive, are cmTently unknown

      to Plaintiffs~ who therefore sue Defendants by such fictitious names under Code of Civil

 18   Procedure section 474. Plaintiffs are informed and believe, and based on that allege, each of the

 19         '
      Defendants designated as a DOE is legally responsible in some manner for the unlawful acts

 20   alleged. Plaintiffs will seek leave of court to amend this Complaint to reflect the tme names and

 21   capacities of the Defendants designated as DOES when those identities become known.

 22             9.     Plaintiffs are informed, believe, and allege each Defendant acted in all respects

 23   pertinent to this action as the agent of the other Defendants, carried out a joint scheme, business

 24   plan or policy in all pertinent respects, and the acts of each Defendant are legally attributable to

 25   the other Defendants.

 26                                                     IV.

 27                                     GENERAL ALLEGATIONS

 28             10,    During all, or portions, of the Class Period, Plaintiffs and each member of the

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   1   Plaintiff Class were employed by Defendants in the State of California.

   2          11.     At all relevant times, Defendants had a consistent policy and practice of failing

   3   to pay Plaintiffs and similarly-situated employees .all wages due, including reporting time pay.

   4          12.     At all relevant times, Defendants had a consistent policy and practice of failing

   5   to reimburse Plaintiffs and similarly-sihrnted employees for all reasonable and necessarily

   6   inured business-related expenses, including all expenses incurred for business layovers, in

   7   violation of California state wage and hour laws ..

   8          13.     At all relevant times, Defendants had a consistent policy and practice of denying

   9   Plaintiffs and similarly-sih1ated employees the right ti use accrued sick leave without the threat

  10   of discipline and/or discharge.
                                                      (
  11          14.     At all relevant times, Defendants knowingly and willfully failed to provide

       accurate wage statements to nonMexempt employees, including Plaintiffs, which did not include,
                                           (

       among other things, accrued sick time, tbe ac.curate total hours and pay for reporting time, and

       all rates of pay, or deductions made.

              15.     At all relevant times, Defendants had a consistent policy and practice of failing

       to timely compensate non-exemp~ employees, including Plaintiffs, for all wages owed during

       and upon separation of employment, in violation of California state wage and hour laws.

  18          16.     At all relevant times, Defendants. required Plaintiffs and all other similarly-

  19   situated employees to enter into an agreement allowing Defendants to install and use a camera

  20   monitoring system called the DriveCam Video System ("DriveCam") in their trucks at

 21    distribution centers. Defendants intentionally misrepresented to Plaintiffs and all other

 22    similarly-situated employees that the DriveCam would only be used when activated by the

 23    driver or by a "triggering event" such as hard braldng, swerving, or a collision. Based on

 24    Defendants' representations, Plaintiffs and all other similarlyMsihrnted employees had a

 25    reasonable expectation of privacy that the DriveCam was not continuously recording at all times

 26    while drivers were on duty but rather only recording when activated by a driver or a triggering

 27    event. Plaintiffs and all other similarlyMsituated employees did not have knowledge of the fact

 28    that the DriveCam recorded them during times other than when it was activated by a driver or a

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                 1   triggering event. In fact, the Dr.iveCam recorded numerous private conversations between

                 2   Plaintiffs and other individuals including private and personal conversations with family

                 3   members. Defendants intentionally recorded, visually and audibly, Plaintiffs and all other

                 4   similarly-situated employees without their knowledge or consent in a manner which would be

                 5   highly offensive to a reasonable person, including Plaintiffs and all other similarly-situated

                 6   employees.

                 7              17.   At all relevant times, Plaintiffs and the other similarly-situated employees

                 8   perfonned work within the geographical boundaries of the City of San Diego and were therefore

                 9   entitled to be paid earned sick leave pursuant to    Saii Diego County's Earned Sick Leave and
                10   Minimmn Wage Ordinance ("SDOH). Defendants failed to comply with the requirements of the
                                                                     \
                11   SDO by failing to provide its employees with earned sick leave. See SDO Chapter 3, Article 9,

                12   Division 1. Specifically, Defendants uniformly failed to provide Plaintiffs and other similarly-
~                                                         ~
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                13   situated employees with paid earned sick leave in compliance with the SDO.
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iz bl<          14              18.   At all relevant times, Plaintiffs and other similarly-situated employees performed
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trl ~ v.,       16   to earned sick leave pursuant to Los Angeles Minimum Wage and Paid Sick Leave Ordinance,
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u
                17   Los Angeles Municipal Code, Article 7 Section 187.04 ("LAO"). Defendants failed to comply

                18   with t}l.e requirements of the LAO by failing to provide employees with earned sick leave.
                           ;_

                19   Specifically, Defendants unifonnly failed to provide Plaintiffs and other similarly-situated

                20   employees with paid earned sick leave in compliance with the LAO.

                21              19.   Plaintiffs, on behalf of themselves and all similarly-situated employees in the

                22   State of California, bring this action pursuant to Labor Code sections 201, 202, 203, 204(a),

                23   210, 218.5, 218.6, 226(a), 226(h), 226.3, 233, 510, 512, 1174(d), 1174.5, 1194, 1194.2, 1197,

                24   1197.1, 1198, and 2802, seeking lmpaid wages, expense reimbursement, penalties, equitable

                25   relief, and reasonable attorneys' fees and costs.

                26              20.   Plaintiffs, on behalf of themselves and all similarly~situated employees in the

                27   State of California, bring this action pursuant to Business and Professions Code sections 17200-

                28   17208, seeking injunctive relief, restitution, and disgorgement of all benefits obtained by

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                    1   Defendants by failing to pay all wages owed.

                   2                                                    V.

                    3                                 CLASS ACTION ALLEGATIONS

                    4          21.     Plaintiffs bring this action on behalf of themselves and all similarly-situated

                    5   current and former employees of Defendants as a Class Action pursuant to Code of Civil

                    6   Procedure section 3 82. The Class and Subclasses Plaintiffs seek to represent are defined as:

                    7                  Plaintiff Class

                    8                  All non-exempt transportation drivers employed by Defendants in
                                       the State of California at any time since the four years preceding
                                       the filing of this Complaint.          1·
                    9

                   10          22.     Plaintiffs seek to certify a Subclass of employees defined as:

                   11                  Reporting Time Subclass
                                       All Plaintiff Class Members who were required to call in each day,
                   12
t11                                    but were not put to work
                                                            '\
                                                                 and were not furnished at least half of the
Cl
2S     O    -0    13                   usual day's work or at least two hours, at their regular rate of pay.
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,:,:>- ·-a-<                   23.     Plaintiffs seek to certify a Subclass of employees defined as:
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g      U)   E 15                       Unreimlmrsed Business Expense Subclass
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ta s        U)
                  16                   All ~lain.tiff Class Members who were not reimbursed for
:r::                                   business-related expenses incurred in the discharge of duties for
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                  17                   Defendants.

                  18          , 24.    Plaintiffs seek to certify a Subclass of employees defined as:
                              \
                  19                   Wage Statement Subclass
                                       All members of the proposed Plaintiff Class who, within one year
                  20
                                       of the filing of the Complaint, received one or more itemized wage
                  21                   statements that did not include accrued sick time, and/or all wages
                                       due for reporting time pay, and/or the applicable rates of pay for
                  22                   time worked~ and/or any deductions taken.

                  23           25.     Plaintiffs seek to certify a Subclass of employees defined as:

                  24                   Waiting Time Penalty Subclass
                                       All Plaintiff Class Members whose employment ended at any time
                  25                   during the three years preceding the filing of this Complaint.
                  26           26.     Plaintiffs seek to certify a Subclass of employees defined as:

                  27                   UCL Subclass

                  28                   All members of the proposed Plaintiff Class who were subject to
                                       Defendants' pay practices relating to failure to pay reporting time
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  1                   pay, failure to reimburse all business-related expenses, denial of
                      the right to use sick leave without the threat of discipline and/or
  2                   discharge, and failure to timely pay all wages due at separation of
                      employment.
  3

  4             27.   Plaintiffs reserve the right under Rule 3.765(b), California Rules of Court, to

  5   amend or modify the Plaintiff Class and Subclass descriptions with greater specificity or to

  6   provide further division into subclasses or limitation to particular issues.

  7             28.   This action has been brought and may be maintained as a class action pursuant to

  8   Code of Civil Procedure section 382 because there is a well-defined common interest of many

  9   persons and it is impractical to bring them all before tlts Court.

 10             29.   Ascertainable Class: The proposed Plaintiff Class and Subclasses are
                                                     {
 11   ascertainable because they can be identified and located using Defendants' payroll and

      persom1el records.

                30.   Numerosity: The potential members of the Plaintiff Class and Subclasses,

      defined above, are so numerous that joinder of all members would be unfeasible and

      impractical. The disposition of tbeir claims through this class action will benefit both the parties
                          !if  .
      and this Court. The¼I number of members of the Plaintiff Class and Subclasses is unknown to

      Plaintiffs, but is estimated to be in excess of 100 individuals. The number and identity of

 18   members can be readily ascertained using Defendants• records.
            \
 19             31.   Typicality:   The claims of Plaintiffs are typical of the claims of all members of
 20   the Plaintiff Class and Subclasses because all members of the Plaintiff Class and Subclasses

 21   sustained similar injuries and damages arising out of Defendants' common course of conduct in

 22   violation of law and the injuries and damages of all members of the Plaintiff Class and

 23   Subclasses were caused by Defendants' wrongful conduct in violation oflaw, as alleged.

 24             32.   Adequacy: Plaintiffs will adequately and fairly protect the interests of the

 25   members of the Plaintiff Class. Plaintiffs have no interest adverse to the interests of absent Class

 26   Members. Plaintiffs are represented by attorneys with substantial wage-and-hour and class

 27   action law experience.

 28             33.   Superioritv: A class action is superior to other available means for fair and

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                   1   efficient adjudication of the claims of the Plaintiff Class and would be beneficial for the parties

                   2   and the Court. Class action treatment will allow a large number of similarly-situated persons to

                   3   prosecute their common claims in a single forum, simultaneously, efficiently, and without the

                   4   unnecessary duplication of effort and expense numerous individual actions would require. The

                   5   damages suffered by each Plaintiff Class Member are relatively small in the sense pertinent to

                   6   class action analysis, and the expense and burden of individual litigation would make it

                   7   extremely difficult or impossible for individual Plaintiff Class Members to seek and obtain

                   8   individual relief. A class action will serve an important public interest by permitting such

                   9   individuals to effectively pursue recovery of sums     oired to them. Class litigation also prevents
                  10   the potential for inconsistent or contradictory judgments raised by individual litigation.
                                                                      \
                  11           34.     The predominating common questions of law and fact include, without

                  12   limitation:
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                  13             a.   Whether Defendants compensated Plaintiff Class Members for all hours worked,
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    Jl "'
       -<i:       14                  including reporting time;
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~ ,g ~ 15                        b.   Whether Defendants reimbursed Plaintiff Class Members for all business-related
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                  16                  expenses incurred in the discharge of duties pursuant to Labor Code section
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                  17                  2802~

                  18         _c.      Whether Defendants denied Plaintiff Class Members the right to use accrued sick
                             \
                  19                  leave without the threat of discipline and/or discharge pursuant to Labor Code

                  20                  section 233;

                  21             d.   Whether Defendants invaded the privacy of Plaintiff Class Members via the

                  22                  method ofinstallation and operation of cameras in their trucks;

                  23             e.   Whether Defendants maintained accurate records for Plaintiff Class Members

                  24                  pursuant to Labor Code section 1174(d) and section 7 of the applicable IWC

                  25                  Wage order;

                  26             f.   Whether Defendants provided Plaintiff Class Members with accurate itemized

                  27                  wage statements pursuant to Labor Code section 226;

                  28             g.   Whether Defendants timely paid wages due during employment pursuant to

                                                                        -7-
                                                               Class Action Complaint
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                      1                   Labor Code sections 204(a) and 1198;

                      2          h.      Whether Defendants timely paid wages due upon separation of employment

                      3                   pursuant to Labor Code sections 201-202;

                      4          1.      Whether Defendants violated sections 17200, et seq. of the Business and

                      5                   Professions Code; Labor Code sections 226 and 1194; IWC Wage Orders 7-2001

                      6                   and 9-2001, and other applicable IWC Wage Orders which constih1tes a violation

                      7                   of fundamental public policy;

                      8          h.       Whether Plaintiff Class and Subclass Members are entitled to equitable relief

                      9                   pursuant to Business and Professions dooe, sections 17200, et seq.

                     10                                                   VI~
                                                                    I.
                     11                                        CAUSES OF ACTION

oc:                  12                                FIRST CAUSE OF ACTION
~                                                 Failure \o Pay Reporting Time Wages
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         ,, C'l
                                              [Labor Code§ 204; IWC Wage Order 9-2001, § 5]
>-- ·3         0\               (Plaintiff VALDEZ and the Reporting Time Subclass Against Each Defendant)
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               c) 14
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~a.r                 15          3 5.     Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.
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                     16          36.      Wage Order 9(5)(A) provides as follows:
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                     17                   Each workday fill employee is required to report for work and does report,
                                          but is not put to work or is furnished less than half of said employer's
                     18                   usual or scheduled day's work the employee shall be paid for half the
                                          usual or scheduled day's work, but in no event for less than two (2) hours
                     19
                                          nor more than four (4) hours, at the employees' regular rate of pay, which
                     20                   shall not be less than the minimum wage.

                     21               37. Labor Code section 204(a) states: "All wages, other than those mentioned in

                     22   Section 201, 201.3, 202~ 204.l~ or 204.2, earned by any person in any employment are due and

                     23   payable twice during each calendar month, on days designated in advance by the employer as

                     24   the regular paydays. Labor performed between the 1st and 15th days, inclusive, of any calendar

                     25   month shall be paid for between the 16th and the 26th day of the month during which the labor

                     26   was perfonned, and labor performed between the 16th and the last day, inclusive, of any

                     27   calendar month, shall be paid for between the 1st and 10th day of the following month.

                     28   However, salaries of executive, administrative, and professional employees of employers

                                                                        -8-
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  1   covered by the Fair Labor Standards Act, as set forth pmsuant to Section 13(a)(l) of the Fair

  2   Labor Standards Act, as amended through March 1, 1969, in Part 541 of Title 29 of the Code of

  3   Federal Regulations, as that part now reads or may be amended to read at any time hereafter,

  4   may be paid once a month on or before the 26th day of the month during which the labor was

  5   performed if the entire month's salaries, including the unearned portion between the date of

  6   payment and the last day of the month, are paid at that time."

  7             38.   Plaintiff VALDEZ and other pait-time employees were scheduled for call-in

  8   shifts and required to report to work by calling in each day to detennine whether they were

  9   scheduled to work the following day. If the workloa~ did not support their presence, Plaintiff

 10   VALDEZ and other part-time employees did not receive at least two hours pay at their regular

 11
                                                      '
      rate of pay, or half of the usually-scheduled shift in pay at their regular rate. Although

      Defendants required Plaintiff VALDEZ and other part-time employees to report to work by
                                          (
      calling in each day to detem1ine whether they were scheduled to work the following day.

      Defendants failed to pay any wages for this reporting time. These on-call shifts burden Plaintiff

      VALDEZ and other part-time employees by limiting their time and availability for other
                           i
      activities but nonetheless receiving no compensation from Defendants unless they are ultimately

      called in to work.

 18                   By their failure to pay hourly wages for reporting time, Defendants willfully

 19   violated provisions of Labor Code section 204, and section 5 of IWC Wage Orders 7-2001 and

 20   9-2001.

 21          40.      Defendants' unlawful acts deprived Plaintiff VALDEZ and the Plaintiff Class

 22   and the Reporting Time Subclass he seeks to represent of hourly wages in amounts to be

 23   determined at trial, and they are entitled to recover such amounts, plus interest, attorneys' fees,

 24   and costs.

 25          41.      Plaintiff VALDEZ, on behalf of himself and members of the Reporting Time

 26   Subclass, requests relief as described below.

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 28   Ill

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                                              Class Action Complaint
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                    1                                SECOND CAUSE OF ACTION
                                            FAILURE TO REIMBURSE BUSINESS EXPENSES
                    2            [Labor Code§ 2802 and the§ 9 of IWC Wage Orders 7-2001 and 9-2001]
                    3     (Plaintiffs and the Unreimbursed Business Expenses Subclass Against Each Defendant)

                    4          42.     Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.

                    5          43.     Labor Code section 2802(a) provides that "[a]n employer shall indemnify his or

                    6   her employee for all necessary expenditures or losses incurred by the employee in direct

                    7   consequence of the discharge of his or her duties, or of his or her obedience to the directions of

                    8   the employer, even though unlawful, unless the employee, at the time of obeying the directions,

                    9   believed them to be unlawful."                         •
                   10          44.    Through Defendants' conduct during the applicable statutmy period including,
                                                                    (
                   11   but not limited to, the conduct alleged herein, Defendants failed to reimburse Plaintiffs and

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                   12   members of the Unreimbursed Business Expenses Subclass as required by Labor Code section
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        0   ,-;    13   2802. Defendants required Plaintiffs and members of the Unreimbursed Business Expenses
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i:>:::v:,j              Subclass to pay for traffic and speeding tickets incurred while on duty and performing work for
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S2 v:,~ ·-~ 15          Defendants.
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                   16          45.     Defendants also did not fully reimburse Plaintiffs and members of the
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                   17   Unreimbursed Business Expenses Subclass for business-related expenses incurred on layovers

                   18   ofup to
                             (
                                twenty-four (24) hours.

                   19          46.     Labor Code section 2802(c) states that "[f]or purposes of [2802], the term

                   20   "necessary expenditures or lossesH shall include all reasonable costs, including, but not limited

                   21   to attorney's fees inctmed by thb employee enforcing the rights granted by [2802]."

                   22          47.     IWC Wage Order 9-2001, section 9(b) states in pertinent part: "When tools or

                   23   equipment are required by the employer or are necessary to the performance of a job, such tools

                   24   and equipment shall be provided and maintained by the employer."

                   25          48.     Plaintiffs and members of the Unreimbmsed Business Expenses Subclass

                   26   suffered losses including, but not limited to, the costs of traffic and speeding tickets and costs

                   27   incurred during layovers. Plaintiffs and members of the Unreimbursed Business Expenses

                   28   Subclass incurred these costs in direct consequence of the discharge of their duties.

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                  1           49.     As a direct result of Defendants' violations alleged herein, Plaintiffs and

                  2   members of the Unreimbursed Business Expenses Subclass have suffered, and continue to

                  3   suffer, substantial losses related to failure to be inde1m1ified for the expenses and losses,

                  4   including the use and enjoyment of such monies, lost interest on such monies and expenses and

                  5   attorney's fees and costs in seeking to compel Defendants to fully perform their obligations

                  6   under state law, all to their respective damage in amounts according to proof at trial and within

                  7   the jurisdictional limitations of this Court.

                  8           50.     Plaintiffs seek to recover in a civil action to the fullest extent permissible all

                  9   available remedies including but not limited to the mtaid balance of the indemnification from

                 10   Defendants' violations, interest thereon permitted by Labor Code section 2802(b ), reasonable
                                                                           {
                 11   attorney's fees and costs of suit, injunctive relief, declaratory relief, and any other permitted

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                 12   remedies including those permitted pursuant to Labor Code section 2802 and Code of Civil
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       13             Procedure section 1021.5.
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0,::   Jl-<i::   14           51.     Plaintiffs, on behalf of themselves and the members of the Unreimbursed
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~ <ll .W 15           Business Expenses Subclass, request relief as described below.
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                                                 THIRD CAUSE OF ACTION
0                       DENIAL OF RIGHT TO USE SICK LEAVE WITHOUT THREAT OF DISCIPLINE
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                 17                                 AND/OR DISCHARGE
                                                      [Labor Code § 233]
                 18
                                   (Plainul'& and the Plaintiff Class Against Each Defendant)
                 19           52.     Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.

                 20           53.     Labor Code section 233(c) states in pertinent part: "An employer shall not deny

                 21   an employee the right      to   use sick leave or discharge, threaten to discharge, demote, suspend, or

                 22   in any manner discriminate against an employee for using, or attempting to exercise the right to

                 23   use, sick leave to attend to an illness or the preventive care of a family member, or for any other

                 24   reason specified in subdivision (a) of Section 246.5."

                 25           54.     Plaintiffs and members of the Plaintiff Class were denied the right to use their

                 26   accrned sick leave without the threat of discipline and/or discharge by Defendants. Defendants

                 27   carried out a consistent policy and practice of disciplining Plaintiffs and members of the

                 28   Plaintiff Class for ta1cing sick leave. Specifically, Defendants intimidate, discipline, and threaten

                                                                            - 11 -
                                                                    Class Action Complaint
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  1   Plaintiffs and members of the Plaintiff Class for exercising their right to take sick leave when

  2   they are fatigued, ill, or otherwise unable to safely operate a commercial vehicle. Defendants

  3   implemented and canied out a policy that disciplines and threatens discharge for repeated

  4   absences regardless of the reason. In fact, Defendants implemented and can-ied out a policy that

  5   issues points for each occmTence, such as absence due to illness or fatigue, with the threat that a

  6   specific number of occurrences will result in discharge. However, each point issued for an

  7   occurrence results in some form of discipline, threat, or warning.

  8             55. Plaintiffs seek to recover in a civil action to the fullest extent permissible all

  9   available remedies including but not limited to the rbnedies pennitted by Labor Code section

 10   233(e) and Code of Civil Procedure section 1021.5.
                                                    (
 11             56. Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

      requests relief as described below.

                                   FOURIB CAUSE OF ACTION
              FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
                 [Labor Code§ 226 and§ 7 of IWC \Vage Orders 7-2001 and 9-2001]
                     (Plaintiffs and the PlaintHlCiass Against Each Defendant)
                          i;_
             57.     Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.

             58.     Labor Code section 226(a) states in pertinent part: "Every employer shall,
 18   semin1onth1y or at the time of each payment of wages, furnish each of his or her employees,
 19   either as a detachable part o:f the check, draft, or voucher paying the employee's wages, or
 20   separately when wages are paid by personal check or cash, an accurate itemized statement in
 21   writing showing": (I) gross wages earned; (2) total hours worked by the employee, except for
 22   any employee whose compensation is solely based on a salary and who is exempt from payment
 23   of overtime under subdivision (a) of Section 515 or any applicable order of the Industlial
 24   Welfare C01mnission; (3) the number of piece-rate units earned and any applicable piece rate if
 25   the employee is paid on a piece-rate basis; (4) All deductions, provided that all deductions made
 26   on written orders of the employee may be aggregated and shown as one item; (5) net wages
 27   earned; (6) the inclusive dates of the period for which the employee is paid; (7) the name of the
 28   employee and only the last four digits of his or her social security number or an employee

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                        1   identification number other than a social security number; (8) the name and address of the legal

                        2   entity that is the employer; and (9) all applicable hourly rates in effect during the pay period and

                        3   the corresponding number of hours worked at each hourly rate by the employee. The deductions

                        4   made from payment of wages shall be recorded in ink or other indelible form, properly dated,

                        5   showing the month; day, and year, and a copy of the statement and the record of the deductions

                        6   shall be kept on file by the employer for at least three years at the place of employment or at a

                        7   central location within the State of California.

                        8          59.     IWC Wage Orders 7-2001 and 9-2001, section 7(A) states in relevant part that

                        9   the employer shall keep accurate information regar3ing, "(4) Total wages paid each payroll

                       10   period, including value of board, lodging, or other compensation actually furnished to the
                                                                            {

                       11   employee; (5) Total hours worked in the payroIJ period and ap_plicable rates of pay."

er:
                       12          60.     Through Defendants' alleged conduct during the applicable statutory peliod
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             ,-....t   13   including, but not limited to, on information and belief, Defendants failed to provide accurate
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            14              wage statements including, but not limited to, the recording of accrued sick time, all wages due
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~i~   VJ·~ 15               for reporting time pay, the applicable rates of pay for time worked, and/or deductions taken.
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raSV> 16                           61.     As a consequence of Defendants' knowing and willful failure to comply with
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           17               Labor Code section 226(a), Plaintiffs and similarly-sih1ated employees are entitled to actual

                       18   dama~es or penalties not to exceed $4,000 for each employee pursuant to Labor Code section

                       19   226(b), together with interest and attorneys' fees and costs.

                       20          62,     Labor Code section 226(e) states: "An employee suffering injury as a result of a

                       21   knowing and intentional failure by an employer to comply with subdivision (a) is entitled to

                       22   recover the greater of all actual damages or fifty dollars ($50) for the initial pay period in which

                       23   a violation occurs and one hundred dollars ($100) per employee for each violation in a

                       24   subsequent pay period; not exceeding an aggregate penalty of four thousand dollars ($4,000),

                       25   and is entitled to an award of costs and reasonable attorneys' fees." Labor Code section

                       26   226(e)(2)(B) states: "An employee is deemed to suffer injury for purposes of this subdivision if

                       27   the employer fails to provide accurate and complete information as required by any one or more

                       28   of items (1) to (9), inclusive, of subdivision (a) and the employee cannot promptly and easily

                                                                                - 13 -
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                    1   detennine from the wage statement alone one or more of the following: (i) TI1e amount of gross

                    2   wages or net wages paid to the employee during the pay period or any other information

                    3   required to be provided on the itemized wage statement pursuant to items (2) to (4), inclusive,

                    4   (6) and (9) of subdivision (a) ... " Because Plaintiffs' wage statements did not include, among

                    5   other things, an accurate accounting of gross wages earned or the accurate total hours worked,

                    6   they are deemed to have suffered injury.

                    7           63.     Labor Code section 226(h) states: "An employee may also bring an action for

                    8   injunctive relief to ensure compliance with this section, and is entitled to an award of costs and

                    9   reasonable attorney's fees."

                   10           64.     Labor Code section 226.3 states~         111   part: "Any employer who violates

                   11   subdivision (a) of section 226 shall be subject to a civil penalty in the amount of two hundred

pc;
                   12   fifty dollars ($250) per employee per violation in an internal citation and one thousand dollars
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                   13   ($1,000) per employee for each violation in a subsequent citation, for which the employer fails
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i:,::   bl <       14   to keep the records required in subdivision (a) of Section 226. TI1e civil penalties provided for
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        en·~       15   in this section are in addition to any other penalty provided by law.''
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                   16           65.     As a direct result of Defendants"' violations alleged herein, Plaintiffs and
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                   17   members of the Plaintiff Class have suffered, and continue to suffer, injury including substantial

                   18   losses 1 related to the use and enjoyment of such wages, lost interest on such monies and

                   19   expenses and attorney's fees in seeking to compel Defendants to fully perfonn their obligations

                   20   under state law~ all to their respective damage in amounts according to proof at trial and within

                   21   the jurisdictional limitations of this Court.

                   22           66.     Plaintiffs seek to recover in a civil action all remedies including damages, unpaid

                   23   wages, penalties, attorney's fees and costs, and injunctive relief to the fullest extent permissible

                   24   including those permitted pursuant to Labor Code sections 226(e) and (h), 226.3, and Code of

                   25   Civil Procedure section 1021.5.

                   26           67.     Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

                   27   request relief as described below.

                   28   Ill

                                                                          - 14 -
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                   1                                 FIFTH CAUSE OF ACTION
                               FAILURE TO TIMELY PAY WAGES DUE DURING EMPLOYMENT
                   2
                           [Labor Code§§ 204(a), 1198, and§ 4 of the IWC Wage Orders 7-2001 and 9-2001)
                   3                 (Plaintiffs and the Plaintiff Class Against Each Defendant)

                   4             68.   Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.

                   5             69.   Labor Code section 204(a) states in pertinent part: "All wages ... earned by any

                   6   person in any employment are due and payable twice during each calendar month, on days

                   7   designated in advance by the employer as the regular paydays."

                   8             70.   Labor Code section 210 states in pertinent part: "(a) In addition to, and entirely

                   9   independent and apart from, any other penalty provid~d in this article, every person who fails to

                  10   pay the wages of each employee as provided in Sections 201.3, 204, 204b, 204.1, 204.2, 205,
                                                                       (
                  11   205.5, and 1197.5, shall be subject to a civil penalty as follows: (1) For any initial violation, one

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                  12   hundred dollars ($100) for each failure to pay each employee. (2) For each subsequent violation,
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                  13   or any willful or intentional violation, two hundred dollars ($200) for each failure to pay each
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             14        employee, plus 25 percent of the amount unlaw:fuUy withheld.''
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                  15             71.   IWC Wage Orders 7-2001 and 9-2001, section 4(B) state: "Every employer shall
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                  16   pay to each employee, on the established payday for the period involved, not less than the
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                  17   applicable minimum wage for all hours worked in the payroll period, whether the remuneration

                  18   is me~sured by time, piece, commission or otherwise:·
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                  19             72.   Through Defendants' conduct during the applicable statutory period including,

                  20   but not limited to~ the conduct alleged herein, including that alleged on infonnation and belief,

                  21   Defendants failed to pay Plaintiffs and members of the Plaintiff Class (i) all wages due and

                  22   owing and (ii) all wages due and owing by the time set forth pursuant to Labor Code section

                  23   204(a) and IWC Wage Orders 7-2001 and 9-2001, section 4(B) including, but not limited to, not

                  24   paying all reporting time overtime wages.

                  25             73.   As a direct result of Defendants' violations alleged herein, Plaintiff and members

                  26   of the Plaintiff Class have suffered and continue to suffer substantial losses related to the use

                  27   and enjoyment of such wages, including lost interest on such monies and expenses and

                  28   attorney's fees in seeking to compel Defendants to fully perfonn their obligations under state

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                1   law, all to their respective damage in amounts according to proof at trial and within the

                2   jurisdictional limitations of this Court.

                3             74.    Plaintiffs seek to recover in a civil action all remedies including unpaid wages,

                4   attorneys' fees and costs, penalties and interest to the fullest extent permissible including those

                5   pennitted pursuant to Labor Code sections 210, 218.5, 218.6, 226.7, 1198, and Code of Civil

                6   Procedure section 1021.5.

                7             75.    Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

                8   request relief as described below.

                9                                       SIXTH CAUSE OF~ACTION
                     FAILURE TO TIMELY PAY WAGES DUE UPON SEPARATION OF EMPLOYMENT
               10
                                                 [Labor Codr §§ 201, 202, 203]
               11         (Plaintiffs and the Waiting Time Penalty Subclass Against Each Defendant)

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               12             76.    Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.
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               13             77.    Labor Code section 20l(a) states: "If an employer discharges an employee, the
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~Jl<i:: 14          wages earned and unpaid at the time of discharge are due and payable immediately."
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~b~ 15                        78.     Labor Code section 202(a) states: "If an employee not having a written contract
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~s[/) 16            for a definite period quits his or her employment, his or her wages shall become due and
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[.)
               17   payable not later than 72 hours thereafter, unless the employee has given 72 hours previous

               18   notice   ff his or her intention to quit: in which case the employee is entitled to his or her wages
               19   at the time of quitting. Notwithstanding any other provision of law, an employee who quits

               20   without providing a 72-hour notice shall be entitled to receive payment by mail if he or she so

               21   requests and designates a mailing address. The date of the mailing shall constitute the date of

               22   payment for purposes of the requirement to provide payment within 72 hours of the notice of

               23   quitting."

               24             79.     Through Defendants' conduct during the applicable statutory period including,

               25   but not limited to, the conduct alleged herein, including that alleged on information and belief,

               26   Defendants willfully failed to provide Plaintiffs and members of the Waiting Time Penalty

               27   Subclass with all wages due and owing, including minimum wages, overtime wages, and

               28   regular wages, by the time specified by Labor Code sections 201 (a) and 202(a), as applicable.

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  1          80.     Labor Code section 203(a) states, in relevant part: "If an employer willfully fails

  2   to pay, without abatement or reduction, in accordance with sections 201, 201.3, 201.5, 202, and

  3   205.5, any wages of an employee who is discharged or who quits, the wages of the employee

  4   shall continue as a penalty from the due date thereof at the same rate 1mtil paid or until an action

  5   therefore is commenced; but the wages shall not continue for more than 30 days."

  6          81.     As a direct result of Defendants' violations alleged herein, Plaintiffs and

  7   members of the Waiting Time Penalty Subclass have suffered and continue to suffer substantial

  8   losses related to the use and enjoyment of such wages, including lost interest on such monies

  9   and expenses and attorneys' fees in seeking to co\npel Defendants to fully perform their

 10   obligation under state law, all to their respective damage in amounts according to proof at trial
                                                      i
 11   and within the jurisdictional limitations of this Court.

             82.     Plaintiffs seek to recover in a civil action all remedies to the fullest extent
                                          {
      pem1issible including those permitted pumuant to Labor Code section 203 and Code of Civil

      Procedure 1021. 5.

             83.     Plaintiffs, on behalf of themselves and the members of the Waiting Time Penalty

      Subclass, request relief as described below.

                                     SEVENTH CAUSE OF ACTION
                        VIOLATION OF THE UNFAIR COMPETITION LAW
 18
                            {Business and Professions Code§§ 17200, et seq.]
 19                    (Plaintiffs and the Plaintiff Class Against Each Defendant)

 20          84.     Plaintiffs incorporate all preceding paragraphs of this Complaint.

 21          85.     Business & Professions Code section 17200 states: "As used in this chapter,

 22   unfair competition shall mean and include any unlawful, unfair or fraudulent business act or

 23   practice and unfair, deceptive, untrue or misleading advertising and any act prohibited by

 24   Chapter 1 (commencing with section 17500) of Part 3 of Division 7 of the Business and

 25   Professions Code."

 26          86.     Through Defendants' conduct during the applicable statutory period including,

 27   but not limited to, the conduct alleged herein, including that alleged on information and beliet:

 28   Defendants have engaged in unlawful, unfair, or fraudulent business practices in California by

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                    1   practicing, employing, and utilizing, the employment practices outlined in the preceding

                    2   paragraphs all in violation of California law and the Industrial Welfare Commission Wage

                    3   Orders. Defendants' use of such practices constitutes an unfair business practice, unfair

                    4   competition, and provides an unfair advantage over Defendants' competitors doing business in

                    5   the State of California that comply with their obligations to properly provide employment

                    6   conditions in compliance with the law and pay employees for all earned wages and

                    7   compensation as required by law.

                    8          87.     Defendants' violations of the Labor Code and the Industrial Welfare

                    9   Commission Wage Orders, and their scheme to lmveipayroll costs as alleged herein, constitute

                   10   unlawful business practices because these actions were done in a systematic manner over a
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                   11   period of time to the detriment of Plaintiff and the Plaintiff Class. The acts complained of herein

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                   12   occurred within the last four (4) years preceding the filing of this complaint and include, but are
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                   13   not limited to, failure to (i) pay minim~ overtime, and regular wages, and sick pay, both
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                        during and after separation of employment; (ii) maintain accurate records; (iii) provide and
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g~~                15   maintain accurate itemized wage statements:; (iv) pay timely wages during employment; (v) pay
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                   16   timely wages upon separation of employment; and (vi) indemnify employees for their expenses
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                   17   and losses and (vii) preserve employee privacy, i.e., by using cameras in the ways specified

                   18

                   19          88.     Defendants¼ failure to pay Plaintiffs and members of the Plaintiff Class and

                   20   Subclasses for all reporting time, as required by the applicable Wage Orders and the Labor

                   21   Code, as alleged, constitutes unlawful activity prohibited by Business and Professions Code

                   22   sections 17200, et seq.

                   23          89.     The actions of Defendants in failing to pay Plaintiffs and members of the

                   24   Plaintiff Class in a lawful manner constitute false, unfair, fraudulent, and deceptive business

                   25   practices, within the meaning of Business and Professions Code, sections 17200, et seq.

                   26          90.     Plaintiff are entitled to an injunction, specific performance under Business and

                   27   Professions Code, section 17202, and/or other equitable relief against such unlawful practices in

                   28   order to prevent future loss, for which there is no adequate remedy at law, and to avoid a

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  1   multiplicity of lawsuits. Plaintiffs b1ing this cause individually and as a member of the general

  2   public as a representative of all others subject to Defendants' unlawful acts and practices.

  3          91.     This cause of action is brought as a cumulative remedy and is intended as an

  4   alternative remedy for restitution for Plaintiffs, and each Plaintiff Class Member, for the four (4)

  5   year period before the filing of this Complaint, and as the primary remedy during the fourth year

  6   before the filing of this Complaint. Business and Professions Code section 17205,

  7          92.     As a result of Defendants' unlawful and unfair business practice of failing to pay

  8   earned wages, each Plaintiff Class member has suffered damages and is entitled to restitution in
                                                                  (
                                                                  \
  9   an amount according to proof.

 10          93.     The illegal conduct alleged is continuing and there is no indication that

 11   Defendants will discontinue such activity in the future. Plaintiffs allege that if Defendants are

      not enjoined from the conduct set forth
                                        ,t,
                                              in this Complaint, they will continue to fail to pay all
                                            ""l'
      wages as required by law.

             94.     Plaintiffs further request the.Court issue a preliminary and pennanent injunction

      prohibiting Defendants from continuing to fail to pay reporting time wages.
                          I
             95.     As a direct and proximate result of Defendants' conduct, Defendants have

      received and will continue to receive monies that rightfully belong to members of the general

 18   public( who have been adversely affected by Defendants' conduct, as well as to Plaintiffs by

 19   virtue of unpaid wages and other monies.

 20          96.     Plaintiffs are entitled to and seek any and all available remedies including

 21   restitution and recovery of reasonable attorneys' fees pursuant to California Code of Civil

 22   Procedure section 1021.5, Business and Professions Code sections 17200, et seq., the substantial

 23   benefit doctrine, and/or the common fund doctrine.

 24          97.     Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

 25   requests relief as described below.

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                                                           - 19 -
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                     1                            EIGHTH CAUSE OF ACTION
                         INVASION OF PRIVACY - INTRUSION INTO PRIVATE AFFAIRS; VIOLATION OF
                     2
                                              CAL. CONST. ARTICLE 1, SECTION 1
                     3              (Plaintiffs and the Plaintiff Class Against Each Defendant)

                     4              98.    Plaintiffs incorporate all preceding paragraphs of this Complaint.

                     5              99.    Plaintiffs and other similarly-situated employees have a reasonable expectation

                     6   of privacy in their conduct at work based on Defendants' representations that the DriveCam will

                     7   only be used to record work-related activities when activated by the driver or a triggering event

                     8   such as hard braking, swerving or a collision.

                     9              100.   Plaintiffs and other similarly-situated employees possess a legally protected

                    10   privacy interest in their personal and private conduct including private conversations they

                    11   engaged without lrnowledge that their conversations and activities were being recorded by the

                    12   DriveCam system in Defendants' vehicles.
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                    13              101.   At all relevant times, Defendants required Plaintiffs and all other similarly-
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                         situated employees to enter into an agreement allowing Defendants to install and use a camera
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                    15   monitoring system call the DriveCam Video System (-''DriveCam'') in its trucks at distribution
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ul ~,.,, 16              centers. Defendants~intentionally misrepresented to Plaintiffs and all other similarly-situated
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u                        employees that the DriveCam would only be used when activated by the driver or a triggering
                    17

                    18   event ,such as hard braking, swerving, or a collision. Based on Defendants' representations,
                               ,;
                    19   Plaintiffs and all other similarly-situated employees had a reasonable expectation of privacy that

                    20   the DriveCam was not continuot1Sly recording at all times while drivers were on duty but rather

                    21   only recording when activated by a driver or a triggering event. Plaintiffs and all other

                    22   similarly-situated employees did not have knowledge of the fact that the DriveCam recorded

                    23   them during times other than when it was activated by a driver or a triggering event. In fact, the

                    24   DriveCam recorded numerous private conversations between Plaintiffs and other individuals

                    25   including private and personal conversations with family members. Defendants intentionally

                    26   recorded, visually and audibly, Plaintiffs and all other similarly-situated employees without

                    27   their knowledge or consent in a manner in which is highly offensive to a reasonable person,

                    28   including to Plaintiffs and all other similarly~situated employees.

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   1          102.    Plaintiffs and all other similarly-situated employees did not consent to or have

   2   knowledge of the fact that the DriveCam was recording them at times other than when activated

   3   by the driver or by a triggering event such as hard braking, swerving, or a collision.

   4          103.    Defendants failed to inform Plaintiffs and all other similarly-situated employees

   5   that the DriveCam would record them at times other than when activated by the driver or a

   6   triggering event such as hard braking, swerving, or a collision.

   7          104.    This intrusion would be highly offensive to a reasonable person.

   8          105.    Defendants' conduct was intentional and done with reckless disregard for the fact

   9   that a reasonable person in Plaintiffs' positions woulloonsider the conduct highly offensive.

  10          106.    As a direct result of Defendants• violations alleged herein, Plaintiffs and
                                                        (
  11   similarly-situated employees were harmed as a result of the conduct of Defendants, and the

       Defendants' conduct was a substantial factor in causing the ham1 suffered as a result of the
                                             {
       invasion of privacy.

              107.    Plaintiffs seek to recover in a civil action a11 remedies to the fullest extent

       permissible including those pennitted pursuant to Civil Code sections 1708.8, et seq.
                              f



              108.         ' 1 on behalf of themselves and the members of the Plaintiff Class,
                      Plaintiffs

       requests relief as described below.

 18          .•                        NINTH CAUSE OF ACTION
        FAitJURE TO PROVIDE PAID SICK LEAVE IN COMPLIANCE WITH SAN DIEGO
  19        PAID SICK LEAVE ORDINANCE AND LOS ANGELES PAID SICK LEAVE
                                                ORDINANCE
 20
                      (Plaintiffs and the Plaintiff Class Against Each Defendant)
 21            109. Plaintiff.s incorporate all preceding paragraphs of this Complaint.

 22           110.    At all relevant times, Defendants employed and continue to employee employees

 23    such as Plaintiffs and other similarly-situated employees throughout the State of California

 24    including in San Diego Cmmty and Los Angeles County.

 25           111.    At all relevant times, Defendants maintained a unifonn policy and practice of

 26    providing employees such as Plaintiffs and other similarly-situated employees a total of five (5)

 27    days of sick leave per year to all employees who have been continuously employed by

 28    Defendants for the period of at least one (1) year. If an employee was employed for less than

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                    1   one (1) year, they did not accrue sick leave per Defendants' policy.

                    2             112.   San Diego County's Earned Sick Leave and Minimum Wage Ordinance, San

                    3   Diego County Municipal Code ("SDMC") Chapter 3, Article 9, Division 1, effective as of July

                    4   11, 2016 provides that "all employers must provide paid earned sick leave to each employee

                    5   (including temporary and part-time employees) who perform at least two (2) hours of work

                    6   within the geographical boundaries of the City of San Diego." San Diego County's Earned Sick

                    7   Leave and Minimum Wage Ordinance requires employers, such as Defendants, to provide

                    8   employees with one (1) hour of earned sick leave for every thirty hours worked by the employee

                    9   within the geographic boundaries of the City of       sln Diego.   Employees are entitled to use

                   10   accrued earned sick leave beginning July 11, 2016 or after the ninetieth (90) day of
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                   11   employment, whichever is later.

oc:                12             113.   At all relevant times, Plaintiffs and other similarly-situated employees performed
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        13              work within the geographical boundaries of the City of San Diego and were therefore entitled to
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oc: a <                 paid earned sick leave pursuant to San Diego County's Earned Sick Leave and Minimum Wage
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S2 f~ 15                Ordinance. Defendants failed to comply with the requirements of San Diego County's Earned
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§:j '°             16   Sick Leave and Minimum Wage Ordinance by failing to provide employees with earned sick
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                   17   leave in compliance with San Diego Cotmty's Earned Sick Leave and Minimum Wage

                   18   Ordinance, SDMC Chapter 3, Article 9, Division L
                              !
                   19             114.   Los Angeles Minimum Wage and Paid Sick Leave Ordinance, Los Angeles

                   20   Municipal Code, Article 7 Section 187.04(A) states in pertinent part, "Every Employee who, on

                   21   or after July 1, 2016, works in the City for the same Employer for 30 days or more within a year

                   22   from the commencement of employment is entitled to paid sick leave." Section 187.04(B)

                   23   provides, "Paid sick leave shall accrue on the first day of employment or July 1, 2016,

                   24   whichever is later." Section 187.04(C) states, "An Employee may use paid sick leave beginning

                   25   on the 90th day of employment or July 1, 2016, whichever is later."

                   26             115.   At all relevant times, Plaintiffs and other similarly-situated employees perfonned

                   27   work within the geographical boundaries of the City of Los Angeles and were therefore entitled

                   28   to earned sick leave pursuant to Los Angeles Minimum Wage and Paid Sick Leave Ordinance,

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                         1   Los Angeles Municipal Code, Article 7 Section 187.04. Defendants failed to comply with the

                         2   requirements of the Los Angeles Minimum Wage and Paid Sick Leave Ordinance by failing to

                         3   provide employees with earned sick leave in compliance with the Los Angeles Minimum Wage

                         4   and Paid Sick Leave Ordinance, Los Angeles Municipal Code, Atiicle 7 sections 187.04, et seq.

                         5   Indeed, Defendants uniformly failed to provide Plaintiffs and other similarly-situated employees

                         6   with paid earned sick leave in compliance with the Los Angeles Minimum Wage and Paid Sick

                         7   Leave Ordinance.

                         8           116.   Neither the San Diego County's Earned Sick Leave Ordinance, San Diego

                         9   County Municipal Code C'SDMC") Chapter 3, Articl~ 9, Division 1, nor the Los Angeles Paid

                        10   Sick Leave Ordinance, Los Angeles Municipal Code, Article 7 sections 187.04, et seq. provide
                                                                              (

                        11   an exemption for union employees.

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                        12           117.   Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,
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                        13   requests relief as described below.
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;,,: Cll -~             15                                         PRAYER FOR RELIEF
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~        '° <ll         16           Plaintiffs pray for judgment as follows:
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                        17             1.   That tl1e Court detennine this action may be maintained as a class action and

                        18   Plaintiffs as Class Representatives and Plaintiffs' counsel as Class Cotmsel;

                        19            2.    For injunctive relief as provided by the Labor Code to the extent pennitted by

                        20   law including, but not limited to, pursuant to Section 226(h), and Business and Professions

                        21    Code sections 17200, et seq.;

                        22            3.    For restitution as provided by Business and Professions Code sections 17200, et

                        23   seq.;

                        24            4.    For an order requiring Defendants to restore and disgorge all :fi.mds to each

                        25    affected person acquired by means of any act or practice declared by this Couti to be unlawful,

                        26   unfair or fraudulent and, therefore, constituting unfair competition under Business and

                        27    Professions Code sections 17200, et seq.;

                        28   Ill

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                    1            5.    For an award of unpaid wages, including regular wages, minimum, and overtime

                    2   wages to the extent permissible by law to each affected person;

                    3           6.     For penalties to the extent pennitted pursuant to the Labor Code, and Orders of

                    4   the Industrial Welfare Commission including, but not limited to, waiting time penalties under

                    5   Labor Code section 203, and penalties under Labor Code section 226(e);

                    6            7.    For an award of penalties incurred under sections 210, 226.3, 226(e), and 1174.5

                    7   per underpaid employee pursuant to Labor Code sections 210, 226(e), 226.3, and 1174.5;

                    8            8.    For the remedies provided by Labor Code section 233 including reasonable

                    9   attorneys' fees;

                   10            9.    For an award of liquidated damages to the extent pennissible by Labor Code
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                   11   section 1194.2;

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                   12            10.   For penalties incurred under Labor Code section 1197.1 for each underpaid
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                   13   employee per pay period for which the employee was underpaid;
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               14                11.   For pre- and post-judgment interest to the extent pern1itted by law including, but
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         U'l ·-    15   not limited to, Labor Code sections 218.6 and 1194;
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                   16            12.   For reimbursement of all necessary expenses incmTed in direct consequence of
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                   17   the discharge of duties;

                   18            13.   For an award of actual damage-sf compensatory damages, statutory damages and

                   19   penalties, for acts constituting an invasion of privacy, in an amount to be detennined;

                   20            14.   For an award of punitive damages;

                   21            15.   For damages pursuant to Civil Code sections 1708.8, et seq.;

                   22            16.   For paid sick pay leave provided by local ordinances;

                   23            17.   For reasonable attorneys' fees and cost of suit and, to the extent permitted by

                   24   law, including pursuant to Labor Code sections 218.5, 226, 226(h), 1194, and Code of Civil

                   25   Procedure section 1021.5;

                   26            18.   Determine the appropriate remedy to compensate Plaintiffs, Plaintiff Class, and

                   27   Subclass members, as required to promote fairness and justice, including but not limited to

                   28   establishing procedures for compensation, and fluid recovery if appropriate;

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                 1              19. Prejudgment Interest; and
                 2              20. Any other relief as this Court deems proper.
                 3
                 4   Dated: March 20, 2019                            COHELAN KHOURY & SINGER

                 5

                 6                                                             Michael D. Singer, Esq.
                                                                               Maiia Manus, Esq.
                 7                                                    Attorneys for Plaintiffs MICHAEL RAZIANO,
                                                                      BRIAN TRAISTER, ai1d CHRIS VALDEZ, on
                 8
                                                                      behalf of themselves a11d all others similarly
                                                                       .
                                                                      situate d 41
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                10                                   DEMAND FOR JURY TRIAL
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                11            Plaintiffs demand a jury trial of all claims triable as of right by jury.

                12   Dated: March 20, 2019                            COHELAi"\" KHOURY & SINGER
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iz                                                                            Michael D. Singer, Esq.
::i   .J'
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       .,                                                                     Marta Ma11us~ Esq.
~~-~ 15                                                               Attorneys for Plaintiffs MICHAEL RAZIANO,
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        .,
                                                                      BRJAN TRAISTER, a11d CHRIS VALDEZ, on
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                                                                      behalf of themselves and all others similai·ly
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                     EXHIBIT 2
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                                               COHELAN KHOURY & SINGER
                                                  A PARTNERSHIP OF PROFESSIONAL LAW CORPORATIONS


TIMOTHY D. COHELAN, APLC*                                   ATTORNEYS AT LAW                       JEFF GERACI
ISAM C. KHOURY, APC                                                                                J. JASON HILq
DIANA M. KHOURY, APC                                   605 "C" STREET, SUITE 200                   MARTA MANUS
MICHAEL D. SINGER, APLC •                          SAN DIEGO, CALIFORNIA 92101-5305                KRISTINA DE LA ROSA

(*Also admitted in the District of Columbia)            Telephone: (619) 595-3001                  {t Also admitted in Illinois)
(•Also admitted in Colorado)                             Facsimile: (619) 595-3000

                                                                www.ckslaw.com

                                                           December 3, 2019

            NOTICE VIA ONLINE SUBMISSION

            California Labor and Workforce Development Agency

            VIA CERTIFIED U.S. MAIL WITH RETURN RECEIPT
            Albertson's LLC
            c/o Jeffrey K. Brown, Esq.
            Ray E. Boggess, Esq.
            Tyler B. Runge, Esq.
            PAYNE & FEARS LLP
            4 Park Plaza, Suite 1100
            Irvine, CA 92614

            Re:         Amended Notice of Labor Code Violations Pursuant to Labor Code Section 2699.3
                        LWDA Case No. LWDA-CM-677685-19

            Dear PAGA Administrator and Albertson's LLC:

                   This letter shall serve as Chris Valdez, Michael Raziano, and Brian Traister's
            ("Claimants") Amended Notice pursuant to the California Private Attorneys General Act
            ("PAGA"), California Labor Code sections 2698, et seq., and supplements the previous notice
            with additional facts and theories supporting allegations of the Labor Code violations committed
            by Claimants' employer Albertson's, LLC ("Defendant" or "Albertson's"). Claimants
            incorporate all other facts and theories alleged in their notice submitted on March 20, 2019
            (LWDA Case No. LWDA-CM-677685-19), a true and correct copy of which is attached as
            Exhibit A, as though set forth fully herein.

                                                    FACTUAL STATEMENT

                   Claimants are employed by Albertson's as transportation drivers, classified as non-
            exempt employees and paid on an hourly basis. For reasons set forth herein, Claimants allege the
            following additional violations of the California Labor Code and the applicable IWC Wage
            Order on behalf of themselves and all other aggrieved employees of Defendant.

                    Claimants allege that Defendant fail to pay Claimants and other aggrieved employees all
            wages due, including regular and minimum wages for all hours worked, including hours worked
            off-the-clock prior to shift start times. Per Defendant's written policy, drivers must report to
            work 15 minutes prior to the shift start time to pick their daily delivery run. However, drivers
            cannot clock in until 2 minutes prior to their shift start time. Defendant's time clock then rounds
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  CA Labor & Workforce Development Agency
  Albertson's LLC
  December 3, 2019
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  the clock in time up to the shift start time. Defendant pays drivers based on the shift times and
  does not pay any wages for the 15 minutes prior to the shift start time, during which drivers are
  under the control of the employer and working in the dispatch office picking their daily delivery
  run. Accordingly, Defendant fails to pay all wages due, including regular and/or minimum
  wages, for all hours worked.

          Accordingly, Claimants now seek civil penalties on behalf of themselves and other
  aggrieved employees (transportation drivers) based on the Defendant's alleged violations of the
  California Labor Code and applicable IWC Wage Orders. Claimants' claim is set forth in further
  detail below.

                FAILURE TO PAY REGULAR AND MINIMUM WAGES
          (Violation of Labor Code§§ 1194, 1194.2, 1197, 1197.1, and 1198, and the
   "Minimum Wages" and "Hours and Days of Work" Section 4 of the Applicable Wage Orders)

         Labor Code section 1194(a) states: "Notwithstanding any agreement to work for a lesser
  wage, any employee receiving less than the legal minimum wage or the legal overtime
  compensation applicable to the employee is entitled to recover in a civil action the unpaid
  balance of the full amount of this minimum wage or ove1iime compensation, including interest
  thereon, reasonable attorney's fees, and costs of suit."

          Labor Cude section 1194.2 states: "In any action under Section 98, 1193.6, 1194, or
  1197 .1 to recover wages because of the payment of a wage less than the minimum wage fixed by
  an order of the commission or by statute, an employee shall be entitled to recover liquidated
  damages in an amount equal to the wages unlawfully unpaid and interest thereon."

        Labor Code section 1197 states: "The minimum wage for employees fixed by the
  commission is the minimum wage to be paid to employees, and the payment of a less wage than
  minimum wage so fixed is unlawful."

          Labor Code section 1198 states: "The maximum hours of work and the standard
  conditions of labor fixed by the commission shall be the maximum hours of work and the
  standard conditions of labor for employees. The employment of any employee for longer hours
  than those fixed by the order or m1der conditions oflabor prohibited by the order is unlawful."

          Pursuant to the "Minimum Wages" and "Hours & Days of Work" Sections of the
  applicable Wage Orders, an employer may not pay employees less than the applicable minimum
  wage for all hours worked and provides that an employer may not pay non-exempt employees
  less than the applicable overtime rate for all overtime hours worked.

          Claimants allege that Defendant fails to pay them and other aggrieved employees regular
  and/or minimum wages for all hours worked, in violation of California law. Defendant's written
  policy requires drivers, including Claimants and other aggrieved employees, to report to work 15
  minutes prior to the shift start time to pick their daily delivery route. Claimants allege that
  Defendant does not pay any wages for hours worked during the 15 minutes worked prior to the
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  CA Labor & Workforce Development Agency
  Albertson's LLC
  December 3, 2019
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  shift start time. Defendant pays drivers based on the shift times and does not pay any wages for
  the 15 minutes prior to the shift start time, during which drivers are under the control of the
  employer and working in the dispatch office picking their daily delivery rnn. Defendant does not
  allow drivers, including Claimants and other aggrieved employees, to clock in for their shift until
  2 minutes prior to the shift start time. Therefore, drivers work for at least 15 minutes off-the-
  clock prior to each shift. As a result, although Claimants and other aggrieved employees are
  suffered or permitted to work for Defendant and are required to report to the work premises 15
  minutes prior to their shift, they are not paid any wages, including regular or minimun1 wages,
  for these hours worked.

         Claimants intend to seek civil penalties pursuant to the PAGA for the alleged violation of
  California law on behalf of themselves and all other aggrieved employees in the state of
  California.

                                          CONCLUSION

          The facts and claims contained herein are based on the information available at the time
  of this writing. Claimants reserve the right to revise these facts and/or add any new claims by
  amending the claim letter or by adding applicable causes of action in the complaint for damages.




  cc: (via email only)
  Roger Carter, Esq. (roger@carterlawfirm.net)
  Mai-c H. Phelps, Esq. (Marc(al,phelpslawgroup.com)
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                     EXHIBIT 3
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                                                   A PARTNERSHIP OF PROFESSIONAL LAW CORPORATIONS


TIMOTHY D. COHELAN, APLC*                                    ATTORNEYS AT LAW                       JEFF GERACI
ISAM C. KHOURY, APC                                                                                 J. JASON HILL†
DIANA M. KHOURY, APC                                    605 “C” STREET, SUITE 200                   MARTA MANUS
MICHAEL D. SINGER, APLC x                           SAN DIEGO, CALIFORNIA 92101-5305                KRISTINA DE LA ROSA

(*Also admitted in the District of Columbia)             Telephone: (619) 595-3001                  († Also admitted in Illinois)
(xAlso admitted in Colorado)                              Facsimile: (619) 595-3000

                                                                 www.ckslaw.com

                                                           December 20, 2019

            NOTICE VIA ONLINE SUBMISSION

            California Labor and Workforce Development Agency

            VIA CERTIFIED U.S. MAIL WITH RETURN RECEIPT
            Albertson’s LLC
            c/o Jeffrey K. Brown, Esq.
            Ray E. Boggess, Esq.
            Tyler B. Runge, Esq.
            PAYNE & FEARS LLP
            4 Park Plaza, Suite 1100
            Irvine, CA 92614

            Re:          Amended Notice of Labor Code Violations Pursuant to Labor Code Section 2699.3
                         LWDA Case No. LWDA-CM-677685-19

            Dear PAGA Administrator and Albertson’s LLC:

                   This letter shall serve as Chris Valdez, Michael Raziano, and Brian Traister’s
            (“Claimants”) Second Amended Notice pursuant to the California Private Attorneys General Act
            (“PAGA”), California Labor Code sections 2698, et seq., and supplements the previous notices
            with additional facts and theories supporting allegations of the Labor Code violations committed
            by Claimants’ employer Albertson’s, LLC (“Defendant” or “Albertson’s”). Claimants
            incorporate all other facts and theories alleged in their notice submitted on March 20, 2019
            (LWDA Case No. LWDA-CM-677685-19), a true and correct copy of which is attached as
            Exhibit A, and their Amended Notice submitted on December 3, 2019, a true and correct copy of
            which is attached as Exhibit B, as though set forth fully herein.

                                                     FACTUAL STATEMENT

                   Claimants are employed by Defendant as transportation drivers, classified as non-exempt
            employees and paid on an hourly basis. For reasons set forth herein, Claimants allege the
            following additional violations of the California Labor Code and the applicable IWC Wage
            Order on behalf of themselves and all other aggrieved employees of Defendant.

                   Claimants allege that Defendant failed to pay Claimants and other aggrieved employees
            all wages due, including reporting time pay, in violation of Labor Code sections 218 and 1199
            and the section 5(A) of the applicable IWC Wage Order. Claimants allege that Defendant
            scheduled part-time employees for “call-in” shifts, requiring employees to call into work each
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   Albertson’s LLC
   December 20, 2019
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   day daily to determine if they were scheduled to work the following day. Defendant would
   discipline employees if employees failed to call in each evening. Claimants allege that
   Defendant’s uniform policy results in violations of the Labor Code because employees’ time is
   unduly restricted by the requirement to call into work daily at 10:30 p.m. These on-call shifts
   burden employees by limiting their ability to engage in other activities, but nonetheless receiving
   no compensation from Defendant unless they are ultimately put on the schedule to work.
   Aggrieved employees were not paid any wages, including regular and/or minimum wages or
   reporting time pay, as required under California law.

           Accordingly, Claimants now seek civil penalties on behalf of themselves and other
   aggrieved employees (transportation drivers) based on the Defendant’s alleged violations of the
   California Labor Code and applicable IWC Wage Orders. Claimants’ claim is set forth in further
   detail below.

                          FAILURE TO PAY REPORTING TIME PAY
     (Violation of Labor Code §§ 218, 1199, 2698 and Section 5(A) of the applicable IWC Wage)

            Labor Code section 218 states: “Nothing in this article shall limit the authority of the
   district attorney of any county or prosecuting attorney of any city to prosecute actions, either
   civil or criminal, for violations of this article or to enforce the provisions thereof independently
   and without specific direction of the division. Nothing in this article shall limit the right of any
   wage claimant to sue directly or through an assignee for any wages or penalty due him under this
   article.”

           Labor Code section 1199 states: “Every employer or other person acting either
   individually or as an officer, agent, or employee of another person is guilty of a misdemeanor
   and is punishable by a fine of not less than one hundred dollars ($100) or by imprisonment for
   not less than 30 days, or by both, who does any of the following:

          (a) Requires or causes any employee to work for longer hours than those fixed, or under
   conditions of labor prohibited by an order of the commission.

          (b) Pays or causes to be paid to any employee a wage less than the minimum fixed by an
   order of the commission.

          (c) Violates or refuses or neglects to comply with any provision of this chapter or any
   order or ruling of the commission.

          Section 5(A) of the applicable IWC Wage Order states, “Each workday an employee is
   required to report to work and does report, but is not put to work or is furnished less than half
   said employee’s usual or scheduled day’s work, the employee shall be paid for half the usual or
   scheduled day’s work, but in no event for less than two (2) hours nor more than four (4) hours, at
   the employee’s regular rate of pay, which shall not be less than the minimum wage.
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           As detailed above, Claimants allege that Defendant violated California law and the
   applicable IWC wage order by failing to pay all wages due, including reporting time pay.
   Defendant failed to comply with Labor Code sections 218 and 1199 and section 5(A) of the
   applicable IWC Wage Order by requiring employees to call in each evening before a potential
   shift to learn whether the employee is needed for work and the employee is not told to come to
   work the following day. Defendant’s on-call system leaves employees who are willing to work
   uncompensated and limits the employees’ ability to schedule other potential activities, including
   other jobs and social plans. As such, Claimants allege that Defendant’s employees who are
   subject to the on-call scheduling system must be compensated with reporting time pay when
   employees are required to call Defendant each evening and not provided work.

          Accordingly, Claimants now seek civil penalties on behalf of themselves and other
   aggrieved employees based on the Defendant’s alleged violations of the California Labor Code
   and applicable IWC Wage Orders.

                                           CONCLUSION

           The facts and claims contained herein are based on the information available at the time
   of this writing. Claimants reserve the right to revise these facts and/or add any new claims by
   amending the claim letter or by adding applicable causes of action in the complaint for damages.


                                                       Respectfully submitted,
                                                       COHELAN KHOURY & SINGER



                                                       Marta Manus
                                                             Manus, Esq
                                                                    Esq.


   cc: (via email only)
   Roger Carter, Esq. (roger@carterlawfirm.net)
   Marc H. Phelps, Esq. (Marc@phelpslawgroup.com)
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                    EXHIBIT A
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                                               COHELAN KHOURY & SINGER
                                                   A PARTNERSHIP OF PROFESSIONAL LAW CORPORATIONS


TIMOTHY D. COHELAN, APLC*                                    ATTORNEYS AT LAW                         JEFF GERACI ∆
ISAM C. KHOURY, APC                                                                                   J. JASON HILL†
DIANA M. KHOURY, APC                                    605 “C” STREET, SUITE 200                     MARTA MANUS
MICHAEL D. SINGER, APLC x                           SAN DIEGO, CALIFORNIA 92101-5305                  KRISTINA DE LA ROSA

(*Also admitted in the District of Columbia)             Telephone: (619) 595-3001                    († Also admitted in Illinois)
(xAlso admitted in Colorado)                              Facsimile: (619) 595-3000                   (∆ Of Counsel)

                                                                 www.ckslaw.com

                                                              March 20, 2019

                                       NOTICE OF LABOR CODE VIOLATIONS PURSUANT TO
                                                 LABOR CODE SECTION 2699.3

            NOTICE VIA ONLINE SUBMISSION (https://dir.tfaforms.net/198)

            California Labor and Workforce Development Agency

            VIA CERTIFIED U.S. MAIL WITH RETURN RECEIPT
            Albertson’s LLC                                               Albertson’s LLC
            250 E Parkcenter Blvd                                         c/o CT Corporation System
            Boise, Idaho 83706                                            818 West Seventh Street, Suite 930
                                                                          Los Angeles, California 90017

            Re:          Notice pursuant to California Labor Code sections 2698, et seq., the Private
                         Attorneys General Act (“PAGA”), sent by Chris Valdez, Michael Raziano and
                         Brian Traister on behalf of themselves and all other aggrieved employees of
                         Albertson’s LLC in the State of California, as an individual and as proposed a
                         Representative of the State of California

            Dear PAGA Administrator:

                    Pursuant to the Labor Code Private Attorneys General Act of 2004 (“PAGA”), Cal. Lab.
            Code sections 2698, et seq. (“PAGA”), Chris Valdez, Michael Raziano and Brian Traister
            (“Claimants”) intend to bring an action against Albertson’s LLC (“Defendant” or “Albertson’s”),
            individually and on behalf of all other aggrieved employees for alleged violations of Labor Code
            sections 201, 202, 203, 204, 223, 226, 233, 256, 558, 1197.1, 1194, 1198, and 2802. This letter
            serves as Claimants’ written notice pursuant to Labor Code section 2699.3(a)(A)(1) providing
            the Labor and Workforce Development Agency (hereafter “LWDA”) the opportunity to
            investigate the alleged claims contained herein.

                    If the LWDA does not intend to investigate the allege violations, Claimants intend to file
            a representative civil action for PAGA penalties on behalf of themselves and all other aggrieved
            employees of the Defendant, and shall seek penalties under the PAGA on behalf of themselves
            and all other aggrieved employees in the State of California. A copy of this notice, along with a
            courtesy copy of Claimants’ Class Action Draft Complaint, is being sent to Defendant by
            certified mail at the addresses above.
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                                     FACTUAL STATEMENT

         Claimants are employed by Albertson’s as transportation drivers, classified as non-
   exempt employees and paid on an hourly basis. Claimants allege that during their employment
   Defendant has failed to comply with the California Labor Code and section 5 of the applicable
   IWC Wage Order 7-2001 and/or Wage Order 9-2001, as detailed below.

          For reasons set forth herein, Claimants allege the following violations of the California
   Labor Code and the applicable IWC Wage Order on behalf of themselves and all other aggrieved
   employees of Defendant. Claimants allege that Defendant:

           1.     Failed to pay Claimants and other aggrieved employees all wages due, including
   reporting time pay;

         4.      Denied Claimants the right to use sick leave without the threat of discharge,
   demotion, suspension, or other manner of discrimination;

          5.      Failed to reimburse Claimants and other aggrieved employees for all reasonable
   and necessarily incurred business-related expenses;

          6.      Failed to provide accurate itemized wage statements; and

          7.      Failed to timely pay all wages upon separation of employment.

          Accordingly, Claimants now seeks civil penalties on behalf of themselves and other
   aggrieved employees based on the Defendant’s alleged violations of the California Labor Code
   and applicable IWC Wage Order. Claimants’ claims are set forth in further detail below.

                         FAILURE TO PAY REPORTING TIME PAY
   (Violation of Labor Code §§ 558, 1194, 1198, 2698 and the “Reporting Time Pay” Section of the
                                      applicable IWC Wage)

          Section 5(A) of the applicable IWC Wage Order states, “Each workday an employee is
   required to report to work and does report, but is not put to work or is furnished less than half
   said employee’s usual or scheduled day’s work, the employee shall be paid for half the usual or
   scheduled day’s work, but in no event for less than two (2) hours nor more than four (4) hours, at
   the employee’s regular rate of pay, which shall not be less than the minimum wage.

           Claimant Valdez alleges that Albertson’s scheduled its part-time non-exempt employees
   for “call-in” shifts, requiring employees such as Claimant Valdez to call into work each day daily
   to determine if they were schedule to work the following day. Claimant Valdez and other
   aggrieved employees were subject to discipline if they failed to call in each evening. Claimant
   Valdez alleges that this policy results in violations of the Labor Code because Claimant Valdez’s
   and other employees’ time is/was unduly restricted by the requirement to call into work daily at
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   10:30 p.m., but other aggrieved employees were not paid reporting time pay. These on-call shifts
   burden employees by limiting their ability to engage in other activities but nonetheless receiving
   no compensation from Albertson’s unless they are ultimately put on the schedule to work.
   Employees such as Claimant Valdez and other part-time non-exempt employees were not paid
   any wages, including regular and/or minimum wages for reporting time pay, as required under
   California law. Claimant Valdez intends to pursue remedies pursuant to the PAGA for the
   alleged violation on behalf of himself and all other aggrieved employees in the state of
   California.

     DENIAL OF RIGHT TO USE SICK LEAVE WITHOUT THREAT OF DISCIPLINE
                            AND/OR DISCHARGE
                              (Labor Code §§ 233)

           Labor Code section 233(c) states, “An employer shall not deny an employee the right to
   use sick leave or discharge, threaten to discharge, demote, suspend, or in any manner
   discriminate against an employee for using, or attempting to exercise the right to use, sick leave
   to attend to an illness or the preventive care of a family member, or for any other reason
   specified in subdivision (a) of Section 246.5.” Per subdivision (d), “Any employee aggrieved by
   a violation of this section shall be entitled to reinstatement and actual damages or one day’s pay,
   whichever is greater, and to appropriate equitable relief.”

           Defendant failed to comply with Labor Code 233 by implementing a policy and
   procedure whereby Claimants and other aggrieved employees were discipline for using accrued
   sick days. Employees such as Claimants are intimidated, disciplined and/or fact continuing threat
   of discipline for exercising their right to take accrued sick days. Albertson’s issues (and/or
   threatens to issue) “occurrences” to any driver who is too sick to operate a commercial vehicle,
   or is too fatigued to continue his/her shift and uses their sick leave to take time off from work.

          Accordingly, Claimants will pursue all remedies, including recovery of wages, interest,
   attorneys’ fees and costs, penalties and those provided by the PAGA, to the extent allowed by
   law, on behalf of themselves and other aggrieved employees of Defendant.

               FAILURE TO REIMBURSE BUSINESS-RELATED EXPENSES
             (Labor Code § 2802, and the “Tools and Equipment” section of the applicable IWC
                                           Wage Order)

          Labor Code section 2802(a) provides that “[a]n employer shall indemnify his or her
   employee for all necessary expenditures or losses incurred by the employee in direct
   consequence of the discharge of his or her duties, or of his or her obedience to the directions of
   the employer, even though unlawful, unless the employee, at the time of obeying the directions,
   believed them to be unlawful.”

           Labor Code section 2802(c) states that “[f]or purposes of [2802], the term “necessary
   expenditures or losses” shall include all reasonable costs, including, but not limited to attorney’s
   fees incurred by the employee enforcing the rights granted by [2802].”
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          Section 9(b) of the applicable IWC Wage Order states in pertinent part: “When tools or
   equipment are required by the employer or are necessary to the performance of a job, such tools
   and equipment shall be provided and maintained by the employer.”

           Labor Code section 2802 prohibits employers, such as Defendant, from shifting their cost
   of doing business onto the employee. California Labor Code section 2802 states that employers
   must “indemnify” an employee for “all necessary expenditures or losses incurred by the
   employee in direct consequence of the discharge of his or her duties, or of his or her obedience to
   the directions of the employer.” This means that if the expense in question is “necessary” for
   performance of the job, the employer must reimburse the employee 100% of the cost. An
   expense is considered “necessary” if it directly results from the employee’s performance of his or
   her work duties. An expense is also “necessary” if it occurs because the employee is following
   the directions given by the employer.

           Defendant failed to comply with Labor Code section 2802 and the applicable IWC Wage
   Order by failing to reimburse Claimants and other aggrieved employees for necessary business-
   related expenses incurred in direct consequence of the discharge of their duties. Specifically,
   Defendant failed to reimburse Claimants and all other aggrieved employees for all business
   expenses including for layovers by limiting the reimbursement to $80 for every twenty-four (24)
   hour period of time regardless of the fact the business expenses incurred on layovers were
   typically over $80 per 24-hour period. Furthermore, Defendant failed to reimburse Claimant and
   other aggrieved employees for traffic and speeding tickets incurred while on-duty and
   performing work for Defendant. Therefore, Claimants intend to pursue remedies pursuant to the
   PAGA for the alleged violation on behalf of themselves and all other aggrieved employees in the
   state of California.

             FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
           (Labor Code §§ 226(a), 226.3, 1198, 2699, and the “Records” Section of the applicable
                                        IWC Wage Order)

           Labor Code section 226(a) states in pertinent part that every employer shall provide an
   accurate itemized statement in writing with respect to each one of its employees showing: 1)
   gross wages earned; 2) total hours worked by an employee, except for any employee whose
   compensation is solely based on a salary and who is exempt from payment of overtime under
   subdivision (a) of Section 515 or any applicable order of the Industrial Welfare Commission; (3)
   the number of piece rate units earned and any applicable piece rate if the employee is paid on a
   piece-rate basis; (4) all deductions, provided that all deductions made on written orders of the
   employee may be aggregated and shown as one item; (5) net wages earned; (6) the inclusive
   dates of the period for which the employee is paid; (7) the name of the employee and the last
   four digits of his or him social security number or an employee identification number other than
   a social security number; (8) the name and address of the legal entity that is the employer…; and
   (9) all applicable hourly rates in effect during the pay period and the corresponding number of
   hours worked at each hourly rate by the employee.
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   Albertson’s LLC
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           Furthermore, Labor Code section 226(e)(2)(A) states: “An employee is deemed to suffer
   injury for purposes of this subdivision if the Employer fails to provide a wage statement.”

           Labor Code section 226.3 imposes an additional civil penalty on the Employers of
   $250.00 per employee per violation of Labor Code section 226(a) in an initial citation and
   $1,000.00 per employee for each violation in a subsequent citation. In addition, Labor Code
   section 226(e) imposes a penalty of the greater of all actual damages or $50 for the initial pay
   period in which a violation occurs and $100 per employee for each violation in a subsequent pay
   period, not exceeding an aggregate penalty of $4,000, and Claimants are entitled to an award of
   costs and reasonable attorney’s fees.

           Defendant failed to provide Claimants with itemized wage statements complying with the
   requirements of the Labor Code and applicable IWC Wage Order. Claimants did not receive
   wage statements which included accrued sick pay, all wages due for reporting time pay, and all
   deductions and all rates paid. Claimants will pursue all remedies, including recovery of wages,
   interest, attorneys’ fees and costs, penalties and those provided by the PAGA, to the extent
   allowed by law, on behalf of themselves and other aggrieved employees of Defendant.

                       FAILURE TO TIMELY PAY WAGES DUE DURING
                        AND UPON TERMINATION OF EMPLOYMENT
                       (Labor Code §§ 201, 202, 203, 204, 256, 1198, and 2699)

           Labor Code section 204(a) states, in pertinent part, “All wages . . . earned by any person
   in any employment are due and payable twice during each calendar month, on days designated in
   advance by the Employer as the regular paydays.” The “Minimum Wages” Section of the
   applicable Wage Order further states “every Employer shall pay to each employee, on the
   established payday for the period involved, not less than the applicable minimum wage for all
   hours worked in the payroll period.”

           Labor Code section 201 states: “If an Employer discharges an employee, the wages
   earned and unpaid at the time of discharge are due and payable immediately.” Labor Code
   section 202 states “If an employee not having a written contract for a definite period quits his or
   her employment, his or her wages shall become due and payable not later than 72 hours
   thereafter, unless the employee has given 72 hours previous notice of his or her intention to quit,
   in which case the employee is entitled to his or her wages at the time of quitting.”

           Labor Code section 203(a) states, in relevant part: “If an Employer willfully fails to pay,
   without abatement or reduction, in accordance with Sections 201, 201.3, 201.5, 202, and 205.5,
   any wages of an employee who is discharged or who quits, the wages of the employee shall
   continue as a penalty from the due date thereof at the same rate until paid or until an action
   therefor is commenced; but the wages shall not continue for more than 30 days. An employee
   who secretes or absents himself or herself to avoid payment to his or her, or who refuses to
   receive the payment when fully tendered to his or her, including any penalty then accrued under
   this section, is not entitled to any benefit under this section for the time during which he or she so
   avoids payment.”
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   CA Labor & Workforce Development Agency
   Albertson’s LLC
   March 20, 2019
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         Labor Code section 256 states: “The Labor Commissioner shall impose a civil penalty in
   an amount not exceeding 30 day’s pay as waiting time under the terms of Section 203.”

           Defendant failed to timely pay Claimants and other aggrieved employees all wages due
   and owing during and upon termination of employment. Defendant willfully failed to pay all
   wages when required by Sections 201 and 202 of the Labor Code. Therefore, Defendant owes
   penalties to all affected employees, including Claimants. Claimants will pursue all remedies for
   Employers’ failure to pay timely wages on behalf of themselves other aggrieved employees,
   including recovery of wages, waiting time penalties, attorney’s fees, costs, and penalties to the
   extent allowed by law.

                          CIVIL PENALTIES FOR VIOLATION OF
                        THE LABOR CODE AND IWC WAGE ORDERS
                             (Labor Code §§ 558, 558.1, and 1197.1)

          Labor Code section 558 subjects any Employer or other person acting on behalf of an
   Employer who violates, or causes to be violated, a section of Part 2, Chapter 1, of the Labor
   Code or any provision regulating hours and days of work in any IWC Wage Order to a civil
   penalty in the amount of $50 for any initial violation for each pay period in which an employee is
   underpaid in addition to an amount sufficient to recover underpaid wages, and $100 for each
   subsequent violation in addition to an amount sufficient to recover underpaid wages, which shall
   be paid to each affected employee.

          Labor Code section 558.1(a) states: “Any Employer or other person acting on behalf of
   an employer, who violates, or causes to be violated, any provision regulating minimum wages or
   hours and days of work in any order of the Industrial Welfare Commission, or violates, or causes
   to be violated, Sections 203, 226, 226.7, 1193.6, 1194, or 2802, may be held liable as the
   Employer for such violation.”

           Labor Code section 1197.1 states that any Employer or other person acting either
   individually or as an officer, agent or employee of another person, which pays or causes to be
   paid to any employee a wage less than the minimum fixed by an order of the commission shall
   be subject to a civil penalty and restitution of wages payable to the employee in an amount of
   $100 for the initial violation for each pay period in which an employee underpaid in addition to
   an amount sufficient to recover underpaid wages, and $250 for each subsequent violation in
   addition to an amount sufficient to recover underpaid wages, which shall be paid to each affected
   employee.

            As set forth above, Defendant underpaid Claimants and other aggrieved employees. As a
   result, the Defendant is liable for civil penalties under Labor Code section 558. Claimants will
   pursue all remedies on behalf of themselves and other current and former employees, including
   recovery of attorney’s fees, costs, damages and penalties to the extent allowed by law.
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   CA Labor & Workforce Development Agency
   Albertson’s LLC
   March 20, 2019
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                                   DUTIES OF EMPLOYER
       (Labor Code §§ 1174, 1174.5, 1175, 2810.5, and 1198, and the Applicable Wage Order)

           Labor Code section 1174 describes certain duties of every Employer in this state.
   Subsection (d) of this labor code section requires that payroll records show the hours worked
   daily by employees and the corresponding wages to be paid for the hours worked. Employers
   violated this requirement by their failure to accurately record employee hours worked and/or
   paid including wages owed for reporting time pay. Labor Code section 1174.5 imposes a civil
   penalty of $500 for an Employer’s failure to maintain accurate and complete records. This civil
   penalty is addition to the civil penalty of $100 per pay period, per aggrieved employee that
   would be imposed pursuant to Labor Code section 2699 for a violation of Labor Code section
   1174(d). Furthermore, Claimants and all other aggrieved current and former employees are
   entitled to collect 25% of the penalty imposed pursuant to Section 2699.

           Labor Code section 2810.5 further requires an Employer to provide to each employee a
   written notice containing certain information, including rates of pay, meal or lodging allowances,
   designated payday, name of employer, physical address of the employer’s main office or
   principal place of business, contact information of the employer, and worker’s compensation
   carrier contact information. Employers entirely failed to comply with this requirement.

          Claimants will pursue all remedies on behalf of themselves and other current and former
   employees, including recovery of attorney’s fees, costs, damages and penalties to the extent
   allowed by law.

                                           CONCLUSION

           Claimants request the Labor and Workforce Development Agency (“LWDA”) initiate
   enforcement for the violations described above. If the LWDA does not pursue enforcement,
   Claimants will pursue claims for statutory penalties and will seek all remedies available for
   violations of the Labor Code and the applicable Industrial Welfare Commission Wage Orders,
   including all available penalties set forth in Labor Code section 2699(f).

                                                       Respectfully submitted,
                                                       COHELAN KHOURY & SINGER



                                                       M rta Manus,
                                                       Ma
                                                       Marta Manus Esq
                                                                    Esq.


   cc: (via email only)
   Roger Carter, Esq. (roger@carterlawfirm.net)
   Marc H. Phelps, Esq. (Marc@phelpslawgroup.com)
                    Case 2:19-cv-04373-JAK-AS Document 54 Filed 04/13/20 Page 96 of 126 Page ID #:3960



                              1   COHELAN KHOURY & SINGER
                                  Michael D. Singer (SBN 115301)
                              2   msinger@ckslaw.com
                                  Marta Manus (SBN 260132)
                              3
                                  mmanus@ckslaw.com
                              4   605 C Street, Suite 200
                                  San Diego, CA 92101
                              5   Telephone: (619) 595-3001/Facsimile: (619) 595-3000
                              6   THE CARTER LAW FIRM
                                  Roger Carter (SBN 140196)
                              7   roger@carterlawfirm.net
                                  23 Corporate Plaza Drive, Suite 150
                              8   Newport Beach, CA 92660
                              9   Telephone: (949) 254-7500/Facsimile: (949) 629-2501

                             10   THE PHELPS LAW GROUP
                                  Marc H. Phelps (SBN 237036)
                             11   Marc@phelpslawgroup.com
                                  23 Corporate Plaza Drive, Suite 150
                             12   Newport Beach, CA 92660
COHELAN KHOURY & SINGER




                             13   Telephone: (949) 629-2533/Facsimile: (949) 629-2501
   605 C Street, Suite 200
    San Diego, CA 92101




                             14   Attorneys for Plaintiffs MICHAEL RAZIANO, BRIAN TRAISTER, and CHRIS VALDEZ, on
                                  behalf of themselves and all others similarly situated
                             15

                             16                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                             17                                    COUNTY OF LOS ANGELES

                             18   MICHAEL RAZIANO, BRIAN                )         CLASS ACTION
                                  TRAISTER, and CHRIS VALDEZ, on        )         CLASS ACTION COMPLAINT
                             19                                         )
                                  behalf of themselves and all others similarly
                                                                        )         1. Failure to Pay Reporting Time Wages
                                  situated,                                          (Labor Code § 204; IWC Wage Orders 7-
                             20                                         )
                                                                        )            2001 and 9-2001, § 5);
                             21                  Plaintiff,             )         2. Failure to Reimburse Business Expenses
                                                                        )            (Lab. Code § 2802 and IWC Wage Orders
                             22                                         )
                                                                        )            7-2001 and 9-2001, § 9);
                                          v.
                             23                                         )         3. Denial of Right to Use Sick Leave Without
                                  ALBERTSON’S, LLC, a Delaware Limited )             Threat of Discipline and/or Discharge (Lab.
                             24                                         )            Code § 233);
                                  Liability Company; and DOES 1 through )
                             25   50, Inclusive,                        )         4. Failure to Provide Accurate Itemized Wage
                                                                        )            Statements (Lab. Code §§ 226(a) and 1198,
                             26                  Defendants.            )            and IWC Wage Orders 7-2001 and 9-2001,
                                                                        )            § 7);
                             27                                         )
                                                                        )         5. Failure to Timely Pay Wages Due During
                             28                                         )            Employment (Lab. Code §§ 204(a) and
                                                                        )            1198, and IWC Wage Orders 7-2001 and 9-

                                                                       Class Action Complaint
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                              1                               )        2001, § 4);
                                                              )   6.   Failure to Timely Pay Wages Due Upon
                              2                               )
                                                              )        Separation of Employment (Lab. Code §§
                              3                               )        201, 202, and 203);
                                                              )   7.   Violation of the Unfair Competition Law
                              4                               )        (Bus. & Prof. Code §§ 17200-17208);
                                                              )
                              5                               )   8.   Invasion of Privacy – Intrusion; Cal. Const.
                                                              )        Article 1, Section 1);
                              6                               )   9.   Failure to Provide Paid Sick Leave in
                                                              )        Compliance with San Diego Paid Sick
                              7                               )        Leave Ordinance and Los Angeles Paid Sick
                                                              )
                              8                                        Leave Ordinance.
                                                              )
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                              1          Plaintiffs MICHAEL RAZIANO, BRIAN TRAISTER, and CHRIS VALDEZ

                              2   (collectively, “Plaintiffs”), on behalf of themselves and all others similarly situated, complain

                              3   and allege as follows:

                              4                                                    I.
                              5                                          INTRODUCTION
                              6          1.      Plaintiffs bring this action as a Class Action pursuant to California Code of Civil

                              7   Procedure section 382 on behalf of themselves and other current and former non-exempt

                              8   transportation drivers of ALBERTSON’S, LLC and DOES 1 through 50, inclusive (collectively

                              9   “Defendants”). Plaintiffs bring this action for: unpaid compensation, including reporting time

                             10   pay; reimbursement of reasonably incurred business expenses; sick pay claims (including denial

                             11   of the right to use sick pay and violation of local ordinances); payment of wages due during and

                             12   upon termination of employment; invasion of privacy; and statutory and civil penalties, interest
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                             13   and attorneys’ fees and costs. In addition, Plaintiffs bring this action for unfair competition
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                             14   under Business and Professions Code sections 17200, et seq.

                             15                                                   II.
                             16                                   JURISDICTION AND VENUE
                             17          2.      Venue as to each Defendant is proper in this judicial district, pursuant to Code of

                             18   Civil Procedure, section 395. Defendants conduct business in Los Angeles County, California

                             19   and each Defendant is within the jurisdiction of this Court for service of process purposes. The

                             20   unlawful acts alleged have a direct effect on Plaintiffs and those similarly situated within the

                             21   State of California and Los Angeles County. Defendants employ numerous Class Members in

                             22   Los Angeles County. There is no federal question at issue, as the issues are based solely on

                             23   California statutes and law, including the Labor Code, IWC Wage Orders, Code of Civil

                             24   Procedure, Civil Code, and Business and Professions Code.

                             25          3.      Business and Professions Code, section 17203 provides that any person who

                             26   engages in unfair competition may be enjoined in any court of competent jurisdiction. Business

                             27   and Professions Code, section 17204 provides that any person, acting on his own behalf, may

                             28   bring an action in a court of competent jurisdiction.

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                              1                                                   III.
                              2                                            THE PARTIES
                              3   A.     Plaintiffs
                              4          4.      Plaintiff MICHAEL RAZIANO is a resident of the State of California employed

                              5   by Defendants in Los Angeles County as a non-exempt transportation driver.

                              6          5.      Plaintiff BRIAN TRAISTER is a resident of the State of California employed by

                              7   Defendants in Los Angeles County as a non-exempt transportation driver.

                              8          6.      Plaintiff CHRIS VALDEZ is a resident of the State of California employed by

                              9   Defendants in Los Angeles County as a non-exempt transportation driver.

                             10   B.     Defendants
                             11          7.      Defendant ALBERTSON’S, LLC is a Delaware Limited Liability Company

                             12   engaged in business throughout California and in Los Angeles County. During the Class Period,
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                             13   Defendant employed Plaintiffs and others as non-exempt transportation drivers within
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                             14   California and Los Angeles County.

                             15          8.      The true names and capacities, whether individual, corporate, associate, or

                             16   otherwise, of Defendants sued herein as DOES 1 through 50, inclusive, are currently unknown

                             17   to Plaintiffs, who therefore sue Defendants by such fictitious names under Code of Civil

                             18   Procedure section 474. Plaintiffs are informed and believe, and based on that allege, each of the

                             19   Defendants designated as a DOE is legally responsible in some manner for the unlawful acts

                             20   alleged. Plaintiffs will seek leave of court to amend this Complaint to reflect the true names and

                             21   capacities of the Defendants designated as DOES when those identities become known.

                             22          9.      Plaintiffs are informed, believe, and allege each Defendant acted in all respects

                             23   pertinent to this action as the agent of the other Defendants, carried out a joint scheme, business

                             24   plan or policy in all pertinent respects, and the acts of each Defendant are legally attributable to

                             25   the other Defendants.

                             26                                                   IV.
                             27                                     GENERAL ALLEGATIONS
                             28          10.     During all, or portions, of the Class Period, Plaintiffs and each member of the

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                              1   Plaintiff Class were employed by Defendants in the State of California.

                              2          11.     At all relevant times, Defendants had a consistent policy and practice of failing

                              3   to pay Plaintiffs and similarly-situated employees all wages due, including reporting time pay.

                              4          12.     At all relevant times, Defendants had a consistent policy and practice of failing

                              5   to reimburse Plaintiffs and similarly-situated employees for all reasonable and necessarily

                              6   inured business-related expenses, including all expenses incurred for business layovers, in

                              7   violation of California state wage and hour laws..

                              8          13.     At all relevant times, Defendants had a consistent policy and practice of denying

                              9   Plaintiffs and similarly-situated employees the right to use accrued sick leave without the threat

                             10   of discipline and/or discharge.

                             11          14.     At all relevant times, Defendants knowingly and willfully failed to provide

                             12   accurate wage statements to non-exempt employees, including Plaintiffs, which did not include,
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                             13   among other things, accrued sick time, the accurate total hours and pay for reporting time, and
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                             14   all rates of pay, or deductions made.

                             15          15.     At all relevant times, Defendants had a consistent policy and practice of failing

                             16   to timely compensate non-exempt employees, including Plaintiffs, for all wages owed during

                             17   and upon separation of employment, in violation of California state wage and hour laws.

                             18          16.     At all relevant times, Defendants required Plaintiffs and all other similarly-

                             19   situated employees to enter into an agreement allowing Defendants to install and use a camera

                             20   monitoring system called the DriveCam Video System (“DriveCam”) in their trucks at

                             21   distribution centers. Defendants intentionally misrepresented to Plaintiffs and all other

                             22   similarly-situated employees that the DriveCam would only be used when activated by the

                             23   driver or by a “triggering event” such as hard braking, swerving, or a collision. Based on

                             24   Defendants’ representations, Plaintiffs and all other similarly-situated employees had a

                             25   reasonable expectation of privacy that the DriveCam was not continuously recording at all times

                             26   while drivers were on duty but rather only recording when activated by a driver or a triggering

                             27   event. Plaintiffs and all other similarly-situated employees did not have knowledge of the fact

                             28   that the DriveCam recorded them during times other than when it was activated by a driver or a

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                              1   triggering event. In fact, the DriveCam recorded numerous private conversations between

                              2   Plaintiffs and other individuals including private and personal conversations with family

                              3   members. Defendants intentionally recorded, visually and audibly, Plaintiffs and all other

                              4   similarly-situated employees without their knowledge or consent in a manner which would be

                              5   highly offensive to a reasonable person, including Plaintiffs and all other similarly-situated

                              6   employees.

                              7          17.     At all relevant times, Plaintiffs and the other similarly-situated employees

                              8   performed work within the geographical boundaries of the City of San Diego and were therefore

                              9   entitled to be paid earned sick leave pursuant to San Diego County’s Earned Sick Leave and

                             10   Minimum Wage Ordinance (“SDO”). Defendants failed to comply with the requirements of the

                             11   SDO by failing to provide its employees with earned sick leave. See SDO Chapter 3, Article 9,

                             12   Division 1. Specifically, Defendants uniformly failed to provide Plaintiffs and other similarly-
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                             13   situated employees with paid earned sick leave in compliance with the SDO.
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                             14          18.     At all relevant times, Plaintiffs and other similarly-situated employees performed

                             15   work within the geographical boundaries of the City of Los Angeles and were therefore entitled

                             16   to earned sick leave pursuant to Los Angeles Minimum Wage and Paid Sick Leave Ordinance,

                             17   Los Angeles Municipal Code, Article 7 Section 187.04 (“LAO”). Defendants failed to comply

                             18   with the requirements of the LAO by failing to provide employees with earned sick leave.

                             19   Specifically, Defendants uniformly failed to provide Plaintiffs and other similarly-situated

                             20   employees with paid earned sick leave in compliance with the LAO.

                             21          19.     Plaintiffs, on behalf of themselves and all similarly-situated employees in the

                             22   State of California, bring this action pursuant to Labor Code sections 201, 202, 203, 204(a),

                             23   210, 218.5, 218.6, 226(a), 226(h), 226.3, 233, 510, 512, 1174(d), 1174.5, 1194, 1194.2, 1197,

                             24   1197.1, 1198, and 2802, seeking unpaid wages, expense reimbursement, penalties, equitable

                             25   relief, and reasonable attorneys’ fees and costs.

                             26          20.      Plaintiffs, on behalf of themselves and all similarly-situated employees in the

                             27   State of California, bring this action pursuant to Business and Professions Code sections 17200-

                             28   17208, seeking injunctive relief, restitution, and disgorgement of all benefits obtained by

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                              1   Defendants by failing to pay all wages owed.

                              2                                                   V.
                              3                                 CLASS ACTION ALLEGATIONS
                              4          21.     Plaintiffs bring this action on behalf of themselves and all similarly-situated

                              5   current and former employees of Defendants as a Class Action pursuant to Code of Civil

                              6   Procedure section 382. The Class and Subclasses Plaintiffs seek to represent are defined as:

                              7                  Plaintiff Class

                              8                  All non-exempt transportation drivers employed by Defendants in
                                                 the State of California at any time since the four years preceding
                              9                  the filing of this Complaint.

                             10          22.     Plaintiffs seek to certify a Subclass of employees defined as:

                             11                  Reporting Time Subclass
                                                 All Plaintiff Class Members who were required to call in each day,
                             12
                                                 but were not put to work and were not furnished at least half of the
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                             13                  usual day’s work or at least two hours, at their regular rate of pay.
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                             14          23.     Plaintiffs seek to certify a Subclass of employees defined as:

                             15                  Unreimbursed Business Expense Subclass

                             16                  All Plaintiff Class Members who were not reimbursed for
                                                 business-related expenses incurred in the discharge of duties for
                             17                  Defendants.

                             18          24.     Plaintiffs seek to certify a Subclass of employees defined as:

                             19                  Wage Statement Subclass

                             20                  All members of the proposed Plaintiff Class who, within one year
                                                 of the filing of the Complaint, received one or more itemized wage
                             21                  statements that did not include accrued sick time, and/or all wages
                                                 due for reporting time pay, and/or the applicable rates of pay for
                             22                  time worked, and/or any deductions taken.
                             23          25.     Plaintiffs seek to certify a Subclass of employees defined as:

                             24                  Waiting Time Penalty Subclass
                                                 All Plaintiff Class Members whose employment ended at any time
                             25                  during the three years preceding the filing of this Complaint.
                             26          26.     Plaintiffs seek to certify a Subclass of employees defined as:

                             27                  UCL Subclass

                             28                  All members of the proposed Plaintiff Class who were subject to
                                                 Defendants’ pay practices relating to failure to pay reporting time
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                              1                  pay, failure to reimburse all business-related expenses, denial of
                                                 the right to use sick leave without the threat of discipline and/or
                              2                  discharge, and failure to timely pay all wages due at separation of
                                                 employment.
                              3

                              4          27.     Plaintiffs reserve the right under Rule 3.765(b), California Rules of Court, to

                              5   amend or modify the Plaintiff Class and Subclass descriptions with greater specificity or to

                              6   provide further division into subclasses or limitation to particular issues.

                              7          28.     This action has been brought and may be maintained as a class action pursuant to

                              8   Code of Civil Procedure section 382 because there is a well-defined common interest of many

                              9   persons and it is impractical to bring them all before this Court.

                             10          29.     Ascertainable Class: The proposed Plaintiff Class and Subclasses are

                             11   ascertainable because they can be identified and located using Defendants’ payroll and

                             12   personnel records.
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                             13          30.     Numerosity: The potential members of the Plaintiff Class and Subclasses,
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                             14   defined above, are so numerous that joinder of all members would be unfeasible and

                             15   impractical. The disposition of their claims through this class action will benefit both the parties

                             16   and this Court. The number of members of the Plaintiff Class and Subclasses is unknown to

                             17   Plaintiffs, but is estimated to be in excess of 100 individuals. The number and identity of

                             18   members can be readily ascertained using Defendants’ records.

                             19          31.     Typicality: The claims of Plaintiffs are typical of the claims of all members of

                             20   the Plaintiff Class and Subclasses because all members of the Plaintiff Class and Subclasses

                             21   sustained similar injuries and damages arising out of Defendants’ common course of conduct in

                             22   violation of law and the injuries and damages of all members of the Plaintiff Class and

                             23   Subclasses were caused by Defendants’ wrongful conduct in violation of law, as alleged.

                             24          32.     Adequacy: Plaintiffs will adequately and fairly protect the interests of the

                             25   members of the Plaintiff Class. Plaintiffs have no interest adverse to the interests of absent Class

                             26   Members. Plaintiffs are represented by attorneys with substantial wage-and-hour and class

                             27   action law experience.

                             28          33.     Superiority: A class action is superior to other available means for fair and

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                              1   efficient adjudication of the claims of the Plaintiff Class and would be beneficial for the parties

                              2   and the Court. Class action treatment will allow a large number of similarly-situated persons to

                              3   prosecute their common claims in a single forum, simultaneously, efficiently, and without the

                              4   unnecessary duplication of effort and expense numerous individual actions would require. The

                              5   damages suffered by each Plaintiff Class Member are relatively small in the sense pertinent to

                              6   class action analysis, and the expense and burden of individual litigation would make it

                              7   extremely difficult or impossible for individual Plaintiff Class Members to seek and obtain

                              8   individual relief. A class action will serve an important public interest by permitting such

                              9   individuals to effectively pursue recovery of sums owed to them. Class litigation also prevents

                             10   the potential for inconsistent or contradictory judgments raised by individual litigation.

                             11          34.     The predominating common questions of law and fact include, without

                             12   limitation:
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                             13          a.      Whether Defendants compensated Plaintiff Class Members for all hours worked,
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                             14                  including reporting time;

                             15          b.     Whether Defendants reimbursed Plaintiff Class Members for all business-related

                             16                  expenses incurred in the discharge of duties pursuant to Labor Code section

                             17                  2802;

                             18          c.      Whether Defendants denied Plaintiff Class Members the right to use accrued sick

                             19                  leave without the threat of discipline and/or discharge pursuant to Labor Code

                             20                  section 233;

                             21          d.     Whether Defendants invaded the privacy of Plaintiff Class Members via the

                             22                  method of installation and operation of cameras in their trucks;

                             23          e.     Whether Defendants maintained accurate records for Plaintiff Class Members

                             24                  pursuant to Labor Code section 1174(d) and section 7 of the applicable IWC

                             25                  Wage order;

                             26          f.      Whether Defendants provided Plaintiff Class Members with accurate itemized

                             27                  wage statements pursuant to Labor Code section 226;

                             28          g.     Whether Defendants timely paid wages due during employment pursuant to

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                              1                   Labor Code sections 204(a) and 1198;

                              2          h.      Whether Defendants timely paid wages due upon separation of employment

                              3                   pursuant to Labor Code sections 201-202;

                              4          i.      Whether Defendants violated sections 17200, et seq. of the Business and

                              5                   Professions Code; Labor Code sections 226 and 1194; IWC Wage Orders 7-2001

                              6                   and 9-2001, and other applicable IWC Wage Orders which constitutes a violation

                              7                   of fundamental public policy;

                              8          h.       Whether Plaintiff Class and Subclass Members are entitled to equitable relief

                              9                   pursuant to Business and Professions Code, sections 17200, et seq.

                             10                                                   VI.
                             11                                        CAUSES OF ACTION
                             12                                FIRST CAUSE OF ACTION
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                                                          Failure to Pay Reporting Time Wages
                             13
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                                                      [Labor Code § 204; IWC Wage Order 9-2001, § 5]
                             14         (Plaintiff VALDEZ and the Reporting Time Subclass Against Each Defendant)

                             15          35.      Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.

                             16          36.      Wage Order 9(5)(A) provides as follows:

                             17                   Each workday an employee is required to report for work and does report,
                                                  but is not put to work or is furnished less than half of said employer’s
                             18                   usual or scheduled day’s work, the employee shall be paid for half the
                                                  usual or scheduled day’s work, but in no event for less than two (2) hours
                             19
                                                  nor more than four (4) hours, at the employees’ regular rate of pay, which
                             20                   shall not be less than the minimum wage.

                             21               37. Labor Code section 204(a) states: “All wages, other than those mentioned in

                             22   Section 201, 201.3, 202, 204.1, or 204.2, earned by any person in any employment are due and

                             23   payable twice during each calendar month, on days designated in advance by the employer as

                             24   the regular paydays. Labor performed between the 1st and 15th days, inclusive, of any calendar

                             25   month shall be paid for between the 16th and the 26th day of the month during which the labor

                             26   was performed, and labor performed between the 16th and the last day, inclusive, of any

                             27   calendar month, shall be paid for between the 1st and 10th day of the following month.

                             28   However, salaries of executive, administrative, and professional employees of employers

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                              1   covered by the Fair Labor Standards Act, as set forth pursuant to Section 13(a)(1) of the Fair

                              2   Labor Standards Act, as amended through March 1, 1969, in Part 541 of Title 29 of the Code of

                              3   Federal Regulations, as that part now reads or may be amended to read at any time hereafter,

                              4   may be paid once a month on or before the 26th day of the month during which the labor was

                              5   performed if the entire month’s salaries, including the unearned portion between the date of

                              6   payment and the last day of the month, are paid at that time.”

                              7          38.     Plaintiff VALDEZ and other part-time employees were scheduled for call-in

                              8   shifts and required to report to work by calling in each day to determine whether they were

                              9   scheduled to work the following day. If the workload did not support their presence, Plaintiff

                             10   VALDEZ and other part-time employees did not receive at least two hours pay at their regular

                             11   rate of pay, or half of the usually-scheduled shift in pay at their regular rate. Although

                             12   Defendants required Plaintiff VALDEZ and other part-time employees to report to work by
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                             13   calling in each day to determine whether they were scheduled to work the following day.
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                             14   Defendants failed to pay any wages for this reporting time. These on-call shifts burden Plaintiff

                             15   VALDEZ and other part-time employees by limiting their time and availability for other

                             16   activities but nonetheless receiving no compensation from Defendants unless they are ultimately

                             17   called in to work.

                             18          39.     By their failure to pay hourly wages for reporting time, Defendants willfully

                             19   violated provisions of Labor Code section 204, and section 5 of IWC Wage Orders 7-2001 and

                             20   9-2001.

                             21          40.     Defendants’ unlawful acts deprived Plaintiff VALDEZ and the Plaintiff Class

                             22   and the Reporting Time Subclass he seeks to represent of hourly wages in amounts to be

                             23   determined at trial, and they are entitled to recover such amounts, plus interest, attorneys’ fees,

                             24   and costs.

                             25          41.     Plaintiff VALDEZ, on behalf of himself and members of the Reporting Time

                             26   Subclass, requests relief as described below.

                             27   ///

                             28   ///

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                              1                               SECOND CAUSE OF ACTION
                                                     FAILURE TO REIMBURSE BUSINESS EXPENSES
                              2
                                          [Labor Code § 2802 and the § 9 of IWC Wage Orders 7-2001 and 9-2001]
                              3    (Plaintiffs and the Unreimbursed Business Expenses Subclass Against Each Defendant)

                              4          42.     Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.
                              5          43.     Labor Code section 2802(a) provides that “[a]n employer shall indemnify his or
                              6   her employee for all necessary expenditures or losses incurred by the employee in direct
                              7   consequence of the discharge of his or her duties, or of his or her obedience to the directions of
                              8   the employer, even though unlawful, unless the employee, at the time of obeying the directions,
                              9   believed them to be unlawful.”
                             10          44.     Through Defendants’ conduct during the applicable statutory period including,
                             11   but not limited to, the conduct alleged herein, Defendants failed to reimburse Plaintiffs and
                             12   members of the Unreimbursed Business Expenses Subclass as required by Labor Code section
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                             13   2802. Defendants required Plaintiffs and members of the Unreimbursed Business Expenses
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                             14   Subclass to pay for traffic and speeding tickets incurred while on duty and performing work for
                             15   Defendants.
                             16          45.     Defendants also did not fully reimburse Plaintiffs and members of the
                             17   Unreimbursed Business Expenses Subclass for business-related expenses incurred on layovers
                             18   of up to twenty-four (24) hours.
                             19          46.     Labor Code section 2802(c) states that “[f]or purposes of [2802], the term
                             20   “necessary expenditures or losses” shall include all reasonable costs, including, but not limited
                             21   to attorney’s fees incurred by the employee enforcing the rights granted by [2802].”
                             22          47.     IWC Wage Order 9-2001, section 9(b) states in pertinent part: “When tools or
                             23   equipment are required by the employer or are necessary to the performance of a job, such tools
                             24   and equipment shall be provided and maintained by the employer.”
                             25          48.     Plaintiffs and members of the Unreimbursed Business Expenses Subclass
                             26   suffered losses including, but not limited to, the costs of traffic and speeding tickets and costs
                             27   incurred during layovers. Plaintiffs and members of the Unreimbursed Business Expenses
                             28   Subclass incurred these costs in direct consequence of the discharge of their duties.

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                              1           49.     As a direct result of Defendants’ violations alleged herein, Plaintiffs and

                              2   members of the Unreimbursed Business Expenses Subclass have suffered, and continue to

                              3   suffer, substantial losses related to failure to be indemnified for the expenses and losses,

                              4   including the use and enjoyment of such monies, lost interest on such monies and expenses and

                              5   attorney’s fees and costs in seeking to compel Defendants to fully perform their obligations

                              6   under state law, all to their respective damage in amounts according to proof at trial and within

                              7   the jurisdictional limitations of this Court.

                              8           50.     Plaintiffs seek to recover in a civil action to the fullest extent permissible all

                              9   available remedies including but not limited to the unpaid balance of the indemnification from

                             10   Defendants’ violations, interest thereon permitted by Labor Code section 2802(b), reasonable

                             11   attorney’s fees and costs of suit, injunctive relief, declaratory relief, and any other permitted

                             12   remedies including those permitted pursuant to Labor Code section 2802 and Code of Civil
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                             13   Procedure section 1021.5.
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                             14           51.     Plaintiffs, on behalf of themselves and the members of the Unreimbursed

                             15   Business Expenses Subclass, request relief as described below.

                             16                                THIRD CAUSE OF ACTION
                                    DENIAL OF RIGHT TO USE SICK LEAVE WITHOUT THREAT OF DISCIPLINE
                             17                                  AND/OR DISCHARGE
                                                                   [Labor Code § 233]
                             18
                                               (Plaintiffs and the Plaintiff Class Against Each Defendant)
                             19        52.  Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.

                             20           53.     Labor Code section 233(c) states in pertinent part: “An employer shall not deny

                             21   an employee the right to use sick leave or discharge, threaten to discharge, demote, suspend, or

                             22   in any manner discriminate against an employee for using, or attempting to exercise the right to

                             23   use, sick leave to attend to an illness or the preventive care of a family member, or for any other

                             24   reason specified in subdivision (a) of Section 246.5.”

                             25           54.     Plaintiffs and members of the Plaintiff Class were denied the right to use their

                             26   accrued sick leave without the threat of discipline and/or discharge by Defendants. Defendants

                             27   carried out a consistent policy and practice of disciplining Plaintiffs and members of the

                             28   Plaintiff Class for taking sick leave. Specifically, Defendants intimidate, discipline, and threaten

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                              1   Plaintiffs and members of the Plaintiff Class for exercising their right to take sick leave when

                              2   they are fatigued, ill, or otherwise unable to safely operate a commercial vehicle. Defendants

                              3   implemented and carried out a policy that disciplines and threatens discharge for repeated

                              4   absences regardless of the reason. In fact, Defendants implemented and carried out a policy that

                              5   issues points for each occurrence, such as absence due to illness or fatigue, with the threat that a

                              6   specific number of occurrences will result in discharge. However, each point issued for an

                              7   occurrence results in some form of discipline, threat, or warning.

                              8             55. Plaintiffs seek to recover in a civil action to the fullest extent permissible all

                              9   available remedies including but not limited to the remedies permitted by Labor Code section

                             10   233(e) and Code of Civil Procedure section 1021.5.

                             11             56. Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

                             12   requests relief as described below.
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                             13                                FOURTH CAUSE OF ACTION
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                                          FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
                             14
                                             [Labor Code § 226 and § 7 of IWC Wage Orders 7-2001 and 9-2001]
                             15                  (Plaintiffs and the Plaintiff Class Against Each Defendant)

                             16          57.     Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.
                             17          58.     Labor Code section 226(a) states in pertinent part: “Every employer shall,
                             18   semimonthly or at the time of each payment of wages, furnish each of his or her employees,
                             19   either as a detachable part of the check, draft, or voucher paying the employee's wages, or
                             20   separately when wages are paid by personal check or cash, an accurate itemized statement in
                             21   writing showing”: (1) gross wages earned; (2) total hours worked by the employee, except for
                             22   any employee whose compensation is solely based on a salary and who is exempt from payment
                             23   of overtime under subdivision (a) of Section 515 or any applicable order of the Industrial
                             24   Welfare Commission; (3) the number of piece-rate units earned and any applicable piece rate if
                             25   the employee is paid on a piece-rate basis; (4) All deductions, provided that all deductions made
                             26   on written orders of the employee may be aggregated and shown as one item; (5) net wages
                             27   earned; (6) the inclusive dates of the period for which the employee is paid; (7) the name of the
                             28   employee and only the last four digits of his or her social security number or an employee

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                              1   identification number other than a social security number; (8) the name and address of the legal

                              2   entity that is the employer; and (9) all applicable hourly rates in effect during the pay period and

                              3   the corresponding number of hours worked at each hourly rate by the employee. The deductions

                              4   made from payment of wages shall be recorded in ink or other indelible form, properly dated,

                              5   showing the month, day, and year, and a copy of the statement and the record of the deductions

                              6   shall be kept on file by the employer for at least three years at the place of employment or at a

                              7   central location within the State of California.

                              8          59.     IWC Wage Orders 7-2001 and 9-2001, section 7(A) states in relevant part that

                              9   the employer shall keep accurate information regarding, “(4) Total wages paid each payroll

                             10   period, including value of board, lodging, or other compensation actually furnished to the

                             11   employee; (5) Total hours worked in the payroll period and applicable rates of pay.”

                             12          60.     Through Defendants’ alleged conduct during the applicable statutory period
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                             13   including, but not limited to, on information and belief, Defendants failed to provide accurate
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                             14   wage statements including, but not limited to, the recording of accrued sick time, all wages due

                             15   for reporting time pay, the applicable rates of pay for time worked, and/or deductions taken.

                             16          61.     As a consequence of Defendants’ knowing and willful failure to comply with

                             17   Labor Code section 226(a), Plaintiffs and similarly-situated employees are entitled to actual

                             18   damages or penalties not to exceed $4,000 for each employee pursuant to Labor Code section

                             19   226(b), together with interest and attorneys’ fees and costs.

                             20          62.     Labor Code section 226(e) states: “An employee suffering injury as a result of a

                             21   knowing and intentional failure by an employer to comply with subdivision (a) is entitled to

                             22   recover the greater of all actual damages or fifty dollars ($50) for the initial pay period in which

                             23   a violation occurs and one hundred dollars ($100) per employee for each violation in a

                             24   subsequent pay period, not exceeding an aggregate penalty of four thousand dollars ($4,000),

                             25   and is entitled to an award of costs and reasonable attorneys’ fees.” Labor Code section

                             26   226(e)(2)(B) states: “An employee is deemed to suffer injury for purposes of this subdivision if

                             27   the employer fails to provide accurate and complete information as required by any one or more

                             28   of items (1) to (9), inclusive, of subdivision (a) and the employee cannot promptly and easily

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                              1   determine from the wage statement alone one or more of the following: (i) The amount of gross

                              2   wages or net wages paid to the employee during the pay period or any other information

                              3   required to be provided on the itemized wage statement pursuant to items (2) to (4), inclusive,

                              4   (6) and (9) of subdivision (a)…” Because Plaintiffs’ wage statements did not include, among

                              5   other things, an accurate accounting of gross wages earned or the accurate total hours worked,

                              6   they are deemed to have suffered injury.

                              7           63.     Labor Code section 226(h) states: “An employee may also bring an action for

                              8   injunctive relief to ensure compliance with this section, and is entitled to an award of costs and

                              9   reasonable attorney’s fees.”

                             10           64.     Labor Code section 226.3 states, in part: “Any employer who violates

                             11   subdivision (a) of section 226 shall be subject to a civil penalty in the amount of two hundred

                             12   fifty dollars ($250) per employee per violation in an internal citation and one thousand dollars
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                             13   ($1,000) per employee for each violation in a subsequent citation, for which the employer fails
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                             14   to keep the records required in subdivision (a) of Section 226. The civil penalties provided for

                             15   in this section are in addition to any other penalty provided by law.”

                             16           65.     As a direct result of Defendants’ violations alleged herein, Plaintiffs and

                             17   members of the Plaintiff Class have suffered, and continue to suffer, injury including substantial

                             18   losses related to the use and enjoyment of such wages, lost interest on such monies and

                             19   expenses and attorney’s fees in seeking to compel Defendants to fully perform their obligations

                             20   under state law, all to their respective damage in amounts according to proof at trial and within

                             21   the jurisdictional limitations of this Court.

                             22           66.     Plaintiffs seek to recover in a civil action all remedies including damages, unpaid

                             23   wages, penalties, attorney’s fees and costs, and injunctive relief to the fullest extent permissible

                             24   including those permitted pursuant to Labor Code sections 226(e) and (h), 226.3, and Code of

                             25   Civil Procedure section 1021.5.

                             26           67.     Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

                             27   request relief as described below.

                             28   ///

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                              1                                 FIFTH CAUSE OF ACTION
                                          FAILURE TO TIMELY PAY WAGES DUE DURING EMPLOYMENT
                              2
                                      [Labor Code §§ 204(a), 1198, and § 4 of the IWC Wage Orders 7-2001 and 9-2001]
                              3                 (Plaintiffs and the Plaintiff Class Against Each Defendant)

                              4          68.     Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.

                              5          69.     Labor Code section 204(a) states in pertinent part: “All wages . . . earned by any

                              6   person in any employment are due and payable twice during each calendar month, on days

                              7   designated in advance by the employer as the regular paydays.”

                              8          70.     Labor Code section 210 states in pertinent part: “(a) In addition to, and entirely

                              9   independent and apart from, any other penalty provided in this article, every person who fails to

                             10   pay the wages of each employee as provided in Sections 201.3, 204, 204b, 204.1, 204.2, 205,

                             11   205.5, and 1197.5, shall be subject to a civil penalty as follows: (1) For any initial violation, one

                             12   hundred dollars ($100) for each failure to pay each employee. (2) For each subsequent violation,
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                             13   or any willful or intentional violation, two hundred dollars ($200) for each failure to pay each
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                             14   employee, plus 25 percent of the amount unlawfully withheld.”

                             15          71.     IWC Wage Orders 7-2001 and 9-2001, section 4(B) state: “Every employer shall

                             16   pay to each employee, on the established payday for the period involved, not less than the

                             17   applicable minimum wage for all hours worked in the payroll period, whether the remuneration

                             18   is measured by time, piece, commission or otherwise.”

                             19          72.     Through Defendants’ conduct during the applicable statutory period including,

                             20   but not limited to, the conduct alleged herein, including that alleged on information and belief,

                             21   Defendants failed to pay Plaintiffs and members of the Plaintiff Class (i) all wages due and

                             22   owing and (ii) all wages due and owing by the time set forth pursuant to Labor Code section

                             23   204(a) and IWC Wage Orders 7-2001 and 9-2001, section 4(B) including, but not limited to, not

                             24   paying all reporting time overtime wages.

                             25          73.     As a direct result of Defendants’ violations alleged herein, Plaintiff and members

                             26   of the Plaintiff Class have suffered and continue to suffer substantial losses related to the use

                             27   and enjoyment of such wages, including lost interest on such monies and expenses and

                             28   attorney’s fees in seeking to compel Defendants to fully perform their obligations under state

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                              1   law, all to their respective damage in amounts according to proof at trial and within the

                              2   jurisdictional limitations of this Court.

                              3           74.     Plaintiffs seek to recover in a civil action all remedies including unpaid wages,

                              4   attorneys’ fees and costs, penalties and interest to the fullest extent permissible including those

                              5   permitted pursuant to Labor Code sections 210, 218.5, 218.6, 226.7, 1198, and Code of Civil

                              6   Procedure section 1021.5.

                              7           75.     Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

                              8   request relief as described below.

                              9                               SIXTH CAUSE OF ACTION
                                  FAILURE TO TIMELY PAY WAGES DUE UPON SEPARATION OF EMPLOYMENT
                             10
                                                              [Labor Code §§ 201, 202, 203]
                             11        (Plaintiffs and the Waiting Time Penalty Subclass Against Each Defendant)

                             12          76.      Plaintiffs hereby incorporate all preceding paragraphs of this Complaint.
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                             13          77.      Labor Code section 201(a) states: “If an employer discharges an employee, the
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                             14   wages earned and unpaid at the time of discharge are due and payable immediately.”

                             15          78.      Labor Code section 202(a) states: “If an employee not having a written contract

                             16   for a definite period quits his or her employment, his or her wages shall become due and

                             17   payable not later than 72 hours thereafter, unless the employee has given 72 hours previous

                             18   notice of his or her intention to quit, in which case the employee is entitled to his or her wages

                             19   at the time of quitting. Notwithstanding any other provision of law, an employee who quits

                             20   without providing a 72-hour notice shall be entitled to receive payment by mail if he or she so

                             21   requests and designates a mailing address. The date of the mailing shall constitute the date of

                             22   payment for purposes of the requirement to provide payment within 72 hours of the notice of

                             23   quitting.”

                             24          79.      Through Defendants’ conduct during the applicable statutory period including,

                             25   but not limited to, the conduct alleged herein, including that alleged on information and belief,

                             26   Defendants willfully failed to provide Plaintiffs and members of the Waiting Time Penalty

                             27   Subclass with all wages due and owing, including minimum wages, overtime wages, and

                             28   regular wages, by the time specified by Labor Code sections 201(a) and 202(a), as applicable.

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                              1          80.     Labor Code section 203(a) states, in relevant part: “If an employer willfully fails

                              2   to pay, without abatement or reduction, in accordance with sections 201, 201.3, 201.5, 202, and

                              3   205.5, any wages of an employee who is discharged or who quits, the wages of the employee

                              4   shall continue as a penalty from the due date thereof at the same rate until paid or until an action

                              5   therefore is commenced; but the wages shall not continue for more than 30 days.”

                              6          81.     As a direct result of Defendants’ violations alleged herein, Plaintiffs and

                              7   members of the Waiting Time Penalty Subclass have suffered and continue to suffer substantial

                              8   losses related to the use and enjoyment of such wages, including lost interest on such monies

                              9   and expenses and attorneys’ fees in seeking to compel Defendants to fully perform their

                             10   obligation under state law, all to their respective damage in amounts according to proof at trial

                             11   and within the jurisdictional limitations of this Court.

                             12          82.     Plaintiffs seek to recover in a civil action all remedies to the fullest extent
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                             13   permissible including those permitted pursuant to Labor Code section 203 and Code of Civil
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                             14   Procedure 1021.5.

                             15          83.     Plaintiffs, on behalf of themselves and the members of the Waiting Time Penalty

                             16   Subclass, request relief as described below.

                             17                                   SEVENTH CAUSE OF ACTION
                                                     VIOLATION OF THE UNFAIR COMPETITION LAW
                             18
                                                         [Business and Professions Code §§ 17200, et seq.]
                             19                     (Plaintiffs and the Plaintiff Class Against Each Defendant)

                             20          84.     Plaintiffs incorporate all preceding paragraphs of this Complaint.

                             21          85.     Business & Professions Code section 17200 states: “As used in this chapter,

                             22   unfair competition shall mean and include any unlawful, unfair or fraudulent business act or

                             23   practice and unfair, deceptive, untrue or misleading advertising and any act prohibited by

                             24   Chapter 1 (commencing with section 17500) of Part 3 of Division 7 of the Business and

                             25   Professions Code.”

                             26          86.     Through Defendants’ conduct during the applicable statutory period including,

                             27   but not limited to, the conduct alleged herein, including that alleged on information and belief,

                             28   Defendants have engaged in unlawful, unfair, or fraudulent business practices in California by

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                              1   practicing, employing, and utilizing, the employment practices outlined in the preceding

                              2   paragraphs all in violation of California law and the Industrial Welfare Commission Wage

                              3   Orders. Defendants’ use of such practices constitutes an unfair business practice, unfair

                              4   competition, and provides an unfair advantage over Defendants’ competitors doing business in

                              5   the State of California that comply with their obligations to properly provide employment

                              6   conditions in compliance with the law and pay employees for all earned wages and

                              7   compensation as required by law.

                              8            87.   Defendants’ violations of the Labor Code and the Industrial Welfare

                              9   Commission Wage Orders, and their scheme to lower payroll costs as alleged herein, constitute

                             10   unlawful business practices because these actions were done in a systematic manner over a

                             11   period of time to the detriment of Plaintiff and the Plaintiff Class. The acts complained of herein

                             12   occurred within the last four (4) years preceding the filing of this complaint and include, but are
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                             13   not limited to, failure to (i) pay minimum, overtime, and regular wages, and sick pay, both
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                             14   during and after separation of employment; (ii) maintain accurate records; (iii) provide and

                             15   maintain accurate itemized wage statements; (iv) pay timely wages during employment; (v) pay

                             16   timely wages upon separation of employment; and (vi) indemnify employees for their expenses

                             17   and losses and (vii) preserve employee privacy, i.e., by using cameras in the ways specified

                             18   above.

                             19            88.   Defendants’ failure to pay Plaintiffs and members of the Plaintiff Class and

                             20   Subclasses for all reporting time, as required by the applicable Wage Orders and the Labor

                             21   Code, as alleged, constitutes unlawful activity prohibited by Business and Professions Code

                             22   sections 17200, et seq.

                             23            89.   The actions of Defendants in failing to pay Plaintiffs and members of the

                             24   Plaintiff Class in a lawful manner constitute false, unfair, fraudulent, and deceptive business

                             25   practices, within the meaning of Business and Professions Code, sections 17200, et seq.

                             26            90.   Plaintiff are entitled to an injunction, specific performance under Business and

                             27   Professions Code, section 17202, and/or other equitable relief against such unlawful practices in

                             28   order to prevent future loss, for which there is no adequate remedy at law, and to avoid a

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                              1   multiplicity of lawsuits. Plaintiffs bring this cause individually and as a member of the general

                              2   public as a representative of all others subject to Defendants’ unlawful acts and practices.

                              3          91.     This cause of action is brought as a cumulative remedy and is intended as an

                              4   alternative remedy for restitution for Plaintiffs, and each Plaintiff Class Member, for the four (4)

                              5   year period before the filing of this Complaint, and as the primary remedy during the fourth year

                              6   before the filing of this Complaint. Business and Professions Code section 17205.

                              7          92.     As a result of Defendants’ unlawful and unfair business practice of failing to pay

                              8   earned wages, each Plaintiff Class member has suffered damages and is entitled to restitution in

                              9   an amount according to proof.

                             10          93.     The illegal conduct alleged is continuing and there is no indication that

                             11   Defendants will discontinue such activity in the future. Plaintiffs allege that if Defendants are

                             12   not enjoined from the conduct set forth in this Complaint, they will continue to fail to pay all
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                             13   wages as required by law.
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                             14          94.     Plaintiffs further request the Court issue a preliminary and permanent injunction

                             15   prohibiting Defendants from continuing to fail to pay reporting time wages.

                             16          95.     As a direct and proximate result of Defendants’ conduct, Defendants have

                             17   received and will continue to receive monies that rightfully belong to members of the general

                             18   public who have been adversely affected by Defendants’ conduct, as well as to Plaintiffs by

                             19   virtue of unpaid wages and other monies.

                             20          96.     Plaintiffs are entitled to and seek any and all available remedies including

                             21   restitution and recovery of reasonable attorneys’ fees pursuant to California Code of Civil

                             22   Procedure section 1021.5, Business and Professions Code sections 17200, et seq., the substantial

                             23   benefit doctrine, and/or the common fund doctrine.

                             24          97.     Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

                             25   requests relief as described below.

                             26   ///

                             27

                             28

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                              1                            EIGHTH CAUSE OF ACTION
                                  INVASION OF PRIVACY – INTRUSION INTO PRIVATE AFFAIRS; VIOLATION OF
                              2
                                                      CAL. CONST. ARTICLE 1, SECTION 1
                              3              (Plaintiffs and the Plaintiff Class Against Each Defendant)

                              4          98.     Plaintiffs incorporate all preceding paragraphs of this Complaint.

                              5          99.     Plaintiffs and other similarly-situated employees have a reasonable expectation

                              6   of privacy in their conduct at work based on Defendants’ representations that the DriveCam will

                              7   only be used to record work-related activities when activated by the driver or a triggering event

                              8   such as hard braking, swerving or a collision.

                              9          100.    Plaintiffs and other similarly-situated employees possess a legally protected

                             10   privacy interest in their personal and private conduct including private conversations they

                             11   engaged without knowledge that their conversations and activities were being recorded by the

                             12   DriveCam system in Defendants’ vehicles.
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                             13          101.    At all relevant times, Defendants required Plaintiffs and all other similarly-
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                             14   situated employees to enter into an agreement allowing Defendants to install and use a camera

                             15   monitoring system call the DriveCam Video System (“DriveCam”) in its trucks at distribution

                             16   centers. Defendants intentionally misrepresented to Plaintiffs and all other similarly-situated

                             17   employees that the DriveCam would only be used when activated by the driver or a triggering

                             18   event such as hard braking, swerving, or a collision. Based on Defendants’ representations,

                             19   Plaintiffs and all other similarly-situated employees had a reasonable expectation of privacy that

                             20   the DriveCam was not continuously recording at all times while drivers were on duty but rather

                             21   only recording when activated by a driver or a triggering event. Plaintiffs and all other

                             22   similarly-situated employees did not have knowledge of the fact that the DriveCam recorded

                             23   them during times other than when it was activated by a driver or a triggering event. In fact, the

                             24   DriveCam recorded numerous private conversations between Plaintiffs and other individuals

                             25   including private and personal conversations with family members. Defendants intentionally

                             26   recorded, visually and audibly, Plaintiffs and all other similarly-situated employees without

                             27   their knowledge or consent in a manner in which is highly offensive to a reasonable person,

                             28   including to Plaintiffs and all other similarly-situated employees.

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                              1          102.    Plaintiffs and all other similarly-situated employees did not consent to or have

                              2   knowledge of the fact that the DriveCam was recording them at times other than when activated

                              3   by the driver or by a triggering event such as hard braking, swerving, or a collision.

                              4          103.    Defendants failed to inform Plaintiffs and all other similarly-situated employees

                              5   that the DriveCam would record them at times other than when activated by the driver or a

                              6   triggering event such as hard braking, swerving, or a collision.

                              7          104.    This intrusion would be highly offensive to a reasonable person.

                              8          105.    Defendants’ conduct was intentional and done with reckless disregard for the fact

                              9   that a reasonable person in Plaintiffs’ positions would consider the conduct highly offensive.

                             10          106.    As a direct result of Defendants’ violations alleged herein, Plaintiffs and

                             11   similarly-situated employees were harmed as a result of the conduct of Defendants, and the

                             12   Defendants’ conduct was a substantial factor in causing the harm suffered as a result of the
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                             13   invasion of privacy.
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                             14          107.    Plaintiffs seek to recover in a civil action all remedies to the fullest extent

                             15   permissible including those permitted pursuant to Civil Code sections 1708.8, et seq.

                             16          108.    Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,

                             17   requests relief as described below.

                             18                               NINTH CAUSE OF ACTION
                                   FAILURE TO PROVIDE PAID SICK LEAVE IN COMPLIANCE WITH SAN DIEGO
                             19       PAID SICK LEAVE ORDINANCE AND LOS ANGELES PAID SICK LEAVE
                                                                        ORDINANCE
                             20
                                              (Plaintiffs and the Plaintiff Class Against Each Defendant)
                             21        109. Plaintiffs incorporate all preceding paragraphs of this Complaint.

                             22          110.    At all relevant times, Defendants employed and continue to employee employees

                             23   such as Plaintiffs and other similarly-situated employees throughout the State of California

                             24   including in San Diego County and Los Angeles County.

                             25          111.    At all relevant times, Defendants maintained a uniform policy and practice of

                             26   providing employees such as Plaintiffs and other similarly-situated employees a total of five (5)

                             27   days of sick leave per year to all employees who have been continuously employed by

                             28   Defendants for the period of at least one (1) year. If an employee was employed for less than

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                              1   one (1) year, they did not accrue sick leave per Defendants’ policy.

                              2          112.    San Diego County’s Earned Sick Leave and Minimum Wage Ordinance, San

                              3   Diego County Municipal Code (“SDMC”) Chapter 3, Article 9, Division 1, effective as of July

                              4   11, 2016 provides that “all employers must provide paid earned sick leave to each employee

                              5   (including temporary and part-time employees) who perform at least two (2) hours of work

                              6   within the geographical boundaries of the City of San Diego.” San Diego County’s Earned Sick

                              7   Leave and Minimum Wage Ordinance requires employers, such as Defendants, to provide

                              8   employees with one (1) hour of earned sick leave for every thirty hours worked by the employee

                              9   within the geographic boundaries of the City of San Diego. Employees are entitled to use

                             10   accrued earned sick leave beginning July 11, 2016 or after the ninetieth (90) day of

                             11   employment, whichever is later.

                             12          113.    At all relevant times, Plaintiffs and other similarly-situated employees performed
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                             13   work within the geographical boundaries of the City of San Diego and were therefore entitled to
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                             14   paid earned sick leave pursuant to San Diego County’s Earned Sick Leave and Minimum Wage

                             15   Ordinance. Defendants failed to comply with the requirements of San Diego County’s Earned

                             16   Sick Leave and Minimum Wage Ordinance by failing to provide employees with earned sick

                             17   leave in compliance with San Diego County’s Earned Sick Leave and Minimum Wage

                             18   Ordinance, SDMC Chapter 3, Article 9, Division 1.

                             19          114.    Los Angeles Minimum Wage and Paid Sick Leave Ordinance, Los Angeles

                             20   Municipal Code, Article 7 Section 187.04(A) states in pertinent part, “Every Employee who, on

                             21   or after July 1, 2016, works in the City for the same Employer for 30 days or more within a year

                             22   from the commencement of employment is entitled to paid sick leave.” Section 187.04(B)

                             23   provides, “Paid sick leave shall accrue on the first day of employment or July 1, 2016,

                             24   whichever is later.” Section 187.04(C) states, “An Employee may use paid sick leave beginning

                             25   on the 90th day of employment or July 1, 2016, whichever is later.”

                             26          115.    At all relevant times, Plaintiffs and other similarly-situated employees performed

                             27   work within the geographical boundaries of the City of Los Angeles and were therefore entitled

                             28   to earned sick leave pursuant to Los Angeles Minimum Wage and Paid Sick Leave Ordinance,

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                              1   Los Angeles Municipal Code, Article 7 Section 187.04. Defendants failed to comply with the

                              2   requirements of the Los Angeles Minimum Wage and Paid Sick Leave Ordinance by failing to

                              3   provide employees with earned sick leave in compliance with the Los Angeles Minimum Wage

                              4   and Paid Sick Leave Ordinance, Los Angeles Municipal Code, Article 7 sections 187.04, et seq.

                              5   Indeed, Defendants uniformly failed to provide Plaintiffs and other similarly-situated employees

                              6   with paid earned sick leave in compliance with the Los Angeles Minimum Wage and Paid Sick

                              7   Leave Ordinance.

                              8           116.   Neither the San Diego County’s Earned Sick Leave Ordinance, San Diego

                              9   County Municipal Code (“SDMC”) Chapter 3, Article 9, Division 1, nor the Los Angeles Paid

                             10   Sick Leave Ordinance, Los Angeles Municipal Code, Article 7 sections 187.04, et seq. provide

                             11   an exemption for union employees.

                             12           117.   Plaintiffs, on behalf of themselves and the members of the Plaintiff Class,
COHELAN KHOURY & SINGER




                             13   requests relief as described below.
   605 C Street, Suite 200
    San Diego, CA 92101




                             14                                                  VII.
                             15                                         PRAYER FOR RELIEF
                             16           Plaintiffs pray for judgment as follows:

                             17            1.    That the Court determine this action may be maintained as a class action and

                             18   Plaintiffs as Class Representatives and Plaintiffs’ counsel as Class Counsel;

                             19            2.    For injunctive relief as provided by the Labor Code to the extent permitted by

                             20   law including, but not limited to, pursuant to Section 226(h), and Business and Professions

                             21   Code sections 17200, et seq.;

                             22            3.    For restitution as provided by Business and Professions Code sections 17200, et

                             23   seq.;

                             24            4.    For an order requiring Defendants to restore and disgorge all funds to each

                             25   affected person acquired by means of any act or practice declared by this Court to be unlawful,

                             26   unfair or fraudulent and, therefore, constituting unfair competition under Business and

                             27   Professions Code sections 17200, et seq.;

                             28   ///

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                              1           5.    For an award of unpaid wages, including regular wages, minimum, and overtime

                              2   wages to the extent permissible by law to each affected person;

                              3           6.    For penalties to the extent permitted pursuant to the Labor Code, and Orders of

                              4   the Industrial Welfare Commission including, but not limited to, waiting time penalties under

                              5   Labor Code section 203, and penalties under Labor Code section 226(e);

                              6           7.    For an award of penalties incurred under sections 210, 226.3, 226(e), and 1174.5

                              7   per underpaid employee pursuant to Labor Code sections 210, 226(e), 226.3, and 1174.5;

                              8           8.    For the remedies provided by Labor Code section 233 including reasonable

                              9   attorneys’ fees;

                             10           9.    For an award of liquidated damages to the extent permissible by Labor Code

                             11   section 1194.2;

                             12           10.   For penalties incurred under Labor Code section 1197.1 for each underpaid
COHELAN KHOURY & SINGER




                             13   employee per pay period for which the employee was underpaid;
   605 C Street, Suite 200
    San Diego, CA 92101




                             14           11.   For pre- and post-judgment interest to the extent permitted by law including, but

                             15   not limited to, Labor Code sections 218.6 and 1194;

                             16           12.   For reimbursement of all necessary expenses incurred in direct consequence of

                             17   the discharge of duties;

                             18           13.   For an award of actual damages, compensatory damages, statutory damages and

                             19   penalties, for acts constituting an invasion of privacy, in an amount to be determined;

                             20           14.   For an award of punitive damages;

                             21           15.   For damages pursuant to Civil Code sections 1708.8, et seq.;

                             22           16.   For paid sick pay leave provided by local ordinances;

                             23           17.   For reasonable attorneys’ fees and cost of suit and, to the extent permitted by

                             24   law, including pursuant to Labor Code sections 218.5, 226, 226(h), 1194, and Code of Civil

                             25   Procedure section 1021.5;

                             26           18.   Determine the appropriate remedy to compensate Plaintiffs, Plaintiff Class, and

                             27   Subclass members, as required to promote fairness and justice, including but not limited to

                             28   establishing procedures for compensation, and fluid recovery if appropriate;

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                              1           19.   Prejudgment Interest; and

                              2           20.   Any other relief as this Court deems proper.

                              3

                              4   Dated: March 20, 2019                         COHELAN KHOURY & SINGER

                              5
                                                                                By:_________________________________
                              6                                                         Michael D. Singer, Esq.
                                                                                        Marta Manus, Esq.
                              7                                                 Attorneys for Plaintiffs MICHAEL RAZIANO,
                                                                                BRIAN TRAISTER, and CHRIS VALDEZ, on
                              8
                                                                                behalf of themselves and all others similarly
                              9                                                 situated

                             10                                DEMAND FOR JURY TRIAL

                             11         Plaintiffs demand a jury trial of all claims triable as of right by jury.

                             12   Dated: March 20, 2019                         COHELAN KHOURY & SINGER
COHELAN KHOURY & SINGER




                             13
   605 C Street, Suite 200
    San Diego, CA 92101




                                                                                By:_________________________________
                             14                                                         Michael D. Singer, Esq.
                                                                                        Marta Manus, Esq.
                             15                                                 Attorneys for Plaintiffs MICHAEL RAZIANO,
                                                                                BRIAN TRAISTER, and CHRIS VALDEZ, on
                             16
                                                                                behalf of themselves and all others similarly
                             17                                                 situated

                             18

                             19

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                 EXHIBIT B
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                                               COHELAN KHOURY & SINGER
                                                  A PAIU'NERSHIP OP PROFESSIONAL LAW CORPORATIONS


TIMOTHY D. COHELAN, APLC*                                   ATTORNEYS AT LAW                        JEFF GERACI
ISAM C. KHOURY, APC                                                                                 J. JASON HILL"j"
DIANA M. KHOURY, AFC                                   605 "C" STREET, SUITE 200                    MARTA MANUS
MICHAEL D. SINGER, APLC •                                                                           KRISTINA DE LA ROSA
                                                   SAN DIEGO, CALIFORNIA 92101-5305
(''Also admitted in the District ofColumbia)            Telephone: (619) 595-3001                   (t Also admitled in Jllinois)
(•Also admitted in Colorado)                             Facsimile: (619) 595-3000

                                                                 www.ckslaw.com

                                                           December 3, 2019

            NOTICE VIA ONLINE SUBMISSION

            California Labor and Workforce Development Agency

            VIA CERTIFIED U.S. MAIL \VITH RETURN RECEIPT
            Albertson's LLC
            c/o Jeffrey K. Brown, Esq.
            Ray E. Boggess, Esq.
            Tyler B. Runge, Esq.
            PAYNE & FEARS LLP
            4 Park Plaza, Suite 1100
            Irvine, CA 92614

            Re:         Amended Notice of Labor Code Violations Pursuant to Labor Code Section 2699.3
                        LWDA Case No. LWDA-CM-677685-19

            Dear PAGA Administrator and Albertson's LLC:

                   This letter shall serve as Chris Valdez, Michael Raziano, and Brian Traister' s
            ("Claimants'') Amended Notice pursuant to the California Private Attorneys General Act
            ("PAGA"), California Labor Code sections 2698, et seq., and supplements the previous notice
            with additional facts and theories supporting allegations of the Labor Code violations committed
            by Claimants' employer Albe1tson's, LLC ("Defendant" or "Albertson' s"). Claimants
            incorporate all other facts and theories alleged in their notice submitted on March 20, 2019
            (LWDA Case No. LWDA-CM-677685-19), a true and correct copy of which is attached as
            Exhibit A, as though set forth fully herein.

                                                    FACTUAL STATEMENT

                   Claimants are employed by Albertson's as transportation drivers, classified as non-
            exempt employees and paid on an hourly basis. For reasons set forth herein, Claimants allege the
            following additional violations of the California Labor Code and the applicable IWC Wage
            Order on behalf of themselves and all other aggrieved employees of Defendant.

                    Claimants allege that Defendant fail to pay Claimants and other aggrieved employees all
            wages due, including regular and minimum wages for all hours worked, including hours worked
            off-the-clock prior to shift start times. Per Defendant' s written policy, drivers must report to
            work 15 minutes prior to the shift start time to pick their daily delivery run. However, drivers
            cannot clock in until 2 minutes prior to their shift start time. Defendant's time clock then rounds
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the clock in time up to the shift start time. Defendant pays drivers based on the shift times and
does not pay any wages for the 15 minutes prior to the shift start time, during which drivers are
under the control of the employer and working in the dispatch office picking their daily delivery
run. Accordingly, Defendant fails to pay all wages due, including regular and/or minimum
wages, for all hours worked.

        Accordingly, Claimants now seek civil penalties on behalf of themselves and other
aggrieved employees (transp01tation drivers) based on the Defendant's alleged violations of the
California Labor Code and applicable IWC Wage Orders. Claimants' claim is set fo1th in further
detail below.

              FAILURE TO PAY REGULAR AND MINI.MUM WAGES
        (Violation of Labor Code§§ 1194, 1194.2, 1197, 1197.1, and 1198, and the
 "Minimum Wages" and "Hours and Days ofWorlc" Section 4 of the Applicable Wage Orders)

       Labor Code section 1194(a) states: "Notwithstanding any agreement to work for a lesser
wage, any employee receiving less than the legal minimum wage or the legal overtime
compensation applicable to the employee is entitled to recover in a civil action the unpaid
balance of the full amount of th.is minimum wage or ove1time compensation, including interest
thereon, reasonable attorney's fees, and costs of suit."

       Labor Code section 1194.2 states: "In any action under Section 98, 1193.6, 1194, or
1197.1 to recover wages because of the payment of a wage less than the minimum wage fixed by
an order of the commission or by statute, an employee shall be entitled to recover liquidated
damages in an amount equal to the wages unlawfully unpaid and interest thereon."

      Labor Code section 1197 states: "The minimum wage for employees fixed by the
commission is the minimum wage to be paid to employees, and the payment of a less wage than
minimum wage so fixed is unlawful."

       Labor Code section 1198 states: "The maximum hours of work and the standard
conditions of labor fixed by the commission shall be the maximum hours of work and the
standard conditions of labor for employees. The employment of any employee for longer hours
than those fixed by the order or under conditions oflabor prohibited by the order is unlawful."

        Pursuant to the "Minimum Wages" and "Hours & Days of Work" Sections of the
applicable Wage Orders, an employer may not pay employees less than the applicable minimum
wage for all hours worked and provides that an employer may not pay non-exempt employees
less than the applicable overtime rate for all overtime hours worked.

        Claimants allege that Defendant fails to pay them and other aggrieved employees regular
and/or minimum wages for all hours worked, in violation of California law. Defendant's written
policy requires drivers, including Claimants and other aggrieved employees, to report to work 15
minutes prior to the shift start time to pick their daily delivery route. Claimants allege that
Defendant does not pay any wages for hours worked during the 15 minutes worked prior to the
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shift start time. Defendant pays drivers based 011 the shift times and does not pay any wages for
the 15 minutes prior to the shift start time, during which d1ivers are under the control of the
employer and working in the dispatch office picking their daily delivery run. Defendant does not
allow drivers, including Claimants and other aggrieved employees, to clock in for their shift until
2 minutes prior to the shift start time. Therefore, drivers work for at least 15 minutes off-the-
clock prior to each shift. As a result, although Claimants and other aggrieved employees are
suffered or permitted to work for Defendant and are required to report to the work premises 15
minutes prior to their shift, they are not paid any wages, including regular or minimun1 wages,
for these hours worked.

       Claimants intend to seek civil penalties pursuant to the PAGA for the alleged violation of
California law on behalf of themselves and all other aggrieved employees in the state of
California.

                                        CONCLUSION

        The facts and claims contained herein are based on the information available at the time
of this writing. Claimants reserve the right to revise these facts and/or add any new claims by
amending the claim letter or by adding applicable causes of action in the complaint for damages.


                                                     Respectfully submHted,
                                                     COHE             U1.~Y,;!.-ll~~-trER




cc: (via email only)
Roger Carter, Esq. (roger@carterlawfirm.net)
Marc H. Phelps, Esq.(Marc(@,1?helpslawgroup.co111)
